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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JOHN DOE,

Plaintiff, .
v. t CIVIL ACTION NO: lS-cv-2044

SAINT JOSEPH’S UNIVERSITY
And

JANE ROE
Defendants.

 

PLAINTIFF’S BRIEF IN OPPOSITION TO THE MOTION FOR SUMMARY
JUDGMENT OF DEFENDANT SAINT JOSEPH’S UNIVERSITY

INTRODUCTION

Defendant Saint Joseph’s University has moved for Surnmary Judgrnent on
multiple grounds, all of Which Will be Separately addressed below. Defendant’s Motion,
for the reasons discussed beloW, is Without merit and should be denied.
I. STATEMENT OF DISPUTED AND UNDISPUTED FACTS

SJU’s Disciplinary Policies and Procedures

There is no dispute that SJU receives federal funding and is therefore obliged to
comply With Title IX. Title IX requires receiving federal funds to "[a]dopt and publish
grievance procedures providing for the prompt and equitable resolution of student . . .

complaints” regarding sexual misconduct1 34 C.F.R. §l()6.8(b) (emphasis added). Title

 

l Both the Department of Education and Department of Justice have set forth this requirement by Way of
regulation. See 34 C.F.R. § 106.8(b) (Dep't of Education); 28 C.F.R. §54.135(b) (Dep't of Justice).

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IX is interpreted and administratively enforced by the Office for Civil Rights ("OCR")
of the Department of Education, which periodically issues guidance on the statute should
be understood and implemented.

In 2001, the OCR promulgated regulations instructing schools to give "[n]otice to
students...of the [school 's] procedure ” and provide "[a]dequate, reliable, and impartial
investigation of complaints, including the opportunity to present witnesses and other
evidence ” (“2001 Guidance”)2 (emphasis added), Exhibit “1.” The OCR determined
that “according due process to both parties involved, will lead to sound and supportable
decisions " Exhibit “1.”(emphasis added).

In 2011, the OCR issued a Dear Colleague Letter on Sexual Violence, offering
schools and universities Specific guidance on how to handle sexual misconduct
complaints under Title IX (“2011 DCL”), Exhibit “2.” At that time, SJU did not have a
separate disciplinary procedure dedicated to sexual misconduct claims; it had been
handling allegations of sexual misconduct under what it calls the Community Standards
process (“CS process”). (Dep. C. Anderson P86, L22-P89, L6 - Exhibit “3”). The CS
process, which is laid out in detail in SJU’s Student Handbook, entitles an accused
student (1) to be provided a copy of the complaint against him, (2) to know the specific
charges against him, (3) the opportunity to have an open discussion among the
participants to facilitate an understanding of the facts, (4) the opportunity to have a

hearing, (5) to present witnesses and evidence in his own defense, (6) to examine and

 

2 The 2001 Guidance was adopted pursuant to notice-and-comment rulemaking in a document entitled
"Revised Sexual Harassment Guidance: Harassment of Students by School Employees, Other Students,
or Third Parties" ("2001Guidance"). Available at
httpsM/www2.ed.gov/offlces/OCR/archives/pdf/shguide.pdf (last viewed September 18, 2016). Title
IX's regulations, including the 2001 Guidance, have the force and effect of law, because they affect
individual rights and obligations and were the product of notice-and-comment rulemaking

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question the witnesses and evidence against him, (7) to cross-examine his accuser, (8)
confidentiality regarding the outcome, (9) the right to appeal the outcome and, (10) in the
event new information revealed that the outcome was incorrect, the opportunity to reopen
the investigation, which may then result in a new outcome. See Exhibit “4“, Student
Handbook, pgs. 9-19.3 For four years after the promulgation of the 2011 DCL, SJU
continued to handle sexual misconduct claims on campus under this CS process,
apparently without criticism fi'om the OCR and, presumably, without concern that it was
reaching incorrect results (Dep. E. Perry P224L1-L20 - Exhibit “5”).

In 2015, in an apparent effort to comply With the 2011 DCL,4 SJU drafted a
Sexual Misconduct Policy: Policy Regarding Sexual Assault, Sexual Harassment, Sexual
Exploitation, Domestic Violence, Dating Violence, or Stalking (“SMP”).5 See Exhibit
“6.” The SMP contains a specific University disciplinary process for alleged violations
of the policy. That disciplinary process (“SMP” process) gutted the rights of students
accused of sexual misconduct in an effort to put a thumb on the scale for accusers (almost
exclusively women), making it easier for them to prevail in claims of sexual misconduct
against the accused (almost exclusively male).6 Under the SMP process, an accused
student was no longer entitled to a written incident report or to notice of the specific
charges against him. (Dep. W. Bordak P299, L44-LP300, L5 - Exhibit “7”). The only
notice to which he was now entitled was a blanket statement that he had been accused of

violating the SMP, a fifty-odd page document addressing six independent categories of

 

3 There is no evidence to suggest that versions of the CS process were meaningfully different at the relevant
time periods.

4 In April of 2014, the OCR had also issued a “Q&A on Title IX and Sexual Violence” fleshing out and
offering specific guidance as to how schools can best comply with the 2011 DCL.

5 SJU initially adopted an Interim Sexual Misconduct Policy, an earlier iteration of the SMP in effect at the
time Doe was charged with sexual misconduct. The two policies do not differ in any meaningful respect.

6 Nationwide, and on SJU’s campus, the vast majority of students accused of sexual misconduct are male.

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behavior.7 (WB P248, L13-P249, L2). He was no longer entitled to a hearing; instead
there would be an “investigation,” conducted by an “independent” qualified investigator,
who (SJU promised) would interview parties and witnesses and review relevant
documents and other evidence. See SMP V(b)(l), Exhibit “6.” He was no longer entitled
to question his accuser or her witnesses. He was not entitled to see, or even be aware of`,
the evidence against him. He could be found responsible for sexual assault by a mere
preponderance of the evidence. SMP V(b)(5). He was entitled to extremely limited
assistance from an Advisor and an extremely limited right to appeal, after which the
investigator’s conclusion was final and there would be no opportunity for
reconsideration, even if subsequent evidence completely exonerated the accused. SMP
V(b)(2), SMP V(b)(5), SMP (V)(b)(8).

In addition to these explicit, overtly pro-accuser policies, SJU adopted a number
of quiet policies which further weighted the scale in favor of the accuser, virtually
guaranteeing that an accused student, especially an innocent one, would have no
opportunity to defend himself against charges under the SMP. The school adopted a
practice of actively withholding specific information about the alleged sexual misconduct
from the accused student so as to “protect the integrity of the investigation.”8
Unbeknownst to students, SJU had quiet policies regarding the appeal process, as well. lt
was SJU’s policy to provide students’ appeal documents to the investigator (who would,

of course, defend the outcome she had reached), the director of Community Standards

 

7 The policy encompasses sexual assault, sexual harassment, sexual exploitation, domestic violence, dating
violence and stalking.

8 This goes a significant step beyond not being entitled to see a complaint; it leads to situations like the
instant one, in which an accused student is tried and found responsible without ever knowing the specific
charges against him.

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(who worked with the investigator) and the Community Standards employee responsible
for facilitating the investigation (who worked for the director of Community Standards)
for their review.9 SJU asked each of these hand selected individuals to submit a written
statement to the appeal board addressing the points made in the student’s appeal. SJU
provided these written these statements to the appeal board, but not to the students
involved. (WB P296, L15-P300, L5). These policies were unwritten, known to the
investigators and members of the Office of Community Standards (“OCS”) but unknown
by - and unavailable to - accused students or their advisors.

This was the SMP in effect when Doe joined the SJU community in September of
2016. One of his initial experiences as an incoming freshman was to participate in a
“Break the Silence Orientation” discussing sexual misconduct on campus.10 The
presentation was made by William Bordak, Director of the OCS, (“Bordak”) to the
incoming freshman class and it defined sexual assault as non-consensual sexual contact
that is “intentional and is committed either by: force, violence, threat or intimidation . . .
.” See SJU 1030, Exhibit “8,” emphasis added.ll Participants were told that false reports
of sexual assault are rare, occurring only 8% of the time. See SJU 1031, Exhibit “8.“
They were told that they should never blame a “victim” or ask her “why” questions, and
that they should not pressure her to recount details of her allegations. See SJU 1048,
Exhibit “8.” They were also told that the most important thing anyone can do is to

“believe a victim.” See SJU 103 8, Exhibit “8.” This presentation was mandatory for all

 

9 The appellant had no commensurate right to have input or information put in front of the appeal board
fi'om his advisors or anyone else. He had no way of even knowing about SJU’s policy on this.

10 Another one of Doe’s initial experiences was to register with the Office of Student Disability Services,
authorizing them to release his Accommodation Plan to faculty and staff. See SJU 1237, Exhibit “8.”

‘1 The presentation also advised that students should be on the lookout for verbal and non-verbal cues
regarding consent, including “freezing” the “ the sudden stop of participation in intimacy.” See SJU 1038,
Exhibit “8.”

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incoming SJU students and was presented by, prepared by, and attended by SJU
employees, including Bordak, the head of the OCS.12

Meanwhile, SJU employees were working hard to earn a $300,000 federal grant
from the Office of Violence Against Women (“OVW”). See SJU application for “Grant
to reduce Sexual Assault, Domestic Violence, Dating Violence & Stalking on Campus,”
SJU 1089-1174, Exhibit “8” The school had applied for the grant in 2016, just a year
after having adopted the SMP, but was unsuccessful In early 2017, SJU shifted its
approach by “directly addressing issues of sexual assault at St. Joe’s campus.” 13 In
preparation for its second Grant application, SJU pulled together a sweeping coalition of
organizations and individuals from both inside and outside the University to create a task
force to find and support victims of sexual misconduct and to find and condemn
perpetrators of sexual misconduct. SJU entered into an External Memorandum of
Understanding with Community Partners (Lower Merion Police Dept. Victim Services of
Montco., Phila. Sexual Assault Response Ctr, and the Phila. D.A.) (“EMOU”) creating a
victim-centered coalition,14 one goal of which was to “increase[] identification,
investigation and adjudication of persons committing sexual violence on campus” See
SJU 1056-1057, Exhibit “8.” The EMOU recognizes a “growing need for effective
campus community response to reduce sexual violence on campus” and was signed by
Mark Reed, President of SJU. See Exhibit “8.” SJU also executed an Intemal

Memorandum of Understanding (“IMOU”) within campus. See SJU 1065-1085, Exhibit

 

12 This will prove to be significant because Bordak was one of two people who made the decision to
adjudicate Doe’s case under the SMP process rather than the CS process, reviewed Doe’s case on appeal
and submitted a letter to Doe’s appeal panel urging the appeal panel to sustain the investigator’s finding of
“responsible.”

13 See Article from The Hawk Newspaper, Exhibit “12.”

14 See SJU 1056-1064, Exhibit “8.”

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“8.” The IMOU drew together 21 SJU departments and programs (from academic to
student life to student organizations) to create a an on-campus coalition the goal of which
was ~ in part - to “support efforts to hold offenders accountable,” “[d]evelop, strengthen,
and implement campus policies, protocols, and services that more ejj”ectively identij§) and
respond to the crimes of Sexual Violence” and to “[p]rovide personnel, training, technical
assistance and data collection with respect to the increased identification investigation
and adjudication of persons committing Sexual violence on campus.” See SJU 1065-
1066, Exhibit “8.” The IMOU is signed by thirty two SJU employees, including Mark
Reed, Ed.D., President of SJU, Dr. Cary Anderson, Vice President for Student Life and
Associate Provost (“Anderson”), Kiersten White, Ed.D., Assistant Vice President for
Student Life (“White”), Dr. Mary-Elaine Perry, Assistant Vice President for Student Life
and Title IX Coordinator (“Perry”), Bordak, Director of Community Standards at SJU,
Marci Bemey, Director of Student Outreach and Support (“Bemey”), Kate Bean,
Assistant Director, Wellness, Alcohol and Drug Education (“Bean”), and Emily Forte,
Assistant Director of Community Standards “Forte”). Taken together, nearly the entire
University is represented in the IMOU and joins in the commitment to strengthen its
response to sexual assault on campus. Both the EMOU and the IMOU embrace a victim-
centered, trauma-informed approach to claims of sexual assault that does not expressly
address or contemplate the possibility of false accusations or help for the accused.15

By of 201 7 both the EMOU and IMOU were executed and White, the lead author

on of the successful $300,000 grant, assembled the Grant Application Package and

 

15 This dovetails perfectly with SJU’s Break the Silence presentation

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submitted it the OVW. See SJU 1089-1174, Exhibit “8.”16 In the Grant Application, SJU
affirmed its commitment to “enhance victim safety; provide services for victims; support
efforts to hold offenders accountable . . . and increase awareness related to sexual assault,
domestic violence, dating violence and stalking.” See SJU 1102, Exhibit “8 .” The
application emphasized SJU’s efforts to train its employees to avoid “revictimization”
and “victim-blaming” by using “victim focused sensitivity.” See SMP 1110-1111, Exhibit
“8.” Significantly, the Grant Application expressed a belief widely held by SJU
personnel and administrators: that the scope of sexual violence is broad but difficult to
ascertain “given the underreporting of complaints” and that there is a “current and
growing need for a more effective campus response to reduce sexual violence on
campus.” See SJU 1103, Exhibit “8;” SJU 1113, Exhibit “8.”

In late August of 201 7, Roe moved to SJU’s campus.17 She attended the same
Break the Silence presentation that Doe had attended and heard the same proclamations
that false reports of sexual assault are rare, that “victims” should not be blamed or
questioned and should simply be believed. Roe, who identifies as a rape survivor, was
“triggered” by the presentation and left the room. Outside she introduced herself to
Perry, SJU’s Title IX Coordinator, and explained her past experience.18 (EP P303, L6-
P305, L20).

Shortly after the beginning of the 2017-2018 school year, while SJU’S $300,000

grant application was pending, the OCR radically changed its expectations about how

 

16 As part of the Grant Application, White represented to the OVW that SJU did, and would continue to
comply with Title IX. See SJU 1096, Exhibit “8.”
17 Doe had completed a successful &eshman year, a student in the Honors Program, and had returned to

continue his studies as a sophomore.
18 This will become significant because, not six months later, Perry would conduct the initial interview with

Roe after she claimed to have been sexually assaulted by Doe.

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schools should handle sexual misconduct, explicitly shifting its weight away from the
previously authorized pro-accuser stance. Since its issuance, the 2011 DCL -the one on
which SJU’s SMP had been premised - had faced overwhelming criticism for asking
universities to adopt sexual misconduct policies which were profoundly unfair to accused
students. On September 22, 2017, the OCR withdrew the 2011 DCL on the grounds that
it had placed “improper pressure upon universities to adopt procedures that do not afford
fundamental faimess.” (“2017 DCL”), Exhibit “9.” It expressly advised schools -
including SJU - that sexual misconduct policies adopted under the 2011 DCL - as SJU’s
was - “lack the most basic elements of fairness and due process, are overwhelmingly
stacked against the accused, and are in no way required by Title IX law or regulation.”
See Exhibit “9.” Recognizing that it had “led to the deprivation of rights for many
students - both accused students denied fair process and victims denied an adequate
resolution of their complaints,” the OCR withdrew the 2011 DCL with the intention to
engage in rulemaking on the topic of sexual misconduct. Rather than leave federally
funded schools without guidance, the OCR issued a contemporaneous Q&A, instructing
schools that “[i]n the interim, these questions and answers - along with the Revised
Sexual Harassment Guidance previously issued by the Office for Civil Rights [the 2001
Guidance] - provide information about how OCR will assess a school’s compliance with
Title IX.” (“2017 Q&A”), Exhibit “10.”
Leaning heavily on the 2001 Guidance, the 2017 Q&A reminds universities of
their obligation to “adopt and publish” procedures for handling sexual misconduct
complaints that are “prompt and equitable.” Exhibit “10,” Question 4 (emphasis

added). It defines “equitable procedures” as ones which “ensure[] the adequate,

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reliable, and impartial investigation of complaints, including the opportunity to

present witnesses and other evidence.” Exhibit “10.” Question 4 (emphasis added).

The OCR even identified the specifics of how to conduct an “equitable” investigation,

directing schools that “[i]n every investigation conducted under the school’s grievance

procedures, the burden is on the school - not on the parties - to gather sujficient

evidence to reach a fair, impartial determination as to whether sexual misconduct has

occurred.” Exhibit T, Question 6 (emphasis added). The Q&A instructs universities

that, in order to provide an equitable investigation - as they are mandated to do under

Title IX - they must ensure:

(a)

(b)

(C)

(d)

(€)

(f)

That the investigator of the alleged conduct be “free of actual or
reasonably perceived conflicts of interest and biases;”

That the school’s “institutional interests do not interfere with the
impartiality of the investigation;”

That a “trained ” investigator “analyze and document the available
evidence;”

That the investigator “objectively evaluate the credibility of parties and
witnesses” and “synthesize all available evidence - including both
inculpatory and exculpatory evidence;”

“Any rights or opportunities that a school makes available to one party
during the investigation should be made available to the other party on
equal terms.”

“Once it decides to open an investigation that may lead to disciplinary

action against the responding party, a school should provide written

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(g)

(h)

(i)

(J`)

notice to the responding party of the allegations constituting a potential
violation of the school’s sexual misconduct policy, including sufficient
details and with sujficient time to prepare a response before any initial
interview;”

“Sufficient details include the identities of the parties involved, the
specific section of the code of conduct allegedly violated, the precise
conduct allegedly constituting the potential violation and the date and
location of the alleged incident;”

“Each party should receive written notice in advance of any interview or
hearing with sufficient time to prepare for meaningful participation;”
“The investigation should result in a written report summarizing the
relevant exculpatory and inculpatory evidence.”

“The reporting and responding parties and appropriate officials must
have timely and equal access to any information that will be used during

informal and formal disciplinary meetings and hearings.”

See Exhibit “10,” Question 6 (emphasis added). The OCR further instructed that

“the decision-maker(s) must offer each party the same meaningful access to any
information that will be used during informal and formal disciplinary meetings and
hearings.” See Exhibit "10," Question 8. “The parties should have the opportunity to
respond to the report in writing in advance of the decision of responsibility” See Exhibit
“10,” Question 8. Schools are cautioned that “approaches that apply sex stereotypes or
generalizations may violate Title IX and should be avoided so that the adjudication

proceeds objectively and impartially.” See Exhibit “10,” Question 8.

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The OCE underscored the significance of the 2017 Q&A as follows:

The Department has determined that this Q&A is a significant guidance document

under the Final Bulletin for Agency Good Guidance Practices of the Office of

Management and Budget, 72 Fed. Reg. 3432 (Jan. 25, 2007).

Exhibit “10,” pg. 7.

SJU’s response to the 2017 DCL and Q&A was quick. On the morning of on
September 22, the day the new guidance was issued, White, who was on maternity leave
at the time, exchanged emails with Perry, Anderson and Bordak expressing concern that
SJU’s SMP might need to be changed in light of the 2017 DCL. White told the others that
“there may be some changes we need to make to our process (i.e. allowing students to
read reports before a decision is made.)” See SJU 1979, Exhibit “8.” Perry responded
within the hour that she had already read the OCR documents and had “noted some items
that will need our attention. I’m going to ask Bill and Emily to begin reviewing our
procedures against this guidance and hope to get a meeting together on the 5th or 6th of
October.” See SJU 1980-1983, Exhibit “8.”

But there would be no changes to SJU’s SMP. Right around that time, before the
scheduled meeting to discuss amending SJU procedures to comply with the new OCR
guidance, SJU learned that it had been awarded the long sought-after $300,000 OVW
Grant, the pursuit of which it had cost so much time and energy. The Grant brought with
it an obligation on SJU’s part to make semi-annual reports to OVW showing “progress”

on the goals identified in the Grant, i.e. an increased, more effective response to claims of

sexual violence on campus.19

 

19 In fact, the OVW Progress Report is a form document seeking information about Whether Grant funds
expended during the reporting period were effective in achieving Grant goals. There are a series of specific
questions the school is expected to answer about the effectiveness of the outreach and education activities
funded by the grant: “[e]xamples might include a marked increase in calls from victims/survivors of sexual

12

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On October 2, 2018, Anderson, Bordak, Perry, Forte, and a few other SJU
employees involved in the SMP disciplinary process met with Marianne Schimelfenig,
Esq., General Counsel and Corporate Secretary at SJU, to discuss implementing the new
OCR guidance, White attended that meeting by phone and continued to suggest that SJU
“need[s] to be a bit more transparent . . . in the process.” See SJU 1983-1986, Exhibit
“8.” There is no meaningful testimony about What was discussed in that meeting. SJU
shielded that information from disclosure by asserting that it was privileged. We do
know, however, that, as the Title IX coordinator, one of Perry’s “essential duties” is to
“insure [sexual violence] policies adhere to OCR guidance.” See SJU 1337; SJU 1337-
40, Exhibit “8.” We do know that the explicit, intended effect of the 2017 DCL and
Q&A was to level the level the playing field between accused and accuser, making it less
easy to secure inappropriate findings of guilt. We also know that SJU had just learned it
would be the recipient of a $300,000 grant in increase its response to sexual misconduct.
And we know that no changes were made to the SMP as a result of the 2017 DCL and
accompanying Q&A. (CA Dep, Page 13).

F our after the October 2, 2017 meeting, SJU conducted a training session for its
Community Standards Board members (“CSB”) for the 2017-2018 school year, The
training session focused on implementing the SMP and emphasized a “trauma inforrned”
approach to working with claimants.20 See SJU 2009-2035, Exhibit “8.” SJU advised its
CSB to frame questions with empathy and compassion, being careful not to express

judgment or demand responses, and to avoid asking claimants “why” questions. The

 

violence . . . .” following a school-sponsored event of some type intended to increase awareness of sexual
misconduct on campus. See SJU 1573, Exhibit “8 .”

20 Since, overwhelmingly, “claimants” under Title IX are women and “respondents” are men, this session
really addressed how women should be treated.

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training session references the 2011 DCL _ the one which had been rescinded because of
its deeply anti-male impact - but is silent as to the recently issued 2017 DCL and Q&A.
Just a few weeks later, on November 30, 2017, SJU issued a press release telling the
campus and the public that it had been awarded the three-year $300,000 grant to “bolster
[its] response to sexual misconduct.” See Exhibit “11.”21 The University represented
that the goal of the grant “is to reduce sexual assault . . . as well as strengthen the
institution’s response to these crimes” and promised that “University staff will submit
quarterly reports to the OVW to insure the campus’ progress.”22
Sometime after the press release, in December of 2017 or January of 201 8, The
Hawk, SJU’s University newspaper, published an article touting the award of the Grant
and explaining its expected impact on the University. See article from The Hawk
Newspaper, Exhibit “12.” Perry, serving as a panelist at a Bridging the Gap event
intended to encourage awareness of sexual assault, told those present that the University
had applied for the Grant unsuccessfully in 2016, but “on this attempt they tried a
different approach, directly addressing issues of sexual assault at St. Joe’s campus.” See
Exhibit “12.” Perry expressed her belief - consonant with that of other SJU staff and
administrators _ that sexual assault is vastly underreported. She said “approximately

700 women23 at St. Joe’s will have been sexually assaulted during their college career.

[Perry] only gets 10-15 reports a year.” As a result of the Grant, Perry said that “[o]ur

 

21 SJU’s press release indicates that it was one of only 53 college campuses nationwide to be awarded this
Grant, adding prestige to its already hefty financial significance
22 The Grant also sought to “enhance collaboration” among SJU, “law enforcement and survivor advocacy

organizations.”

23 Once again, the constant reference to “women” as the victims of sexual misconduct by Perry and the
other members of the panel reflect the broader understanding that “claimants” under the SMP are almost
universally female, and the “respondents,” almost universally male.

14

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expectation is that, initially, we will have more reports of sexual misconduct because
students will be aware of What it is and options they have for reporting.”

The same Hawk article reported told readers that a panelist who shared the stage
with Perry was a sexual assault survivor who was sharing her story in the hopes of
“empower[ing] others to come forward if they have been sexually assaulted.” The
article quoted her as saying “a lot of us think that sexual assault has to be this really
violent brutal crime to be called sexual assault or to be called rape but in reality, it’s
really just an unwanted sexual act, its non-consensual.” Another panelist is quoted in the
article as saying that the #MeToo movement is helpful, and the article points out that
“the Grant comes at a time when sexual assault survivors are coming forward and
speaking out about their perpetrators . . . Women are becoming more confident . . . [t]he
more women we have coming forward and the more women who feel comfortable
coming forward, the safer our world will be as a whole, especially for women.” See
Exhibit “12.”

On January 31, 2018 SJU received a $30,000 Pa Govemor’s Grant aimed at
“improv[ing] awareness, prevention, reporting and response systems regarding sexual
violence.” See SJU 1354, Exhibit “8.” Perry, who is listed as the Project Director for the
Grant request, says that “we know from national trends and our own campus statistics,
the overwhelming majority of acts of sexual violence are perpetrated by men. Since
2014, 95% of the complaints of sexual violence at SJU involved a male respondent.” See
SJU 1356, Exhibit “8.” She also says that previous efforts to engage men have been
short lived, but that current faculty interest, “the national climate and grant-funded

resources” could create the right moment. See SJU 1356, Exhibit “8.” She proposes

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that SJU would use Grant proceeds to engage a speaker who would explain to the men
on campus “how men are socialized toward violence and how they can eliminate
violence against women.” See SJU 1356, Exhibit “8.”

This was the hyper charged, pro-Woman backdrop against which Doe was
charged with and ultimately found responsible for sexual assault after kissing Roe.

a. Doe

On Friday, February 23, 2018, John Doe was a sophomore at SJU living in St. Mary’s
Hall (“St. Mary’s”) on campus. Doe has ADHD, and was registered with the OSDS on
campus, but was a strong student and in the Honor’s Program at SJU.24 In the more than
year and a half since he had been on campus, Doe had no disciplinary history to speak of.
That night, he had decided to go with several of his friends to a party in Philadelphia near
LaSalle University. At the party, Doe met a pretty freshman who told him she went to
Temple. It was Jane Roe, and she went to SJU.25 (Dep. J Roe PL22-P120, L6, Exhibit
“1 3”)

Roe approached Doe, and the two began talking. Roe seemed interested in him, flirted
with him, and drank out of Doe’s cup.26 Roe told Doe that she had graduated from a
recovery high school in Utah where she had been in treatment for cocaine and heroin
addiction (JR P122, L20-P123, L14); despite the fact that she was drinking, Roe assured

Doe that she was now “sober.” They kissed at the party (JR P128, L4-P129, L13), and

 

24 Doe’s ADHD manifests, in part, in a slower processing speed, entitling him to extended time on tests and
other accommodations

25 Roe admitted that she lied about going to SJU. See SJU 332-379, Exhibit “8.” But it was the flrst of
many mistruths Roe was to tell, all of which are disputed by Doe, posing numerous material questions of
fact which make Summary Judgment inappropriate.

26 Despite her claims to have been “sober” for two years, Roe had “chugged a couple of beers” when she
arrived at the party, and Roe was aware that there was alcohol in Doe’s drink when she drank it. See SJU
345-351, Exhibit “8.” There has never been a suggestion that either Roe or Doe were inebriated.

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Roe texted Doe her cell phone number. See SJU 371, Exhibit “8.” None of these facts are
disputed.

At some point, Doe and Roe walked outside to get some air. Roe noticed a man
selling cocaine, and she asked about the price. See SJU 332-379, Exhibit “8.” At 1:31
a.m. on the morning of February 24, Roe texted her friends, “R” and “NF”, saying “Guys
there’s coke he Here I want it.” See SJU 372, Exhibit “8.” Roe’s friends asked
“WHERE” to which Roe responded “Outside meet me? In the back.”27 Meanwhile, Doe
noticed Roe’s interest in the cocaine, and immediately tried to talk her out of buying it,
reminding her that she had been “sober” for two years, and that she would regret
throwing that away. Roe would later say that this made Doe a “nice guy” and, at his
prompting, she chose not to buy cocaine that night. 28 See SJU 332-379, Exhibit “8.”
Instead, she and Doe decided to leave the party and return to SJU with Doe and his
friends in Doe’s friend’s car.29 See SJU 332-379, Exhibit “8.”

When Doe and Roe arrived back at Doe’s dorm, St. Mary’s, they went to the
kitchen for water (Roe claims she needed to “sober up a little”)30 before heading up to a
small common room on the third floor. See SJU 332-379, Exhibit “8.” Upstairs at St.
Mary’s, the two kissed more, their hands on each other’s faces, arms and necks. All of

the kissing, both parties agree, was consensual. But it was at this point, while they were

 

27 Roe provided different texts and different statements to different people at different times. The text
exchange Roe provided to Malloy shortly after their “investigation” meeting left out a text in which Roe
tells friends, referring to the cocaine: “IRK if I can do this’s I.” See P 12, Exhibit “14.“

28 Perry’s notes show that when Roe reported the incident to Perry, she told Perry that Doe “didn’t let her
do coke.” See SIU 1344, Exhibit “8.” However, when Perry prepared the Complaint against Doe, she left
this exculpatory detail out, reporting instead that Roe “did not want to be near that as she has been clean for
almost two years.” See SJU 335, Exhibit “8.”

29 Oddly, Roe claims that Doe was flirting with other girls in the car on the ride back to SJU. Doe disputes
that.

30 Again, there is no allegation that either Roe or Doe were drunk.

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kissing in the upstairs room at St. Mary’s, that Doe’s and Roe’s stories diverge
diametrically.31
Doe says that he and Roe were kissing in the upstairs room in St. Mary’s when

Doe left to go to the bathroom. When he retumed, Roe was looking at her phone and, he
believes, had been texting her friends. Doe and Roe kissed some more, before Roe got a
phone call from a friend. Roe told Doe that her friend was sick and that she needed to go
to McShane, another residential hall on campus, to help her. Doe walked Roe downstairs
and gave Roe his sweatshirt, thinking she might be cold outside When he opened the
front door, Doe saw the young woman he assumed to be Roe’s friend waiting outside.
Before leaving, Roe turned back to kiss Doe goodbye. Roe and her friend then left
together a little after 2:30 a.m. Doe texted Roe , “I’m goin to bed but u guys need
anything my phone will b on I hope ur friends ok.” See SJU 371 , Exhibit “8.” Roe texted
back, “Thanks man.” See SJU 371, Exhibit “8.” Doe had never met Roe before that night
and has never met her since

b. Roe

Roe estimates (and text messages bear out) that she and Doe were in St. Mary’s for
approximately fifteen minutes.32 But her accounts of what happened during that fifteen

minutes are very different from Doe’s.33 Roe’s versions of what happened that night

 

31 Doe’s and Roe’s vastly divergent stories present a matter of credibility which is deeply connected to
Doe’s erroneous outcome claim against SJU, there again making summary judgment inappropriate

32 At 2:10 a.m., while they were in the car, Roe texted her friend R, telling her that she Would probably stay
over at Doe’s and asking R if she was mad at her. See R 49-51, Exhibit “14.” By 2:30 a.m. Roe had texted
her friends that she “miss[ed] Francis,” and her friends agreed to meet her outside St. Mary’s,

33 They are also different from one another. Roe told this story at least four different times, and it varied
each time, She told it to Perry when she reported the incident. Perry’s notes from her initial meeting with
Roe are attached as Exhibit “ .” She told it to Malloy during the investigation Malloy’s notes of her
“investigation” meeting with Roe is attached hereto as Exhibit “8“ P380-388. She wrote it to the appeal
board. A copy of Roe’s appeal letter is attached hereto as Exhibit “8” SJU P550-552. And she told it in a
two-part deposition, a transcript of which is attached as Exhibit “13.”

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have changed several times throughout the course of the investigation and throughout the
course of this litigation. In each version of the story, Roe admits that she and Doe were
kissing, and that the kissing and accompanying touching of her face and neck were
consensual. In February, when she initially filed her complaint against Doe with SJU’s
Title IX Coordinator, Roe told Perry that Doe had squeezed her neck so hard that she
couldn’t breathe so she had not said anything to him. 34 When Roe met with the
investigator in March, that at some point Doe suddenly “sat on top of her and put his
hand around her neck,” that “he was still kissing her while he was squeezing her neck,”
and that she said “what the fuck” and Doe pulled away. See SJU 332-379, Exhibit “8.”
When she was deposed, she was back to her original story, that she did not say anything
to Doe because he had squeezed her neck so hard that she couldn’t breathe, and she
claims she was paralyzed with fear. (JR P177, L20-P180, L17).

In her initial report to Perry, Roe claims that when Doe squeezed her neck, she had a
“flashback” to an abusive ex-boyfriend, “SM.”Z'5 Roe told Perry that SM would “pin her
down like this and say things like - if you do anything I’ll hurt you and hurt your
friends.” See SJU 335, In March she told Malloy that SM would “squeeze her neck.”
See SJU 332-379, Exhibit “8.” In her depositions, Roe first said that SM raped her every
Friday and Saturday nights for four months in high school, but that he did not physically

hold her down; he just threatened her. (J.R. P54). At other times, she said he would hold

 

34 Roe told Perry that Doe had his “hand” around her throat, that she couldn’t breathe and was paralyzed
with fear from past abuse. See SJU 1344, 335, Exhibit “8.”

35 Plaintiff is not identifying Roe’s allegedly abusive ex-boyfriend by name because she claims that he
raped her every Friday and Saturday night for four months during her sophomore year of high school. Roe
claims she went to the police at some point, but the police refused to bring charges against EM because
“the DA said that it wasn’t bad enough, we’re both minors, and they’re not going to prosecute.” See Roe.
Dep. 47. Plaintiff has been unable to verify any of Roe’s allegations against SM and will avoid using his
full name in this document in the event Roe’s claims against SM, like her claims against Doe, are untrue

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her shoulders down. (J.R. P56). Another time she said that, although he never physically
hurt her, Roe claims SM had her followed at school. (J.R. P58). In the second half of her
deposition, Roe testified that he when he raped her he would choke her (JR P273, L3-5).
Roe told Perry that when Doe pulled away from her, his “eyes changed” and he was
not the “same guy l went with.” See SJU 1344. By the time she told Malloy the story,
Doe was still kissing her while he was choking her and that, when he pulled away his
eyes were “so scary.” See SJU 332-379.36
According to Roe, after he choked her, Doe left the room:
Well, how did it end then?
He got up for some reason and when he backed away he just, I don't know how
to describe his look, but like -- and then he said -- I don't remember what he went
off to do. At one point he said he went to the bathroom. At one point he said he
went to get a computer. So I don't know what he was doing. But that was when I

texted my friends and was like, "I have to get out of here."

Q. Let's stick with this, if we can. So up until to the time he backed away you gave
him no notice that he was doing something that was not pleasing to you?

MS. ENGLE: Objection; asked answered. And you can answer it again.
THE WITNESS: No.

Roe Page180, L19-P181, L11

At that point and Roe, who had allegedly just suffered what she claims to have been a
terrifying attack in which she “flashed back” to an abusive ex-boyfriend, texted her

friends R and NF: “I miss Francis.” See P72-73, Exhibit “14.”

 

36 It is worth noting that, even if true, having “scary eyes” does not violate any section of SJU’s disciplinary
codes.

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Francis is not the name of Roe’s abusive ex-boyfriend; it is the name of a boy Roe
had recently been spending time with before their relationship soured.37 The following

text exchange ensued among Roe and her friends, R and N shortly before 2:30 a.m.:

Roe: l miss Francis
Rowan: Want to call?
Leave then

Its okay I’ll meet u
He will understand38

Roe: can you call me
Says “N”’s really drunk
NF: HAHAGAGA YEAH

Wantmetocneet u outside st mary’s
Im back in mcshain I can meet u [Roe]
Roe: Can you call me
See P72-73, Exhibit “14.” NF then texts Roe saying she will meet her outside, to which
Roe responds, “Act drunk please.” See P57, 72-73, Exhibit “14.”3'9 When Doe came back
into the room, Roe said thought he “may have been expecting something more, like
something sexual.” See SJU 332-379, Exhibit “8.”

Doe and Roe agree Roe never told Doe that he had choked her, that he had hurt
her, or that she was uncomfortable in any way. They both agree that, instead, when he
came back into the room, Roe said her friend was sick and needed her. They both agree
that Doe walked her to the front door of St. Mary’s, where Roe’s friend was Waiting.
There is no suggestion that he was at all hesitant about walking Roe out. In fact, Roe told

Malloy that Doe gave her his sweatshirt out of concern that she might be cold. See SJU

332-379. By the time she told her story in her appeal letter to SJU, and again at her

 

37 The Complaint which Perry drafted based on Roe’s statements to her suggests that “Francis” was a “safe
word,” intended to tell Roe’s friends that she needed help. See SJU 335, Exhibit “ .” Later Roe would
contradict Perry’s Complaint, saying that “Francis” was not a “safe word,” and that she and her friends did
not have a “safe word” until sometime after this alleged incident

33 The “he” referred to is Doe.

39 Roe told Malloy that she called her friends while Doe was out of the room. See SJU 332-379, Exhibit
“8.” Phone records show that her friends actually called her in response to her “I miss Francis” text.”

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deposition, Roe’ characterization of Doe’s conduct had become more menacing. Now
she claimed that Doe forced her to take his sweatshirt over her objection Nonetheless,
Roe admits that she kissed Doe goodnight at the door of St. Mary’s in plain view of both
Roe’s friend and surveillance cameras. After Roe lefc, at 2139 a.m. Doe texted Roe “Im
goin to bed but u guys need anything my phone will b on I hope ur friends ok.” Roe
responded “Thanks man.”

The next day, Roe spent time with her friends and called SJU’s Public Safety
(“PSafe”) several times for rides to and from CVS. See P35-36, Exhibit “14.” She never
mentioned anything to PSafe about having been sexually assaulted. Neither she nor any
of her fiiends discussed what the terrifying sexual assault she claims to have endured the
night before. Neither she nor anyone else noticed any bruises, redness, swelling or
irritation on her neck.

Late Saturday evening, Roe and her friends met in Roe’s dorm room before going
to a party at Sig Pi. Roe had “Smirnoff Raspberry” in her room and she and her friends
agreed to have “long pregame,” (Exhibit “14” - P62) during which her friends took a
series of photos, some of which clearly show Roe’s fiilly exposed neck and twenty hours
after Doe allegedly “choked” Roe to the point Where she could not breathe or speak, the

photos show no bruising, no redness, no swelling, no injury of any kind to Roe’s neck.

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Exhibit “14,” P 1 .

Roe and her friends went to the parties and all drank excessively. Roe testified
that while she was “buzzed,” she fell down the stairs at Sigrna Pi on Saturday night,
injuring herself to the point that she needed an x-ray later that week.40 By 3:00 a.m.,
Roe’s friend NF was so intoxicated that Roe had to accompany her to the hospital. See
P76, P69, Exhibit “14.” While there, JG, another friend texts Roe about Roe’s friend R:
JG texts Roe:

Jenny G: R is freaking out
Like panic attack in the bathroom
She won’t let me help her (P3 6)
Jenny G: This brought up her fear of you choking her on

Halloween
Idk what to do

 

40 Roe would never mention this detail to Perry. She never told Malloy, who, to be fair, did not ask. She
never mentioned it to the Appeal Board. lt was only in August, 2018, in her second deposition, that Roe
provided pictures of her uninjured neck and identified them as having been taken on Saturday evening,
February 23, 2018, nearly twenty hours after Doe allegedly choked her. ed

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Shes so upset and locked herself in the bathroom
She said that she was so afraid of you and that you
had a choice and you chose to choke her and that’s
why she pushed you down the stairs because she
was afraid of you
She blames you and [another friend] for her getting
in trouble with pub safety because she remembers
that all she wanted to do was go to her bed

See P35-37, Exhibit “14.”

The next day, Sunday, February 25, 2018, Roe helped NF craft a lie to tell her
parents so they would not suspect that she had been hospitalized for excessive drinking
See P66, Exhibit “14”. It was on Sunday, nearly two days after Doe had allegedly
choked her, just one day after she been drinking heavily (against school policy for an
underaged student), had fallen down the steps “buzzed,” had accompanied her even more
intoxicated underage f`riend, NF, to the ER, had helped NF make up a lie to hide the fact
that she had been so intoxicated and had learned that another friend, R, was afraid of and
upset with her, Roe’s friend first spotted bruises on her neck.41 See SJU 332-379, Exhibit
468-77

On Monday, February 26, 2018, Roe told first Bean, then Perry, that Doe had
sexually assaulted her. She left out the rest of what had happened on Saturday and
Sunday. That began the disciplinary process against Doe.

By that point, Roe had extensive experience with SJU’s disciplinary process. She

had only been on SJU’s campus for six months, but she had already had at least one

 

41 Roe’s claims that these bruises had been on her neck since Friday, but had gone unnoticed by her -
because she does not look at her own neck- and by anyone else _ because her long hair makes it impossible
for anyone else to see her neck _ are undermined by every photograph she has produced Her neck is
visible in each one, and the ones taken late Saturday evening - before she fell down the stairs - plainly
show that her neck was not bruised, irritated, swollen or injured in any way. See P1-3, Exhibit “14.”

24

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hospitalization for alcohol poisoning, See SJU 2037-2045, Exhibit “8.” She had already
switched roommates and then suitemates. She had already been accused of selling drugs,
been cited and fined by the police for smoking marijuana and been placed on disciplinary
probation See SJU 2046-2063, Exhibit “8.” Each time Roe found herself in trouble, she
did two things: she immediately informed the individuals investigating her that she had
been in rehab for substance abuse;42 and she expressed her deep concern about what
impact a disciplinary infraction would have on her scholarship, her prospects, and her
ability to remain at SJU.43

In December, 2017, Roe had had a disciplinary meeting with Forte regarding her
alcohol violation and allegations that she had been selling drugs.44 Forte thanked Roe
“for sharing part of [her] personal story” and advised her that, as to the allegations of
selling drugs, Forte was “taking [her] at [her] word that [she was] not involved in this
serious violation of the University drug policy. If you are found responsible for selling,
distributing, or sharing any drugs in the future, your ability to remain a SJU student will

be impacted.” See SJU 2056.

 

42 This appears to be an attempt to solicit sympathy. After her hospitalization, SJU insisted Roe write a
Reflection Paper in which she explained that she “just got out of rehab four months ago” and had “had 18
months and 24 days of sobriety, and it Was my first [relapse] since I left rehab. “See SJU 244-245. When
she was cited for smoking marijuana, Roe “was open with the officers about her previous drug addiction to
heroin and her interactions with the police when she was younger.” SJU 2053. When her room was
searched after an accusation that she was selling drugs (no drugs were found) Roe said that she understood
the “that she understood the search process because she had done that before in rehab.” SJU 2061.

43 After her hospitalization, Roe, who was and still is underage, was concerned that she would get a citation
and that her parents were going to be mad at her. See SJU 2037-2045, Exhibit “ .” When she Was cited for
smoking marijuana, the RAM on duty said Roe was “really upset about what this meant for their future
Roe asked me questions on if this would affect her McNulty scholarship and asked if this would be on her
record and what that meant.” SJU 2051. She had similar questions for the police when they showed up to
issue a citation See SJU 2052. When she was cited for an alcohol violation, Roe asked “about how this
information may impact her scholarships or joining student organizations” “expressed concern about her
parents finding out about these incidents and asked if there was any way that could be avoided.” SJU 2061
44 Text messages suggest that rather than engaging thoughtfully in the disciplinary process, Roe was
exchanging lighthearted texting her friends about plans for the evening during her disciplinary meeting
with Forte. Exhibit “14” _ P46.

25

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When she reported Doe for sexual assault on Monday, February 26, 2018, Roe
was a girl with a lot of struggles and a lot to lose.45 A s she had said in her September,
2017 Reflection paper, “I have too much at stake, both in my life in general and at St.
Joseph’s, to spend my weekends getting trashed and putting my life in danger.” See SJU
203 7-2045, Exhibit “8.”

c. SJU’s “investigation” of the incident

On Monday, February 26, Roe reported her “sexual assault,” first to Bean, with
whom Roe worked, then to Perry, showing Bean her bruises. Perry, of course, knew the
school had recently been awarded a $300,000 grant to increase the University’s response
to allegations of sexual misconduct, believed that sexual assault on campus was widely
underreported, had openly expressed her hope and expectation that reports of sexual
misconduct would pick up, and, only weeks before, had been notified the University had
been awarded a second, $30,000 grant earmarked - at her request - to engage a speaker
to tell male students “how men are socialized toward violence and how they can
eliminate violence against women.” See SJU 1356, Exhibit “8.” Against this
background, it is unsurprising that Perry unquestioningly adopted Roe’s story as true.

Perry interviewed Roe and determined that this was a sexual assault,46 She took
handwritten notes of her meeting with Roe, and prepared a Complaint against Doe,

thereby initiating a new SMP investigation See SJU 1344, 335, Exhibit “8.” Perry

 

43 When Roe was in trouble, she did something else as well; she tried to shifted blame In a Reflection
Paper SJU asked her to write after her drug and alcohol hospitalization, Roe swore off drugs and vowed to
take a break from drinking, but also suggested that the “guy she came to the party with” had “left [her]; he
didn’t want to get in trouble,” and “when it came down to my safety or his reputation, he chose his
reputation.” See SJU 2044-2045, Exhibit “8.”

46 Pictures of Roe’s neck would later establish that Roe’s bruises did not match Roe’s story, a fact that
neither Perry nor, later, Malloy inquired into.

26

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asked Roe if she had taken pictures of the bruises, and Roe said no.47 Perry asked Roe
to take pictures, which Roe subsequently did. Copies of those photos were ultimately
provided to Malloy and were kept in SJU’s investigation file, but they were of poor
quality and difficult to decipher. During the course of this litigation, Roe produced the
actual photographs taken on her phone as opposed to copies. These photos clearly show
what must have been visible to the naked eye when Roe showed her bruises to Bean and
Perry: some bruising low on the front of Roe’s neck, near the collar bone, as well as a
thin line of a bruise encircling the back of her neck, as if a necklace had been yanked
from her. (See Exhibit 15, Photo Roe 7) Significantly, Roe testified that she was not
wearing a necklace the night of her encounter with Doe; pictures show that she was
wearing a necklace the following night, when she drunkenly fell down the stairs at a frat
party.

Roe did not offer any information about what else she had done over the
weekend, and Perry did not ask. Perry had met Roe at one of SJU’s Break the Silence
presentations, where Roe had told her that she had been sexually assaulted in the past.
Perry knew that Roe had been “triggered” by the presentation, and that she was now
complaining of a “flashback.” But Perry asked no questions. (EP P314, L6-P327, L2).
Instead, she did what the Break the Silence presentation advises students to do, what
Roe knew others were expected to do, and what the investigator, Malloy, would
ultimately do; she just believed the victim.

Perry’s Complaint, which started the investigatory process, essentially tracked the

story Roe told her with two notable exceptions: Perry’s notes indicate that Roe told her

 

47 Notice this conflicts with Roe’s story that her friend had taken pictures on Sunday at the CVS parking
lot.

27

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Doe had stopped her from using cocaine that night. Perry left that exculpatory detail out
of her prepared Complaint. (EP P311, L23-P312, L6; P324, L22-P325, L13). And there
is no suggestion that either Roe or Doe were intoxicated that night Perry stated in the
Complaint that Doe had given Roe alcohol, intimating that that was somehow relevant to
what Roe claims to have happened between them. See SJU 1344, SJU 335, Exhibit “8.”
Without having done any investigation or having asked any questions, Perry
decided that Roe’s allegations constituted a sexual assault, as opposed to a physical
assault, and should be processed under the SMP.48 Later that same day, Perry emailed a
copy of her drafted Complaint to Bordak, suggesting that Roe might be more comfortable
if Forte (the OCS employee who had recently “taken Roe’s word for it” that she wasn’t
selling drugs) was involved See SJU 624, Exhibit “8.” Then she emailed her complaint
to Martin Havira, the head of public safety at SJU telling him that, although the party was
off-campus, the “inappropriate activity was on our campus.”49 The Complaint, and the
accompanying email had no qualifying language, no indication that it was stating
anything other than established facts. Havira read them that way, too. Ten days later,
before Malloy had even met with Doe, before her “investigation” had even begun, Havira
prepared an lncident Report, apparently for SJU’s database, stating that, on February 26,

2018, “SJU student Roe [identified by name and residence] was sexually assaulted by

 

48 This is significant for several reasons, not the least of which is that Perry claimed this was “sexual”
because kissing was involved, Yet, as will be discussed in further detail later, just a few months later, when
a male claimant alleged that a female SJU employee had kissed him, Perry decided that claim should not be
handled under the SMP, but rather under a different SJU policy which afforded the woman significantly
more rights during the investigation Perry’s reasoning was that the kissing in that instance Was not
“sexual.” Plaintiff Submits this as evidence of gender bias and selective enforcement

49 Notice, this assumes, and communicates to Havira, that Roe’s story actually happened

28

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Doe [identified by name and residence].” See SJU 166-168, Exhibit “8.”50 This lncident
Report announced Doe - by name - as guilty before the investigation had even begun. lt
is unclear how many people this report was disseminated to, but, at a minimum Perry and
Anderson received a copy. Neither did anything to correct Havira’s conclusory statement
(again, before the investigation had even begun) that Doe was guilty.

The day after Roe made her Complaint to Perry, Bordak reached out to Malloy to
“investigate” it. Malloy, an employment lawyer at Cozen O’Connor, has handled SJU’s
Title IX investigations since its SMP Was first adopted in 2015 (Dep. E. Malloy P82, L8-
84L7 - Exhibit 16). At least with regard to Title IX investigations, SJU is her only client
(E.M. P28, L10-P29, L10). Malloy has no particular training in conducting Title IX
investigations (E.M. P67, L3 -P73,L13), no specific accreditations (E.M. P74, L1-3), and
belongs to no professional organizations dedicated to understanding Title IX (E.M. P73,
L22-24). Before being retained by SJU, Malloy had never conducted a Title IX
investigation (E.M. P83, L23-P84, L7) and since that time she has only investigated one
case at a school other than SJU (E.M. P28, L10-P30, L2).51 Malloy testified that her
chief qualification in evaluating the credibility of witnesses during the investigation of
title IX complaints is walking around the world for 59 years (E.M. P298L15-19). On
March 6, 2018, Schimelfenig signed a retainer agreement with Malloy obligating SJU to
pay Malloy’s firm $70,000 this year, plus expenses, to investigate up to 11 complaints,

regardless of how much time she invests in each one. See SJU 1052-1055, Exhibit “8.”

 

50 Perry’s Complaint was imbedded in the report so that anyone with access to it would know the specifics
of Roe’s story, This is particularly disturbing in light of the fact that Doe, the accused, was never told the
specifics of the charges against him until he read Perry’s Complaint at his appeal.

51 Malloy represents on her firm bio that she “devotes a substantial part of her practice to serving as a
neutral, non-privileged investigator of workplace and student complaints.”

29

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Malloy testified that she was aware of both the 2017 DCL, Q&A and SJU’s $300,000
grant (E.M. P252).

On March 1, 2018, Forte notified Doe that he had been charged with a violation
of the SMP (Dep. EF Pl60, L18-22). She testified that Doe was shocked (as they usually
are) and upset (EF P160, L18-P161, L21). She asked that Doe come in to her office to
conduct a Pre-lnvestigation Meeting. The only additional information Forte gave Doe
about the complaint against him was the name of the accuser - Roe - and the fact that it
was not “sexual.” (Dep. E. Forte P161, L22-163, L22 - Exhibit 17). Bean would later
sum up SJU’s attitude about why additional information was not given to men accused of
sexual misconduct: well they were there so they already know it (Dep. K. Bean 203, L4-
205, L23 _ Exhibit 18).

The next day, Doe emailed Forte asking to postpone their meeting because he had
a midterm for Which he received extra time, See SJU 633, Exhibit “8.” This should have
alerted Forte that perhaps Doe had a learning difficulty that should be accommodated, but
it did not. Bordak testified that it is SJU’s policy to insist that the learning-disabled
student himself must reach out to the OSDS to inquire about what accommodations he
might be entitled to under the circumstances. Bear in mind, the accused, learning-
disabled student is not entitled to know the circumstances. Unless he has been through
the process before, he has no way of knowing what documents he is entitled to see, or
whether the SMP process would even implicate his particular learning difference SJU
has only 119 students registered with its OSDS. See SJU 1103-1122, Exhibit “8.” lt
would have been a simple matter to reach out to the OSDS to ensure that an accused

student was afforded all the accommodations and support to which he is entitled But

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Bordak testified that SJU does not do that lnterestingly, though, when Doe filed his
appeal, knowing now that he would have to review whatever evidence was in the
investigative file, he did reach out to the OSDS. OSDS told him that he was entitled to
extended time and a note taker, which he conveyed to Bordak (SJU 508). Despite his
testimony that he never reaches out to the OSDS (WB P51, L6-15), that that is entirely up
to the student, Bordak did reach out to the OSDS, without involving Doe, and concluded
that Doe was not entitled to a notetaker (SJU 509). As a result, Doe was ultimately not
provided this accommodation in his appeal, nor any other accommodation throughout the
course of SJU’s investigation

SJU’s refusal to meaningfully address Doe’s learning difference is particularly
egregious when viewed in light of SJU’s policies under the SMP. Accused students are
repeatedly told that they are expected to handle their defense alone, without help, and
certainly Without the assistance of an attorney.52 SJU policy and practice dictate that the
school and the complainant know the specifics of the allegations against the accused, but
he does not and will not unless and until an investigator decides, in her discretion, to
reveal that information to him.33 For a student like Doe, who struggles with a slower
processing speed and has difficulties with focus, this creates a disastrous scenario. Over
the course of this investigation, Doe went from predominantly A’s and B’s in the
Honor’s Program to failing nearly half his classes. His difficulties with focus were on

full display during Malloy’s “investigation” She testified that she had difficulty keeping

 

32 This admonition to handle things alone is likely to resonate deeply with and enhance the sense of shame
a student a student accused of sexual assault Would already be feeling. This would be especially true of a
wrongfully accused student, since he would have no way of knowing, let alone explaining, What the
specific charges against him are.

33 ln this case, Malloy chose not to reveal the specifics of Roe’s allegations against Doe. But if she had, it
would have been during the “hearing;” he would have been sandbagged and unable to seek or get any
accommodations necessary at that point

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him focused (EM P197, L4-24). Malloy did not interpret any of these things as
symptoms of ADHD. How could she? No one at SJU had told her. So, in addition to
hampering Doe’s ability to defend himself against Roe’s claims, SJU’s failure to
accommodate Doe’s documented learning difference hampered Malloy’s ability to
conduct a fair and accurate investigation

Shortly before Doe’s Pre-lnvestigation Meeting (“PIM”), Forte notified him that a
contact restriction had been put in place between him and Roe. When she filed her initial
complaint, Roe had specifically told Perry that she did not feel a contact restriction was
necessary. See SJU 624, Exhibit “8.” After her PlM with Forte, though, Roe had changed
her mind, deciding that now a contact restriction was necessary. See SJU 332, Exhibit
“8.” On March 5, 2018, Doe was notified that a contact restriction included

both direct and indirect forms of communication These contact restrictions

include but are not limited to: personal interaction, contact with personal property,

electronic correspondence (computer, telephone, text messages, e-mail, Facebook,

etc.), contact initiated by any third parties on your behalf or at your request, and

all forms of retaliation These restrictions apply both on and off campus.
See SJU 644, Exhibit “8.” When Doe asked why these restrictions had been put in place
~ he and Roe did not know one another and had not seen or spoken to one another since
the alleged incident - Forte said that “[t]he contact restriction was a decision made by the
university in light of the allegations that were submitted.” See SJU 647, Exhibit “8.”

On March 6, 2018, Forte conducted a PIM with Doe. Doe asked when he would
be provided with a copy of the Complaint (EF Pl76, L3-8) so that he could know what,
exactly, Roe had accused him of doing. As discussed previously, SJU does not disclose

many of the policies it employs under the SMP process, including the fact that an accused

student is not entitled to know the specific charges against him, nor is he entitled to know

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about any evidence or witnesses in the case (Dep. K. White 143L11-P153, L5,P155, L22-
P155, L6 - Exhibit 19).54 But Forte did not tell Doe that Instead, she told Doe that he
would be shown a copy of Roe’s Complaint at his “investigation meeting” with Malloy
(EF P177, L15-P178, L24). She also did not tell Doe that the “investigation meeting”
was actually a hearing at which his guilt would be decided, and certainly the term
“investigation meeting” belies that fact (EF P362, L6-P364, L14). Rather than provide
Doe with any information about the charges against him, Forte suggested that Doe make
notes about what he remembered of his time with Roe, which he later did

SJU’s policy is that, after the University has conducted PlMs with both the
accused and the accuser, the entire matter is turned over to the investigator for
adjudication After the PlM, at which Doe was told nothing about the charges against
him other than that he had been accused of “being rough” with Roe (EF P355, L17-P356,
L5),53 Doe had no ability or right under SJU’s policies to learn anything further from
SJU about what Roe claimed he did Now that a contact restriction was in place, he was
denied the opportunity of getting information from other sources as well. He could not
speak to Roe or any of her friends, under penalty of further disciplinary action on the part
of the University. He could not even identify Roe’s friends by name - at least one of
whom had seen Roe kiss Doe goodbye outside of his dorm that night - to give that
information to the investigator. He had no way of learning what Roe might have said

about the what he did immediately afterward, what she might have texted her friends, or

 

34 Of course, Roe had full access to all of that information before, during and after the investigation ln fact,
she selected which bits of evidence and witnesses she would provide to the school. The school then
accepted her story, supported by her hand-selected evidence, without question

33 lt is important to remember that Forte promised Doe that he would be told the exact claims against him at
the investigation

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what she might have done the rest of the weekend He had no way of knowing that Roe
had an extensive disciplinary history at SJU showing that she had an ongoing substance
abuse problem. He was unaware of SJU’s amnesty policy for students reporting sexual
misconduct and had no way of knowing that Roe might have needed amnesty.56 Failing
that, Doe was left to assumptions about Roe’s allegations, her motivations and her
recollection And he assumed the best - that something must have happened that night to
make her uncomfortable, even though he had no idea what.

At Forte’s suggestion, Doe prepared a note detailing what he remembered about
his time with Roe. See SJU 375-378, Exhibit “8.” This note speaks volumes about how
little Doe knew about the charges against him going into his “investigation” with Malloy,
ln an effort to figure out what the basis of her allegations was, Doe mistakenly identifies,
and apologizes for, three separate interactions, none of which involves Roe’s neck and
none of which is the basis of Roe’s sexual misconduct complaint First, he speculates
that his playful push toward the chair is the source of Roe’s complaint57 lt was not. Then
he wonders if he was “holding her in some way that felt forceful or aggressive.”38 He
was not. Finally, he intimates that maybe she was upset because he had kissed her on the
stairs, delaying her from meeting her friend59 She was not. Doe never mentions anything
about squeezing Roe’s neck, or even about touching Roe’s neck. Reading Doe’s note,

two things are obvious: the first is that Doe is very anxious to figure out what Roe could

 

36 When asked whether SJU students actually read all of the Handbook, Roe testified, “I did.”(JRP P24, L6-
9)

37 ln light of the fact that Roe filed a complaint against him, Doe says that “it has become clear to me Since
that this was inappropriate.” See SJU 376, Exhibit “8.”

38 Doe specifically says it was not his intent to be forceful or aggressive, but, again, in light of the fact that
Roe had since charged him with sexual misconduct, “it clearly made her uncomfortable” See SJU 376,
Exhibit “8.”

39 Doe says he “was sorry for doing that” because he knew she had to go meet her friend See SJU 376,
Exhibit “8.”

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be upset about and to apologize for it. The second is that Doe has absolutely no idea
what the charges against him are This should have set off alarm bells for Malloy, an
experienced attorney well acquainted with the bedrock right of an accused to know the
charges and evidence against him, well aware that withholding such information
undermines the validity and accuracy of her investigation This should have prompted
Malloy to exercise the discretion SJU had delegated to her to show Doe Roe’s Complaint,
Roe’s text messages; photos of Roe’s bruises. lt did not.

On March 8, 2018,60 Malloy emailed Doe asking to meet with him on March 19,
2018, Doe confirmed their meeting, and asked Malloy “if there is anything he should do
to prepare for this meeting.” See SJU 404-406, Exhibit “8.” Malloy emails Doe two
times after March 811‘, each time ignoring his question On Sunday, March 18111, Doe
again emails Malloy asking her if there is anything he should bring or do to prepared for
their meeting. Malloy did not respond until Monday, March 1911‘, less than four hours
before the hearing, telling Doe that “if [he has] any documents or text messages or emails
that may relate to the complaint, l would like to see them.” See Exhibit “20.” Of course,
it was not until after Doe had already been found responsible for assaulting Roe that he
first saw the Complaint, or even knew the specifics of the charge against him, so this was
not just an untimely request, it was an impossible one.

On March 19 2018, Malloy met with first Roe then Doe. She did not ask Doe

what, if any, information or evidence he had been given about Roe’s charges.61 lt is

 

60 lronically, on the very same day that Malloy sent Doe an email to schedule his hearing, Havira, SJU’s
head of public safety, sent an email to SJU’s database, Perry, Anderson, and possible others, stating that
Doe (identified by name) had sexually assaulted Roe (also identified by name). See SJU 166-168, Exhibit
“8 .” Even before the hearing, Doe’s guilt was assumed

61 Nor is there any evidence to suggest that Malloy asked Perry or Bordak whether Doe had been shown a
copy of the Complaint Perry had prepared on Roe’s behalf.

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clear, however, that prior to and during the investigation, Roe knew exactly what was in
her Complaint, had access to photographs of her bruised neck, text messages between
herself and her friends. She knew the names of potential witnesses and the people with
whom she had discussed this alleged incident She knew her own medical history, her
own disciplinary history, and what medications she had taken over the course of the
weekend of February 23“1' She knew that she had gone out for a night of heavy drinking
the day after her encounter with Doe and that she had drunkenly slipped down the stairs,
sustaining injuries which would send her to an Urgent Care a few days later. She knew
there were pictures of her taken approximately twenty hours after Doe had allegedly
choked her; pictures, it turned out, that clearly showed Roe’s perfectly unblemished
neck.62 There is no evidence that Roe actively concealed any of this information from
Perry or Malloy. She did not have to. They did not ask for it.

ln fact, Malloy, like Perry, seemed not to have questioned Roe at all. F or
example, Roe told Malloy that when she first met Doe she lied about going to SJU,
Malloy seems never to have asked why. Roe told Malloy that she had a history of drug
addiction and had attended a recovery high school, but was now sober. Yet she was
drinking that night and was tempted to buy cocaine Rather than inquire into this
troubling discrepancy, Malloy recharacterized Roe as a “recovered drug user.”63 Roe
said that she went to the bathroom after her encounter with the drug dealer to compose
herself. When she came out, she announced to her friends that she had not bought any

drugs. Roe accused Doe, who she had just met, of “flirting” with other girls in the car,

 

62 Those exculpatory pictures might even have been on Roe’s phone during her interview with Malloy.
63 lt is widely known that there is no such thing as a “recovered” drug abuser; recovery is a life-long
process.

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but stated that she did not care about that. She they were only at Doe’s dorm for about
fifteen minutes, that they went upstairs and were kissing and that Doe, unaccountably,
“sat on top of her and put his hand around her throat and squeezed her neck.”64 She said
“he was still kissing her while he was squeezing her neck,” and when she said “what the
fuck,” he immediately pulled away. She said that she saw his eyes and they were “so
scary” and that she had a flashback to an abusive ex-boyfriend who used to squeeze her
neck. Roe told Malloy that Doe left the room, and she called one of her friends and that
Doe gave her his sweatshirt before Roe and her friend left. Roe told Malloy that two days
later, her friend noticed bruises on her neck. Roe told Malloy she thought Doe did this on
purpose, “to hurt her because she felt he was choking her.” See SJU 332-388, Exhibit
“8_,,

A more critical listener would have asked probing questions about this
improbable story, like the names of any fiiends she had discussed this incident with, why
she lied about what school she attended, how she said “what the fuck” when she was
being choked, whether she felt dizzy or passed out from being choked, when and whether
she felt any pain in her neck, and when she first noticed bruises on her neck. Someone
interested in the truth would have a lot of questions about Roe’s “flashback,” and why
Roe thought Doe, who she had only known for one evening, who had no reason to want
to hurt her, who she had only been alone with for 15 minutes, who up until that moment

had seemed like a nice guy, would suddenly want to hurt her. A truly independent

 

64 Doe is certain that he never sat on top of her. Had he been told this detail he would have adamantly
denied it.

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investigator would have wanted to know why Roe said she texted her friends to help her,
when in fact she texted them that she “miss[ed] Francis.”63

Malloy’s “interview” with Doe, which was immediately after her meeting with
Roe, was even more troubling. She could tell from Doe’s note and his comments at the
hearing that he had no idea what Roe had accused him of doing, yet she chose not to
enlighten him. Malloy told Doe only that Roe said he squeezed her neck and that scared
her.66 Malloy never used the word “choked.” (EM P265, L4-P266, L7) Doe says she
never told him Roe had bruises.67 She never showed him any pictures. She never
showed him the Complaint (EM P263, L4-P264, Ll). Without that information, Doe still
had no idea what Roe was accusing him of (Dep. J. Doe P71, L15-P72, L2 - Exhibit 21).
She might have been saying he bumped into her. Doe responded that he didn’t want to
call Roe a liar, but he did not remember doing that and does not think he did that (EM
P199, L5-9). lnexplicably, Malloy seemed to find this statement to be some sort of
confession

Without further investigation,68 Malloy found Doe responsible for squeezing
Roe’s neck while they were kissing and determined that to be a “sexual assault.” Her
logic is contorted and difficult to follow. She finds both Doe and Roe to be credible and

says that “[Doe] does not specifically recall squeezing Roe’s neck, but he does not deny it

 

63 Malloy had Roe’s text messages, if not during the meeting, shortly thereafter. Malloy also has the right to
have as many meetings as she deems appropriate with claimants and respondents, so she could certainly
have followed up with Roe. Malloy chose not to. She went on vacation.
66 Of course, the SMP does not address “scaring” someone, nor does it prohibit them from having a “scary
look” in their eyes.
67 Malloy claims she did tell Doe there were bruises, but represents in her appeal letter that the bruises were
irrelevant to her outcome

68 Doe said that he thought Roe’s friend had seen Roe turn back to kiss him goodnight when he walked
her to the front door of St. Mary’s, a fact Roe admitted to in her deposition This conduct should certainly
have raised questions about Roe’s credibility, particularly in a he said/she said situation

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and says they both had their hands on each other’s neck area. He agrees that he did not
obtain Roe’s consent to touch her neck,” This conclusion flatly contradicts Malloy’s own
rationale, in which she says consent to kissing also understandably includes consent to
having Doe’s hands on Roe’s neck, meaning that Doe did not need independent consent
to touch Roe’s neck. lt also flatly misstates Doe’s testimony. Malloy’s own findings
illustrate that Doe does deny squeezing Roe’s neck(SJU00350). And even if he had not,
or had not done so with the vigor Malloy apparently wanted, how could he have? He did
not know Roe was claiming he choked her. He did not see pictures or know about
bruises. That would be like being accused of accidentally stepping on someone’s toe in a
crowd and vehemently denying it had happened

As will be discussed in greater detail below, Malloy’s conclusion also misreads
and contorts the SMP’s definition of sexual assault. The SMP defines “sexual assault” in
relevant part, to be non-consensual contact with an “intimate body part,” examples of
which are provided in the policy. Malloy concedes, as she must, that the neck is not an
intimate body part, a term which is. Nonetheless, Malloy finds that “because Roe’s
complaint is that Doe squeezed her neck, to the point where it left bruises, l find that this
is a singular, separate act which required her consent.” See SJU 355-359, Exhibit “8.”

When Doe learned that Malloy had found him responsible for sexual assault, he
was shocked He told his parents, who he had been too embarrassed to tell before this
point,69 and prepared his appeal. See SJU 478-482, Exhibit “8.” As is permitted under

the SMP, Roe filed a response to Doe’s appeal, claiming that Doe had sexually assaulted

 

69 Not knowing the charges and evidence against him, Doe was sure that this was some sort of
misunderstanding and that once he met with Malloy, he would be able to clear everything up.

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her, had “choked [her] to the point she couldn’t even breathe”70 leaving her “paralyzed
from fear, which led [her] to not say anything to him;71 instead, [she] texted [her] fi'iends
because l knew they would help me get out of the situation before anything else
happened.”72 At a loss to explain Roe’s bruises - which Doe only first learned about in
his post-conviction review of the evidence against him - Doe had made a point in his
appeal that Roe might have been on medications which could have caused her to bruise
easily. Roe responded that she was on prescription medications, “but none of them can
cause easy bruising.” She claimed she “looked up the side effects on the list they hand
out with the prescription.” Subsequent discovery in this litigation revealed that Roe was
on Lexapro when the alleged incident with Doe occurred (JR P66, L20-P67, L21).
lncreased bruising is a common side effect of Lexapro. See Report of Robert Sing, M.D.,
Exhibit “22.” Alcohol consumption can also increase bruising. So can falling down
stairs, but, as always, Roe fails to mention this incident to the Appeal Board

When Doe learned that Roe had filed a response to his appeal, he contacted the
OCS to schedule a time to review Roe’s appeal letter. By this time, Doe had an
attorney,73 and knew enough to reach out to OSDS to secure his accommodations before
coming in to SJU to review the file which would go to the Appeal Board On
Wednesday, April 25, 2018, White, who was “facilitating” Doe’s appeal, advised him
that she was postponing his document review documents until Doe had an opportunity to

speak with Dr. Mecke at the OSDS. White did not tell Doe that she had not postponed

 

70 This is a detail which is not mentioned in Malloy’s notes from her interview with Roe.

71 This contradicts Roe’s story to Malloy, in which she saidj “what the fuck.”

72 This seems to be referring to the “l miss Francis” text, which says, not that she needed help, but rather
that she missed an ex-boyfriend

73 Under the SMP, Doe’s attorney would not be permitted to review any documents, evidence or complaint
in the file.

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the actual Appeal Board meeting. On Monday, April 30, 2018, in the middle of
preparation for final exams and papers at SJU and before Doe had had an opportunity to
review Roe’s appeal, Doe received an email from the Office of Student Life at SJU
informing him that “[b]ased on a review of all available information pertaining directly to
the appeal, the appeals panel affirms the outcome reached by the lnvestigator, which
means all sanctions imposed as a result of the outcome also remain in place The matter
is concluded No other appeal is permitted Please see your original outcome letter for
more information.”

Doe pursued his right to see Roe’s response to his appeal anyway, and told
Bordak that, pursuant to his conversations with Dr. Mecke, Director of OSDS, he was
entitled to have extended time for this document review as well as a note taker, That
same day, Bordak, who testified in his deposition that he never spoke with the OSDS
about student accommodations, emailed Doe saying that he had spoken to Mecke and
determined that Doe is “not granted a note taker accommodation for the review of
documents.”

On Wednesday, May 2, 2018, Doe and his attorney (acting as an Advisor pursuant
to SJU’s SMP) 74 went to SJU expecting to review Roe’s response to Doe’s appeal and
the documents generated during the investigation Doe was, once again, shocked to see
that, unbeknownst to him, White, the “facilitator” of Doe’s appeal, had provided copies
of his appeal letter and Roe’s response to Malloy, Bordak and Forte and had actively

solicited responses from them to be provided to the Appeal Board ln fact, she

 

74 Pursuant to SJU’s SMP, Doe’s Advisor was not permitted any access to the records or evidence
generated during the course of the lnvestigation or appeal, once again effectively denying Doe any
meaningful assistance from his Advisor.

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specifically scheduled the Appeal Board meeting around the timing of Malloy’s,
Bordak’s and Forte’s responses. See SJU 596-489, Exhibit “8.” lt will shock no one to
learn that Malloy, Bordak and Forte all urged the Appeal Board to uphold Malloy’s
finding of “responsible.”

The Appeal Board consisted of one SJU student and two SJU administrators, both
involved in information technology. lt is only natural that they would lean on the
representations made by perceived “experts” on SJU’s SMP. Bordak, the Director of the
OCS told the Appeal Board that Doe’s conduct met the definition of “sexual assault”
because both he and Perry said it did; Malloy agreed Bordak also assured the Appeal
Board that the process is “equitable, fundamentally fair, and included equal protections
for both the respondent and complainant.”75 As to his documented learning disability,
WB did not deny that Doe was expected to handle his investigation and appeal alone,
without help. See SJU 584-586, Exhibit “8.” Similarly, Forte told the Appeal Board that
her office is not aware of students’ documented learning disabilities, and that Doe did not
tell her he had such a disability. She also pointed out to the Appeal Board members that
Malloy is an attomey, and that she serves as an investigator for the University in cases of
sexual misconduct, implicitly underscoring what Malloy had to say. See SJU 587-588,
Exhibit “8.”

Malloy’s letter to the Appeal Board, though, is the most disturbing. As a
practicing attorney, one who both Bordak and Forte had intimated was an expert in

sexual misconduct cases, the members of the Appeal Board were likely to give her

 

73 Bordak admitted to the Appeal Board that “Office of Community Standards does not share the details of
a complaint with the respondent prior to or during the Pre-lnvestigation Meeting” and directed them to
Malloy regarding any information “shared or not shared during the investigation process.”

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thoughts disproportionate weight Of course, Malloy defended her conclusion that Doe
had committed sexual assault She also claimed that she had “clearly informed Doe that
Roe’s allegation was that he squeezed her neck, and that she did not consent to that,
although she consented to the kissing.” She admitted that she “did not show Doe the
photographs. His position that because he did not see the photographs and therefore did
not know the charges against him is false l told Doe that the charge was the he squeezed
her neck without consent.” Later, in her deposition, Malloy would claim that she had
told Doe about the bruises, a position Doe vehemently denies. She never said that to the
Appeal Panel. lnstead, in direct contradiction of her own conclusions and rational in the
Outcome Letter, Malloy told the Appeal Board that “the fact that Roe had a bruise on her
neck was not the deciding factor.” 76 As to the fact that Doe claimed, and Malloy found,
that Doe never had any intent to hurt Roe, Malloy assured the Appeal Panel that “the
Policy does not require an intent to hurt the Complainant. The act itself`, without consent,
violated the Policy.” See SJU 589, Exhibit “8.” 77

Malloy’s shifting justifications and Bordak’s and Forte’s implicit instruction to
the Appeal Board that they should just follow Malloy’s lead is not simply inappropriate;
it offers SJU a second, third and fourth bite of the apple, to persuade the Appeal Board
that Doe committed sexual assault, opportunities denied to Doe. As will be discussed in

greater depth at a later point in this brief`, the SMP, which is incorporated into the contract

 

76 In her “Outcome and Rationale,” Malloy had specifically found that “because [Roe’s] complaint is that
[Doe] squeezed her neck, to the point where it left bruises, l find that this is a singular, separate act which
required her consent.” See SJU Exhibit “8” _.)

77 lt is particularly troubling that Malloy, an attorney, was permitted to express her opinion about the
interpretation of the SMP when one considers the fact that Doe, a college sophomore, distraught over the
allegations against him, was repeatedly told that must handle this himself that he must prepare the appeal
himself, without the assistance of an attorney or anyone else

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between Doe and the University, provides that the Complainant and/or Respondent may
appeal the investigators Outcome and that no additional responses are accepted as appeal
documentation See SMP V(b)(8). lt makes no provision for SJU employees, or SJU’s
attomey, to submit statements, evidence, explanations, testimony or any other documents
to be considered as part of an appeal under the SMP. Appealing students are certainly
not given that right, and no student reading the SMP would expect it to be afforded to the
University. Plaintiff submits that by permitting certain SJU employees to submit
evidence and arguments to the Appeal Board of the Office of Student Life in support of
Roe and against Doe, SJU violated the provisions of its own SMP.

After his wrongful conviction, Doe was put on academic probation and his record
was marred with a notation of “sexual assault” SJU denied him the right to go on a long-
awaited, pre-paid trip to lreland.78 His grades dropped precipitously. He is no longer in
the Honors Pro gram and has failed two classes. His ADHD symptoms have been
exacerbated He suffers from anxiety and depression, for which he has been forced to
seek medical and psychological help. He has had to take a leave of absence from SJU,
stalling his academic career. He feels alienated from fiiends and family due both his
constant worry and concern about his situation and to the fact that he cannot discuss it
openly with them. lf SJU wrongful procured and wrongfully decided notation of “sexual
assault” is not removed from Doe’s record, he will suffer even more.

II. LEGAL STANDARD
Summary judgment is warranted "if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of

 

78 Adding insult to injury, SJU has refused to refund him the money for this trip.

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law." Fed. R. Civ. P. 56(a). A fact is "materia " if it "might affect the outcome of the suit
under the governing law . . . ." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S.
Ct. 2505, 91 L. Ed. 2d 202 (1986). A factual dispute is "genuine" if the evidence would
permit a reasonable jury to return a verdict for the nonmoving party. Id. ln considering a
motion for summary judgment, the court must draw all inferences in the light most
favorable to the nonmoving party. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio
Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986).

The moving party "always bears the initial responsibility of informing the district
court of the basis for its motion . . . ." Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.
Ct. 2548, 91 L. Ed. 2d 265 (1986). lf the moving party has met its initial burden, the
nonmoving party must then "make a showing sufficient to establish the existence of
[every] element essential to that party's case, and on which that party will bear the burden
of proof at trial." Id. at 322. Both parties must support their factual positions by:
"(A) citing to particular parts of materials in the record . . . ; or (B) showing that the
materials cited do not establish the absence or presence of a genuine dispute, or that an
adverse party cannot produce admissible evidence to support the fact." Fed. R. Civ.
P. 56(c)(1). The materials in the record that parties may rely on include "depositions,
documents, electronically stored information, affidavits or declarations, stipulations
(including those made for purposes of the motion only), admissions, interrogatory
answers, or other materials." Fed. R. Civ. P. 56(c)(1)(A).
ln essence, the inquiry at summary judgment is "whether the evidence presents a
sufficient disagreement to require submission to a jury or whether it is so one-sided that

one party must prevail as a matter of law." Chiarello v. Trans Union, LLC, 2018 U.S.

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Dist. LEXlS 168743, *6-7 (E.D. Pa. 2018), quoting Anderson, 477 U.S. at 251-52. ln
making that determination, the Court “may not make credibility determinations or weigh
the evidence, and we must draw all reasonable inferences in favor of the non-
moving party. Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150, 120 S. Ct.
2097, 147 L. Ed. 2d 105 (2000); Armour v. County ofBeaver, PA, 271 F.3d 417, 420 (3d
Cir. 2001). Our function is to determine whether there is a genuine issue for trial, and we
may not prevent a case from reaching a jury simply because we favor one of several
reasonable views of the evidence.” LaLoup v. United States, 92 F. Supp. 3d 340, 344,
2015 U.S. Dist. LEXIS 35576, *7-8 (E.D. Pa. March 20, 2015) citing Abraham v. Raso,
183 F.3d 279, 287 (3d Cir. 1999).
III. LEGAL DISCUSSION

A. Title IX: Statute and Guidance

Title lX states that "[n]o person . . . shall, on the basis of sex, be excluded from
participation in, be denied the benefits of, or be subjected to discrimination under any
education program or activity receiving F ederal financial assistance." 20 U.S.C. §
1681(a). lt is well established that Title lX obligates a school prevent and address sexual
misconduct on campus. However, "it is equally well established 'that Title lX bars the
imposition of university discipline where gender is a motivating factor in the decision to
discipline.'" Doe v. Brown Univ., 166 F. Supp. 3d 177, 184-185, 2016 U.S. Dist. LEXIS
21027, *14-15 (D.R.l. February 22, 2016)(quoting Yusuf 35 F.3d at 715).

The statute is unusually brief; it falls to the Department of Education’s Office of
Civil Rights (“OCR”) to interpret and enforce Title lX. To that end, OCR periodically

issues guidance documents and “Dear Colleague Letters” to educational institutions

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instructing them about how to comply with and implement the statute OCR does not
stand alone in its authority enforce Title lX and its guidance documents; the statute is
also enforceable through a private right of action for damages and injunctive relief. Doe
v. Columbia Univ., 831 F.3d 46, 53 (2d Cir. 2016) (citing Yusufv. Vassar Coll., 35 F.3d
709, 714-15 (2d Cir. 1994)).

ln 2001, the OCR issued a guidance document entitled “Revised Sexual
Harassment Guidance: harassment of Students by School Employees, Other Students, or
Third Parties” (“2001 Guidance”)79 Exhibit “ .” The 2001 Guidance emphasized schools’
obligation to provide “prompt and equitable” resolution of sexual misconduct claims on
campus. lt specifically obliged schools to provide “[n]otice to students . . .of the
[school’s] procedures” in resolving Title lX claims, as well as “adequate, reliable, and
impartial investigation of complaints, including the opportunity to present witnesses and
other evidence.” lt reminded schools that “according due process to both parties involved
will lead to sound and supportable decisions.” Exhibit “ ,” at 22.

ln 2011, OCR issued a Dear Colleague Letter (“2011 DCL”), supplementing the
2001 Guidance.80 By this letter, OCR “sought to lower or remove perceived barriers
faced by students reporting sexual assault, which naturally led to (i) the removal of
certain procedural protection for alleged assailants, and (ii) increased rates of conviction
for alleged assailants based on lower burdens of proof.” Doe v. Marymount Univ., 297 F.

Supp. 3d 573, 582-583, 2018 U.S. Dist. LEXIS 43164, *15-16 (E.D. Va. March 14,

 

79 As will be discussed in greater detail below, the 2001 Guidance was the product of notice-and-comment
rulemaking7 giving it the force and effect of law. The guidance can be found at

80 The OCR identified the 2011 DCL as a "'significant guidance document,"' which "does not add
requirements to applicable law, but provides information and examples to inform recipients about how [the
DOE Office of Civil Rights] evaluates whether covered entities are complying with their legal obligations."
(https://www2.edgov/about/offices/list/ocr/letters/colleague-201104.pdf. at n. 1 .)

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2018). Faced with the threat of losing federal funding, many universities changed their
sexual assault policies to favor accusers of sexual misconduct, almost exclusively female,
at the expense of students accused of sexual assault, students who are almost invariably
male. ld. ln the years since, the 2011 DCL faced widespread criticism that it had
improperly pressured schools to abandon concerns about fundamental fairness and adopt
procedures that “lack[ed] the most basic elements of fairness and due process, are
overwhelmingly stacked against the accused, and are in no way required by Title lX law
or regulation.”81 As one court noted,

[U]niversities across the United States have adopted procedural and substantive
policies intended to make it easier for victims of sexual assault to make and prove
their claims and for the schools to adopt punitive measures in response That
process has been substantially spurred by the [2011] "Dear Colleague" letter. The
goal of reducing sexual assault, and providing appropriate discipline for
offenders, is certainly laudable. Whether the elimination of basic procedural
protections_and the substantially increased risk that innocent students will be
punished_is a fair price to achieve that goal is another question altogether.

Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 572 (D. Mass. 2016)

On September 22, 2017, in response to that overwhelming criticism, the OCR
issued a new Dear Colleague Letter (“201 7 DCL”), withdrawing its well-intentioned but
deeply flawed 2011 DCL, and reiterating the principles of fundamental fairness mandated
by Title IX and the 2001 Guidance. Exhibit “ .” lts express intent in withdrawing the

201 1 DCL was to immediately initiate a notice-and-comment process in order develop

new fundamentally fair guidance Rather than leave schools without interim guidance, or

 

81 2017 DCL, attached hereto as Exhibit “ ”, and sources cited in Ftnts. l and 2; see also Doe v. Ohio State
Univ., 239 F. Supp. 3d 1048, 1072 (S.D. Ohio 2017) ("There is little doubt that universities around the
country have felt pressure to tighten the investigation and punishments in sexual misconduct cases because
this is a very sensitive issue."); Doe v. Washington & Lee Univ., No. 6:14-CV-00052, 2015 U.S. Dist.
LEXlS 102426, 2015 WL 4647996, at *9 (W.D. Va. Aug. 5, 2015)(The 2011 Dear Colleague Letter
"provided guidance as to how schools should conduct sexual misconduct investigations and warned them
that if they did not adequately address sexual assault on campus, then they could face loss of federal
funding, investigation by the OCR, and referral to the Department of Justice for civil or criminal action.").

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- even worse ~ allow them to continue to implement the pro-accuser/anti-accused policies

adopted under the now-rescinded 2011 DCL, OCR directed schools to a

contemporaneously issued Q&A on Campus Sexual Misconduct (“2017 Q&A”). OCR

stated that it would immediately begin the rule-making process, instructing schools that

“[i]n the interim, these questions and answers - along with the Revised Sexual

Harassment Guidance previously issued [the 2001 Guidance] provide information on

how OCR will assess a school’s compliance with Title IX.” Exhibits “ ” and “ .”

The 2017 Q&A gives schools specific, concrete, readily-implemented instructions

on what a school must do to comply with Title lX now that the 2011 DCL is withdrawn:

(a)

(b)

(C)

(d)

(€)

lt should use an investigator who is “free of actual or reasonably
perceived conflicts of interest and biases;”

lt should ensure that its own “institutional interests do not interfere with
the impartiality of the investigation;”

lt should have a trained investigator “analyze and document the available
evidence;”

lt should ensure that the investigator “objectively evaluate[s] the
credibility of parties and witnesses” and “synthesize all available
evidence - including both inculpatory and exculpatory evidence;”
“Once it decides to open an investigation that may lead to disciplinary
action against the responding party, a school should provide written
notice to the responding party of the allegations constituting a potential

violation of the school’s sexual misconduct policy, including suj‘icient

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details and with sujjicient time to prepare a response before any initial
interview;”

(f) “Sufficient details include the identities of the parties involved, the
specific section of the code of conduct allegedly violated, the precise
conduct allegedly constituting the potential violation and the date and
location of the alleged incident;”

(g) “Each party should receive written notice in advance of any interview or
hearing with sufficient time to prepare for meaningful participation;”

(h) “The investigation should result in a written report summarizing the
relevant exculpatory and inculpatory evidence.”

(i) “The reporting and responding parties and appropriate officials must
have timely and equal access to any information that will be used during
informal and formal disciplinary meetings and hearings.”

See Exhibit “10.”
As of the writing of this brief, the 2017 Q&A remains in effect
The 2011 DCL had heavily tilted the scale in favor of female accusers and against

accused men That not only ignited public anger and academic condemnation,82 it also

 

82 See Doe v. Brown Univ., 166 F. Supp. 3d 177, 180, 2016 U.S. Dist. LEXIS 21027, *2-3 (D.R.l. February
22, 2016), citing Max Kutner, The Other Side of the College Sexual_As:_sar_r_lt Cris_is, Newsweek (Dec. 10,
2015, 5:33 a.m.), http://www.newsweek.com/2015/12/18/other-side-sexual-assault-crisis-
403285.htrnl?rel=most_read2 ; Charles M. Sevilla, Q_a_mpus Sexual Assault_Allegal_iQr_rs, Adj_udj_c_a_t__io_n_$,_ anc_:_l_
'_[irl_c__l)_(_, The National Association of Criminal Defense Lawyers: Champion, Nov. 2015, at 16-20; 28
M€mbers Of the Harvard LaW SChOOl Fa<>ulty, Opini<)n, R_Cth_ink Harv_ard_'_=s____S€x.u_al__tlara$§ment_P<_)I_ic__v, The
Boston Globe (Oct. 15, 2014), https://www.bostonglobe.com/opinion /2014/10/l4/rethink-harvard-sexual-
harassment-policy/HFDDiZN7nU2UquuWanbM/story.html ; Vanessa Grigoriadis, M_eet__t]_r_e College
Women Wh¢_> A_r_e Starting a_R_¢\_rOlution Against Campu$ Sexual Assault, New YOrk Magazine (Sept. 21,
2014, 9:00 p.m.), http://nymag.com/thecut/ZO 14/09/ emma-sulkowicz-campus-sexual-assault-

activism.html ; Stephen Henrick, A H_Q§lile E_r_r\_.=ir_'on_r_nent for Student Defendants: Title IX and Sexual
Assaull on Col_lege Campu;:L[j'f’_"§]_, 40 N. Ky. L. Rev. 49 (2013).

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unleashed a spate of lawsuits under Title IX by male students who had been subjected to
biased, unfair disciplinary procedures as a result of which they were wrongfully found
responsible for sexual misconduct.83 Courts have analyzed the Title lX claims arising
from these disciplinary hearings under four theories of liability: "erroneous outcome,"
"selective enforcement," "deliberate indifference," and "archaic assumptions." Doe v.
Case Western Reserve Univ., 2017 U.S. Dist. LEXIS 142002, 2017 WL 3840418 (N.D.
Ohio September 1, 2017), and cases cited therein ln this case, John Doe’s claims are
rooted in the “erroneous outcome” and “selective enforcement” theories.84

a. Erroneous Outcome

1. Elements of an Erroneous Outcome Claim

In an "erroneous outcome" case, "the claim is that the plaintiff was innocent and
wrongly found to have committed an offense." Doe v. Brown Univ., 166 F. Supp. 3d 177,
185, 2016 U.S. Dist. LEXIS 21027, *15-16 (D.R.l. February 22, 2016) quoting Yusuf 35
F.3d at 715.85 To establish liability under this theory, the plaintiff must first show
"particular facts sufficient to cast some articulable doubt on the accuracy of the outcome

of the disciplinary proceeding." Ld Once the plaintiff has established doubt concerning

the accurac of the roceedin ,the must next identi " articular circumstances
y P 8 Y P

 

83 See, e.g. Doe v. Amherst Coll., 238 F. Supp. 3d 195, 222, 2017 U.S. Dist. LEXIS 28327, *57-58, 2017
WL 776410 (D. Mass. February 28, 2017), and cases cited therein

84 SJU’s motion for Summary Judgment advises the Court that “under Title IX the issue here is whether the
judgments by and on behalf of SJU were fair . . . AND whether those judgments were B‘ee of gender bias.”
SJU Motion, pg. l. This is a complete misstatement of the law. Conceptually, “fairness” is an element of
Plaintiff s breach of contract claim. A lack of fairness is not part of at Title lX claim. Rather, Title IX
claims proceed on specific theories of liability - here “erroneous outcome” and “selective enforcement” -
each of which has factual components

83 Every case that Plaintiff has found applied the Yusuf analysis to decide the viability of an “erroneous
outcome” claim. Though the vast majority of those cases have done so at the at the Motion to Dismiss stage
and were concerned only with the sufficiency of the allegations rather than the sufficiency of the evidence,
they are nonetheless valuable guidance

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suggesting that gender bias was a motivating factor behind the erroneous
finding." Id. (citations omitted).86 The Yusuf court noted that "[s]uch allegations might
include, inter alia, statements by members of the disciplinary tribunal, statements by
pertinent university officials, or patterns of decision-making that also tend to show the
influence of gender." Id., Harris I, 2014 U.S. Dist. LEXIS 65452, 2014 WL 1910242, at
*4; Doe v. Trs. ofthe Univ. ofPa., 270 F. Supp. 3d 799, 823, 2017 U.S. Dist. LEXIS
148086, *48, 2017 WL 4049033 (E.D. Pa. September 13, 2017).

ln this case, there is ample evidence that Doe was wrongfully found responsible
following a deeply flawed disciplinary proceeding which was infused with gender bias.

2. Flaws in SJU’s investigation lead to an erroneous finding of guilt.

lt is important to note at the outset that in order to prevail in his Title lX
erroneous outcome claim, Plaintiff is not expected to prove that he is innocent of Roe’s
charges;87 he need only supply evidence of “articulable doubt” as to the outcome of
SJU’s investigation See Doe v. Brown Univ., supra. This is not a high bar;88 it can be
met in a number of ways including: “(i) pointing to procedural flaws in the investigatory
and adjudicative processes, (ii) noting inconsistencies or errors in the adjudicator's oral or
written findings, or (iii) challenging the overall sufficiency and reliability of the

evidence.” Doe v. Marymount Univ., 297 F. Supp. 3d 573, 584-585, 2018 U.S. Dist.

 

86 ln its Summary Judgment Motion SJU insists that “Plaintiff must show that gender bias caused the
procedural defect and g to the improper finding of responsibility” (emphasis in original). This misstates
the law. Plaintiffs need not, and as a practical matter, could not, show that gender bias (of which biased
individuals may not even be aware) was the one and only cause of a particular procedural defect Rather,
courts have consistently held that the gender bias need only be “a motivating factor in the erroneous
finding.” Plaintiff has done that here.

87 SJU argues that Doe “must prove his innocence as to the charge against him in order to prevail on an
erroneous outcome claim.” SJU Motion for Summary Judgment, pg. 12. Once again, this misstates the law,
which quite clearly asks plaintiff to show “articulable doubt” as to the outcome

88 Doe v. Miami Univ., 882 F.3d 579, 593, 2018 U.S. App. LEXIS 3075, *24, 2018 WL 797451 (6th Cir.
Ohio February 9, 2018)

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LEXIS 43164, *18-20 (E.D. Va. March 14, 2018). Examples of procedural irregularities
found to have undermined the legitimacy of a school’s determination of guilt include:
- The investigator’s failure to provide accused with initial statement of the accuser
to the college; 89
- Unresolved inconsistencies in statements by the accuser;90
- Statements by the accuser which are contradicted by other evidence in the case
left uninvestigated;91
- Denying the accused the opportunity to identify and interview potential witnesses
and to gather exculpatory evidence;92
- significant facts either not brought to the adjudicator's attention or ignored by the
adjudicator;93
- The investigator’s failure to seek out contemporaneous text messages sent by the
accuser; 94
- The failure to review and preserve electronic and other evidence;95

- The failure to record any interviews;96

 

89 Doe v. Amherst Coll., 238 F. Supp. 3d 195, 222-223, 2017 U.S. Dist. LEXlS 28327, *59, 2017 WL
776410 (D. Mass. February 28, 2017)

90 Doe v. Marymount Univ., 297 F. Supp. 3d 573, 584-585, 2018 U.S. Dist. LEXIS 43164, *20 (E.D. Va.
March 14, 2018); Doe v. Miami Univ., 882 F.3d 579, 593, 2018 U.S. App. LEXIS 3075, *24, 2018 WL
797451 (6th Cir. Ohio February 9, 2018)

91 Doe v. Marymount Univ., 297 F. Supp. 3d 573, 584-585, 2018 U.S. Dist. LEXIS 43164, *20 (E.D. Va.
March 14, 2018)(evidence that the accuser was “happy and giddy” following an allegedly violent
encounter, ignored by the investigator, undermined the validity of the investigation).)

92 Doe v. Marymount Univ., 297 F. Supp. 3d 573, 584-585, 2018 U.S. Dist. LEXlS 43164, *19 (E.D. Va.
March 14, 2018)

93 Doe v. Marymount Univ., 297 F. Supp. 3d 573, 584-585, 2018 U.S. Dist. LEXIS 43164, *18-20 (E.D.
Va. March 14, 2018)

94 Doe v. Amherst Coll., 238 F. Supp. 3d 195, 222-223, 2017 U.S. Dist. LEXIS 28327, *58, 2017 WL
776410 (D. Mass. February 28, 2017)

95 Rolph v. Hobart & William Smith Colls., 271 F. Supp. 3d 386, 396, 2017 U.S. Dist. LEXIS 153838,
2017 WL 4174933 (W.D.N.Y. September 20, 2017).

96 Rolph v. Hobart & William Smith Colls., 271 F. Supp. 3d 386, 396, 2017 U.S. Dist. LEXIS 153838, 2017
WL 4174933 (W.D.N.Y. September 20, 2017)

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- lnterviewing the accuser before reviewing evidence or conducting an independent
investigation;97

- The failure to obtain documentation supporting the accuser’s claim of injuries;98

- The failure to conduct follow-up interviews to resolve inconsistencies between
witnesses' statements;99

- The failure to seek out and interview witnesses potentially favorable to the
accused; 100

- Reaching conclusions contrary to the weight of the evidence;101

- Unexplained discrepancies in the adjudicator's finding of fact;102
- Use of an erroneous definition from the school’s misconduct policy;103
- Manipulation of the investigatory report such that certain exculpatory material
was either left out of the report or was never investigated 104
These types of procedural deficiencies, standing alone, can be sufficient to cast doubt on

the accuracy of the outcome of Doe's Title lX hearing. Doe v. Marymount Univ., 297 F.

Supp. 3d 573, 584-585, 2018 U.S. Dist. LEXlS 43164, *19 (E.D. Va. March 14, 2018)

 

97 Rolph v_ Hohem & William smith ceils., 271 F. supp. 3d 386, 396, 2017 U.s. Dist. LExls 153838, 2017
WL 4174933 (W.D.N.Y. September 20, 2017)

98 Rolph v. Hehiim & William smiih Colls., 271 F. supp. 3d 386, 396, 2017 U.s. Dist. LEXIS 153838, 2017
wL 4174933 (W.D.N.Y. september 20, 2017)

99 Rolph v. Helmm & William smith Colls., 271 F. supp. 3d 386, 396, 2017 U.s. Dist. LEer 153838, 2017
WL 4174933 (W.D.N.Y. September 20, 2017)

100 Rolph v. Hobart & William smiih Colls., 271 F. supp. 3d 386, 396, 2017 U.s. Dist. LExrs 153838,
2017 wL 4174933 (w.D.N.Y. september 20, 2017); bee v. Columbia Umv_, 831 F.3d 46, 56-57, 2016
U.s. App. LExrs 13773, *32-33 (2d Cir. N.Y. July 29, 2016)

101 Doe v. Columbia Um'v., 831 F.3d 46, 58-59, 2016 U.s. App. LEer 13773, *56-57(2<1 cir. N.Y. Jury
29, 2016)

102 Doe v. Miami Univ., 882 F.3d 579, 593, 2018 U.S. App. LEXIS 3075, *24, 2018 WL 797451 (6th Cir.
Ohio February 9, 2018)

103 Doe v. Miami Univ., 882 F.3d 579, 593, 2018 U.S. App. LEXIS 3075, *24, 2018 WL 797451 (6th Cir.
Ohio February 9, 2018)

104 Doe v. Marymount Univ., 297 F. Supp. 3d 573, 584-585, 2018 U.S. Dist. LEXIS 43164, *19 (E.D. Va.
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(“Although many of these procedural deficiencies may appear insignificant in isolation,
taken together they warrant concern that Doe was denied a full and fair hearing.”) But a
plaintiff may also meet the first prong of the erroneous outcome test by challenging the
sufficiency of the evidence used to find him guilty of sexual assault Doe v. Marymount
Univ., 297 F. Supp. 3d 573, 584-585, 2018 U.S. Dist. LEXIS 43164, *19 (E.D. Va.
March 14, 2018). Here, Plaintiff submits that both the procedural deficiencies splattered
throughout Doe’s investigation, and the paucity of the evidence against him - including
the readily available exculpatory photographs which the investigator never even inquired
about - cast articulable doubt on the outcome of SJU’s investigation Doe v. Brown Univ.,
166 F. Supp. 3d 177, 185, 2016 U.S. Dist. LEXlS 21027, *16-17 (D.R.l. February 22,
2016)(allegations that school had ignored exculpatory evidence, including the victim's
own testimony . . . that she had in fact articulated consent” sufficient to show procedural
inadequacies under erroneous outcome theory).

There is ample evidence of “articulable doubt” in this case. SJU’s “investigation”
of Roe’s claim that Doe inexplicably “choked” her while they were kissing is so riddled
with procedural flaws, factual inconsistencies, and twisted interpretations of SJU’s own
SMP, it would have been shocking if it had come to a correct outcome

As discussed in detail in the Facts section of this brief, SJU never advised Doe of
the specific claims against him, never showed him the complaint against him, never
showed him pictures of the bruises Roe claims to have sustained - literally - at his hand
Malloy never asked to see those pictures, never questioned any witnesses and never
sought any other evidence She did not inquire into the inconsistencies in Roe’s

statements nor explore the nature of Roe’s alleged flashback. When presented with text

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messages contemporaneous with the alleged assault utterly inconsistent with Roe’s story,
she did not investigate why Roe - who had allegedly just suffered a horrible assault, a
traumatic flashback to an abusive ex-boyfriend, and claimed to have texted her friends for
help - told them she “miss[ed] Francis” instead We now know that subsequent pictures
prove Doe could not have committed the alleged assault against Roe and that Roe had
significant reason to recast the cause of her injuries Malloy did not have that evidence in
front of her, but not because it was not available; because she did not ask.

The standard for showing “articulable doubt” as to the outcome of SJU’s
investigation is not high, and has clearly been met. The 6111 Circuit recently found that
“the unresolved inconsistency in Jane's statement, the unexplained discrepancy in the
hearing panel's finding of fact, and the alleged use of an erroneous definition of consent
create "some articulable doubt" as to the accuracy of the decision.” Doe v. Miami Univ.,
882 F.3d 579, 593, 2018 U.S. App. LEXIS 3075, *24, 2018 WL 797451 (6th Cir. Ohio
February 9, 2018). The evidence in this case shows all three - unexplained
inconsistencies in Roe’s statements, inconsistent findings of fact and incorrect readings of
the SMP - and more. Plaintiff contends that the evidence actually proves Doe’s
innocence, but, at a minimum, it solidly casts “articulable doubt” on SJU’s conclusion
that Doe had sexually assaulted Roe.

SJU’s “investigation” of the claims against Doe gave him no opportunity to
defend himself, virtually galaranteeing his conviction This is exactly the type of wrong
courts have sought to redress in erroneous outcome cases

[l]nstitutions of higher education must avoid depriving students accused of sexual
assault of the investigative and adjudicative tools necessary to clear their names even

when there are no due process requirements A student adjudicated guilty of sexual
assault by a college or university experiences significant direct and collateral

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consequences, consequences that are not unlike a criminal conviction lt follows that
colleges and universities should treat sexual assault investigations and adjudications
with a degree of caution commensurate with the serious consequences that
accompany an adjudication of guilt in a sexual assault case lf colleges and university
do not treat sexual assault investigations and adjudications with the seriousness they
deserve, the institutions may well run afoul of Title IX.

Doe v. Marymount Univ., 297 F. Supp. 3d 573, 584, 2018 U.S. Dist. LEXIS 43164, *19,

ftnt. 17 (E.D. Va. March 14, 2018)

3. The evidence establishes that gender bias Was a motivating factor
behind SJU’s erroneous conclusion that Doe was guilty.

In addition to casting significant doubt on SJU’s determination of Doe’s guilt,
SJU’s policy decisions, its employees’ statements, behavior, and assumptions, and its
agents’ representations and decisions show that “gender bias was a motivating factor
behind [that] erroneous finding.” Doe v. Brown Univ., supra. The Yusquourt stated that
evidence of gender bias might include such things as “statements by members of the
disciplinary tribunal, statements by pertinent university officials, or patterns of decision-
making that also tend to show the influence of gender." Yusuf 35 F.3d at 715. Plaintiff
need not show both inculpatory statements and biased patterns of decision making; either,
without the other, could establish gender bias 103 And courts considering the question
have not found the indicia identified in Yusuf to be an exhaustive list. Gender bias can be

evidenced in the statements and behavior of one significant decision maker,106 or it can

 

103 See, e.g. Saravanan v. Drexel Univ., 2017 U.S. Dist. LEXIS 193925, *10, 2017 WL 5659821 (E.D. Pa.
November 24, 2017) (plaintiff need not point to arguably inculpatory statements by a university
representative to establish gender bias).

100 see Doe v. Columbia Univ., 831 F.3d 46, 58-59, 2016 U.s. App. LExIs 13773, (2d Cir. N.Y. Jury 29,
2016), and cases cited therein, for the proposition that an institution will be found biased, even in the
absence of illegitimate bias on the part of the ultimate decision-maker, where “a biased person endowed
with institutional influence ‘played a meaningful role in the process.”’ Doe, *32-33, quoting Holcomb v.
lona Coll., 521 F.3d 130, 143 (2d Cir. 2008); see also Staub v. Proctor Hosp., 562 U.S. 411, 422, 131 S.
Ct. 1186, 179 L. Ed. 2d 144 (2011

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be suffused throughout the school setting. lt can be found in one significant piece of
evidence107 or it can manifest in a patchwork of gender-infused statements, beliefs and
decisions that ultimately cover a school’s disciplinary proceedings with a blanket of bias
Evidence of gender bias is by its nature situational, fact specific and sometimes
subtle Courts generally look to specific examples108 of University statements and
decisions which, when viewed in light of one another, show the influence of gender.
Examples include:
- Disciplinary procedures which operate to favor complainants, who are almost
always female, and disfavor the respondents, Who are almost always male;109
- Evidence that a school’s disciplinary policies and procedures in sexual
misconduct cases grew out of a concern about being charged with Title lX
violations by females;110

- Gender biased comments by University employees and representatives;111

 

107 ln Doe v. Marymount, for example, plaintiff alleged that the adjudicator in his case had made gender-
biased comments and decisions in other sexual misconduct cases at the University. The court found this
evidence “particularly probative lf [the adjudicator] possessed the outdated and discriminatory views of
gender and sexuality . . . these views would have naturally infected the outcome of Doe's Title IX
disciplinary proceedings Therefore, this allegation alone is sufficient to satisfy Doe's burden to plead a fact
that creates an inference of gender discrimination in Marymount's disciplinary proceedings.” Doe v.
Marymount Univ., 297 F. Supp. 3d 573, 586-587, 2018 U.S. Dist. LEXIS 43164, *23-24 (E.D. Va. March
14, 2018)(emphasis added).

108 Vague, conclusory allegations of gender bias are insufficient to support a Title lX claim. Collick v.
William Paterson Univ., 2016 U.S. Dist. LEXIS 160359 (D.N..l. November 17, 2016).

100 Doe v_ Mmym@imi Univ., 297 F. supp. 3d 573, 586-587, 2018 U.s. Dist. LExIs 43164, *23-28 (E.D.
Va. March 14, 2018); see also Harrz's v. St. Joseph’s Univ., No. 13-3937, 2014 U.S. Dist. LEXIS 194438,
2014 WL 12618076, at *2 n.3 (E.D. Pa. Nov. 26, 2014)

110 Harris v. St. Joseph's Univ., No. 13-3937, 2014 U.S. Dist. LEXIS 194438, 2014 WL 12618076, at *2

n.3 (E.D. Pa. Nov. 26, 2014)
111 Doe v. Marymount Univ., 297 F. Supp. 3d 573, 586-587, 2018 U.S. Dist. LEXIS 43164, *23-24 (E.D.

Va. March 14, 2018)

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- Gender biased comments and/or decisions made in other sexual misconduct cases
at the University;112

- Evidence that only the male participant is disciplined for participating in the same
acts 1 13

- Evidence that school procedures, such as no-contact orders, operated to hamper
accused student’s ability to identify potential witnesses in his defense;114

» Evidence that school personnel felt pressure to handle sexual misconduct claims
in a certain way;113

- Training materials encouraging school employees to believe the accuser and
presume the accused student’s guilt;116

- Statements by the school’s Title IX coordinator tending to demonstrate a belief
that males accused of sexual misconduct are responsible;117

- Evidence that the school failed to recognize or address accuser’s potential motive

to make a false allegation;118

 

112 Doe v. Marymount Univ., 297 F. Supp. 3d 573, 586-587, 2018 U.S. Dist. LEXIS 43164, *23-24 (E.D.
Va. March 14, 2018)

113 Doe v. Case Western Reser've Univ., 2017 U.S. Dist. LEXIS 142002, *20-21, 2017 WL 3840418 (N.D.
Ohio September 1, 2017)

114 Doe v. Marymount Univ., 297 F. Supp. 3d 573, 586-587, 2018 U.S. Dist. LEXIS 43164, *23-28 (E.D.
Va. March 14, 2018)

113 See Doe v. Columbia Univ., 831 F.3d 46, 56-57, 2016 U.S. App. LEXIS 13773 (2d Cir. N.Y. July 29,
2016)(allegations that school faced public pressure to show that it took seriously complaints of female
students alleging sexual assault stated ample grounds for gender bias)

116 Doe v. Tr's. ofthe Univ. ofPa., 270 F. Supp, 3d 799, 823-824, 2017 U.S. Dist. LEXIS 148086, *49-51,
2017 WL 4049033 (E.D. Pa. September 13, 2017) (Training materials encouraging school employees to
believe the accuser and presume the accused’s guilt, combined with possible pro-complainant bias on the
part of University officials set forth sufficient circumstances suggesting inherent and impermissible gender
bias to support a plausible claim that Defendant violated Title IX under an erroneous outcome theory.); see
also Saravanan v. Drexel Univ., 2017 U.S. Dist. LEXIS 193925, *9, 2017 WL 5659821 (E.D. Pa.
November 24, 2017)

117 Doe v. Case Western Reserve Univ., 2017 U.S. Dist. LEXIS 142002, *18-19, 2017 WL 3840418 (N.D.
Ohio September 1, 2017)(Title lX coordinator had written a doctoral dissertation in which she claimed an
epidemic in higher education regarding the sexual risk taking of college students in particular women)

118 bee v. Ce.i-e We.m»i-ii Re.»-ei-i=e Univ., 2017 U.s. Dist. LEer 142002, *18-19, 2017 WL 3840418 (N.D.
Ohio September l, 2017) (allegation that school “failed to recognize or address lane Doe's potential motive

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- Evidence that significant University personnel manipulated the record in such a
way as to show a presumption of guilt;119

- Evidence that the school accepted the accuser’s allegations at face value,
notwithstanding inconsistent statements and contradictory evidence;120

- Evidence that investigators ignored evidence tending to diminish accuser’s
credibility; 121

- Evidence that investigators ignored evidence tending to exculpate the accused;122

- Statements by university employees that accusers generally are telling the truth;123

- Evidence of gender bias on the part of one person at the University who was
either a decision maker or exercised influence over the record and evidence

presented to the decision maker; 124

 

of reporting a false allegation against Plaintiff in order to obtain a Title lX academic accommodation to
permit her to withdraw at the end of the semester from a class she was failing” sufficient to aver gender
bias); See Neal v. Colo. State University-Pueblo, 2017 U.S. Dist. LEXIS 22196, *25-33, 2017 WL 633045
(D. Colo. February 16, 2017) (university’s failure to consider physical or documentary evidence,
motivation of one party not to be disciplined, failure to question certain witnesses before completing the
investigation, combined with evidence that the university’s enforcement of 2011 DCL has become “gender-
skewed” against men, are more than adequate to plead gender bias)

110 Doe v. Case Western Reserve Univ., 2017 U.S. Dist. LEXIS 142002, *18-19, 2017 WL 3840418 (N.D.
Ohio September 1, 2017)(allegation that Title IX coordinator manipulated the record - adding accusations
that plaintiff objectified Doe and wanted to control her - evidenced a presumption of guilt and was
sufficient to aver gender bias)

120 Doe v. Case Western Reserve Univ., 2017 U.S. Dist. LEXIS 142002, *18-19, 2017 WL 3840418 (N.D.
Ohio September l, 2017)(allegation that school accepted accuser’s allegations at face value -
notwithstanding inconsistent statements and contradictory evidence, showed a presumption that the accused
was guilty and were sufficient to aver gender bias).

121 bee v. Case Wesiem Resewe Univ., 2017 U.s. Dist. LExIs 142002, *18-19, 2017 wL 3840418 (N.D.
Ohio September l, 2017)(a11egations that the investigator intentionally overlooked any evidence tending to
diminish Jane Doe's credibility and/or exculpate Plaintiff sufficient to aver gender bias).

122 Doe v. Case Western Reserve Univ., 2017 U.S. Dist. LEXIS 142002, *18-19, 2017 WL 3840418 (N.D.
Ohio September l, 2017)(allegations that the investigator intentionally overlooked any evidence tending to
diminish Jane Doe's credibility and/or exculpate Plaintiff sufficient to aver gender bias).

123 Doe v. Marymount Univ., 297 F. Supp. 3d 573, 586-587, 2018 U.S. Dist. LEXIS 43164, *23-28 (E.D.
Va. March 14, 2018)(statements by university employees that accusers generally are telling the truth, if
proven, could evidence gender bias)

124 Doe v. Case Western Reser've Univ., 2017 U.S. Dist. LEXIS 142002, *20-21, 2017 WL 3840418 (N.D.
Ohio September l, 2017)(evidence that Title lX Coordinator/investigator was gender biased could show
bias on the part of the University because “while she was not the decision maker in this instance, she
exercised enormous influence over the record and evidence presented to the decision maker.”

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- Statements by University employees that the school had adopted a pro-claimant
policy out of concern about Title lX charges brought by female students;123

- Evidence that University personnel accepted accuser’s unsupported claims
without exploring the testimony of the accused student’s exculpatory witnesses;126

- Evidence that the Plaintiff s adjudicator had made gender biased statements in
other sexual misconduct investigations;127

- lnvestigator’s failure to review and preserve electronic evidence;128

- lnvestigator’s failure to conduct follow-up interviews to resolve inconsistencies
between witnesses’ statements;129

- Evidence that the school treated male students as “guilty, until proven

innocent."130

See Neal v. Colo. State University-Pueblo, 2017 U.S. Dist. LEXIS 22196, *25-33, 2017
WL 633045 (D. Colo. February 16, 2017) (university’s failure to consider physical or
documentary evidence, motivation of one party not to be disciplined, failure to question
certain witnesses before completing the investigation, combined with evidence that the

 

123 Harris v. St. Joseph's Univ., Civ. A. No. 13-3937, 2014 U.S. Dist. LEXIS 194438, 2014 WL 12618076,
at *2 n.3 (E.D. Pa. Nov. 26, 2014) ("Harris ll") (citation omitted)(allegations that University professor had
said school had “adopted a policy favoring female accusers as [the university] was concerned about Title
lX charges by female students" could be evidence of gender bias)

126 Doe v. Columbia Univ., 831 F.3d 46, 57, 2016 U.S. App. LEXIS 13773, *27 (2d Cir. N.Y. July 29,
2016)( “The alleged fact that [the Title lX Coordinator], and the panel and the Dean, chose to accept an
unsupported accusatory version over Plaintiff's, and declined even to explore the testimony of Plaintiffs
witnesses, if true, gives plausible support to the proposition that they were motivated by bias in discharging
their responsibilities to fairly investigate and adjudicate the dispute.”)

127 Doe v. Marymount Univ., 297 F. Supp. 3d 573, 585-586, 2018 U.S. Dist. LEXIS 43164, *22-23 (E.D.
Va. March 14, 2018)(a11egations that adjudicator in Plaintiffs disciplinary proceeding made gender biased
comments in a subsequent sexual misconduct, if true, was sufficient in and of itself to prove gender bias)
128 Rolph v. Hobart & William Smith Colls., 271 F. Supp. 3d 386, 402, 2017 U.S. Dist. LEXIS 153838,
*37-38, 2017 WL 4174933 (W.D.N.Y. September 20, 2017) (investigator’s failure to review or preserve
electronic evidence or conduct follow-up interviews to resolve inconsistencies between witnesses’
statements, coupled with other allegations, were indicia of bias).

129 Rolph v. Hobart & William Smith Colls., 271 F. Supp. 3d 386, 402, 2017 U.S. Dist. LEXIS 153838,
*37-38, 2017 WL 4174933 (W.D.N.Y. September 20, 2017) (investigator’s failure to review or preserve
electronic evidence or conduct follow-up interviews to resolve inconsistencies between witnesses’
statements, coupled with other allegations, were indicia of bias).

130 Doe v. Brown Univ., 166 F. Supp. 3d 177, 189-190, 2016 U.S. Dist. LEXIS 21027, *26-28 (D.R.l.
February 22, 2016)

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university’s enforcement of 2011 DCL has become “gender-skewed” against men, are
more than adequate to plead gender bias.)

A. SJU’s failure to adjust handling of sexual misconduct claims in
light of the 2017 DCL and Q&A is evidence of gender bias.

SJU and its employees blithely dismiss the 2017 Guidance and 2017 Q&A as
“sub-regulatory guidance” unworthy of deference The University’s position on this point
not only contradicts the law, it also contradicts the position SJU itself took before the
court in Harris v. SJU, 2:13-cv-03937.

Both the 2017 DCL and Q&A state that “[t]he Department has determined that
this letter is a significant guidance document under the Final Bulletin for Agency Good
Guidance Practices of the Office of Management and Budget, 72 Fed. Geg. 3432 (Jan.
25, 2007). This letter does not add requirements to applicable law.” See 2017 DCL,
Q&A. As such, they are entitled to deference from the Court See Doe v. Univ. of
Massachusetts-Amherst, No. 14-30143-MGM, 2015 U.S. Dist. LEXIS 91995, 2015 WL
4306521, at *7 and n.3 (D. Mass. July 14, 2015) (court must accord "appreciable
deference" to DOE's interpretation expressed in a Dear Colleague Letter of what actions
schools are to take in response to allegations of sexual violence in order to comply with
Title lX (quoting Cohen v. Brown Univ., 991 F.2d 888, 895 (1st Cir. 1993))); Biediger v.
Quinnipiac Univ., 728 F. Supp. 2d 62, 92-93 (D. Conn. 2010) (deferring to DOE's
interpretation of its own regulation as expressed in a Dear Colleague Letter). The degree
of deference owed “is particularly high in Title lX cases because Congress explicitly
delegated to the agency the task of prescribing standards . . . under Title lX." Cohen v.
Brown University, 991 F.2d 888, 895 (lst Cir. 1993) (Cohen 11). See also Miami Univ.

Wrestling Club v. Miami Univ., 302 F.3d 608, 615 (6th Cir. 2002)(according deference to

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1979 Policy lnterpretation);” see also Mayerova v. E. Mich. Univ., 2018 U.S. Dist.
LEXlS 166281, *11 (E.D. Mich., Sept. 27, 2018)(according the agency’s interpretation of
Title lX deference under Chevron U.S.A. Inc. v. Natural Res. Def Council, Inc., 467 U.S.
837, 843-44, 104 S. Ct. 2778, 81 L. Ed. 2d 694 (1984)).

SJU made this exact argument - that OCR guidance was entitled to the highest
level of deference - in Harris. There, defending itself against a claim of anti-male bias,
SJU argued the 2011 DCL was entitled to Chevron level deference, arguing that
procedures it had adopted were endorsed by the 2011 DCL “are not only not violative of
the law and applicable regulations, they are mandated by them.” See Harris, Motion to
Dismiss, pg. 6, ftnt. 2.

Since then, the OCR has rescinded the 2011 DCL for the express reason that it led
to incorrect, unfair, gender-biased disciplinary proceedings But SJU chose not to
abandon the policies it had adopted under the 2011 DCL, knowing that they were gender-
biased The 2017 Guidance and Q&A told SJU exactly what it needed to do to comply
with Title IX. SJU chose not to do it. lt cannot now come to this Court with the claim that
the 2017 Guidance and Q&A are meaningless So, when the OCR issued guidance
making it easier for SJU to find men responsible for sexual assault, SJU argued before the
court that such guidance was mandatory and had the force of law. But now, when the
OCR has issued guidance expressly intended to level the playing field for accused men,
SJU ignores it, suggesting that it is unworthy of consideration Both the 2011 Guidance
and the 2017 Guidance which rescinded it were deemed “significant guidance
documents” by the OCR. SJU’s wholesale adoption of one and wholesale rejection of the

other can have little explanation other than gender bias Doe v. Marymount Univ., 297 F.

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Supp. 3d 573, 586-587, 2018 U.S. Dist. LEXlS 43164, *23-28 (E.D. Va. March 14,
2018)(allegation that Defendant designed its disciplinary procedures to favor female
complainants and disfavor the respondents, who are almost always male, if proven,
sufficient to evidence gender bias); see also Doe v. Univ. of Penn., No. 16-5088, 270 F.
Supp. 3d 799, 2017 U.S. Dist. LEXlS 148086, 2017 WL 4049033, at *15 (E.D.Pa. Sept.
13, 2017) (quoting Yusuf, 35 F.3d at 715); Harris v, St. Joseph's Univ., No. 13-3937,
2014 U.S. Dist. LEXlS 194438, 2014 WL 12618076, at *2 n.3 (E.D. Pa. Nov. 26,
2014)(citation omitted)(complaint claiming a university "adopted a policy favoring
female accusers" because the university "was concerned about Title lX charges by female
students" sufficiently pled gender bias); Doe v. Brown Univ., 166 F. Supp. 3d 177, 189-
190, 2016 U.S. Dist. LEXlS 21027, *26-28 (D.R.l. February 22, 2016)(a fact-finding
process in cases of sexual assault that operates under the assumption that it’s always the
“boy’s fault” could evidence gender bias).

This refusal to follow the 2017 Guidance and adopt procedural safeguards laid out
in great detail in the 2017 Q&A is itself evidence of gender bias

B. SJU’s award of a $300,000 Grant from the OVW, With its
concomitant obligation to evidence “progress” in handling
sexual misconduct claims, is evidence of gender bias.

Evidence of bias alone is insufficient; the bias must connect to gender in order to
support a claim under Title IX. Doe v. Columbia Univ., 831 F.3d 46, 56-57, 2016 U.S.
App. LEXlS 13773 (2d Cir. N.Y. July 29, 2016). Plaintiff need not produce admissions
on the point of the University that it was gender biased Saravanan v. Drexel Univ., 2017

U.S. Dist. LEXlS 193925, *9, 2017 WL 5659821 (E.D. Pa. November 24, 2017). Such

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evidence of bias can be found where the school is under some sort of pressure such that
the university’s decision-makers and investigator might be motivated to favor the
accusing female over the accused males See Doe v. Columbia Univ., 831 F.3d 46, 56-57,
2016 U.S. App. LEXlS 13773 (2d Cir. N.Y. July 29, 2016)(allegations that school faced
public pressure to show that it took seriously complaints of female students alleging
sexual assault stated ample grounds for gender bias).

ln this case, SJU had just been awarded an $300,000 federal grant directed, in
part, to identifying and responding to claims of sexual misconduct. The grant obligated
SJU to make semiannual progress reports to the OVW. One indicia of “progress” would
be an increase in claims of sexual assault on campus Perry herself stated told the Hawk
that she expected to see an initial increase in sexual assault claims as a result of this grant,
and openly expressed her regret that she saw too few claims of sexual assault in the Title
lX office, given her belief that it is wildly under-reported on SJU’s campus Plaintiff
submits that SJU’s $300,000 grant, together with its reporting obligations, placed
pressure on the University decision makers to favor female accusers over accused men.

C. The training and educational materials SJU prepared and
published are evidence of gender bias.

Courts have repeatedly held that “[t]raining materials encouraging school
employees to believe the accuser and presume the accused’s guilt, combined with
possible pro-complainant bias on the part of University officials set forth sufficient
circumstances suggesting inherent and impermissible gender bias to support a plausible
claim that Defendant violated Title lX under an erroneous outcome theory.” Doe v. Trs.
ofthe Univ. ofPa., 270 F. Supp. 3d 799, 823-824, 2017 U.S. Dist. LEXlS 148086, *49-

51, 2017 WL 4049033 (E.D. Pa. September 13, 2017); accord Saravanan v. Drexel Univ.,

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2017 U.S. Dist. LEXlS 193925, *9, 2017 WL 5659821 (E.D. Pa. November 24, 2017);
Doe v. Marymount Univ., 297 F. Supp. 3d 573, 586-587, 2018 U.S. Dist. LEXlS 43164,
*23-28 (E.D. Va. March 14, 2018)(allegations that Defendant's training materials for
university employees who are involved in disciplinary proceedings encourage the
employees to believe the accuser and presume the accused's guilt, if proven, could
evidence gender bias).

SJU’s training materials are rife with gender bias SJU’s Break the Silence
presentation advised trainees that false reports of sexual assault “are rare, occurring only
8% of the time.” See SJU 1031. Nearly every deposed SJU employee agreed with that
statement as well as the claim that sexual assault is significantly underreported on SJU’s
campus Accusers were referenced as “victims” and “survivors” even before a
determination of responsibility had been made, and trainees were encouraged to approach
them as such. See SJU 1048. They were told never to blame a “victim” or ask her “why
questions” See SJU 1048. They were told not to press “victims” for details of her
allegations See SJU 1048. They were instructed that “the most important thing to do is
believe a victim.” See SJU 1048. This last admonition was to have particularly powerful
impact on Doe’s case, since it is exactly what SJU, Bean, Perry, and Malloy did

The Break the Silence presentation is powerful evidence of gender bias in three
respects First it was mandatory training for incoming SJU students, creating a gender
biased culture on campus Second, it was presented and attended by members of SJU’s
CS and Title lX offices, thereby regularly influencing their perspectives And finally, it

was prepared and presented by members of SJU’s CS, making it a statement on behalf of

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the University evidencing its belief that accusers are automatically victims and must be
believed SJU’s conduct in this case put that belief into action

D. Statements by various SJU employees is evidence of gender
bias.

ln addition to the gender biased representations and instructions presented in
SJU’s training materials, various other statements of SJU employees and counsel
manifest deep-seated presumptions that women are innocent victims, to be believed when
possible and given every advantage in prosecuting violent, sexually aggressive men
Bordak, for example, explained to Doe’s mother that he was found responsible for sexual
assault because of his “really really aggressive kissing.” This was not the basis of
Malloy’s determination; she found the kissing to be consensual and there is absolutely no
mention of its being aggressive Rather, it gives a hint of Bordak’s assumptions and
mindset.

ln another example, Bean came straight out and articulated the rationale lurking
behind SJU’s refusal to inform accused men of the specific accusations against them.
When questioned about what, if any, notice accused students should be afforded of the
specific charge against them, Bean said accused students do not need notice of the
specific charges against them.

Schwabenland: So what is the respondent entitled to review in order to
prepare for any meeting or hearing, if you know?

Bean: l mean, their memory. They were there They can share
what happened

(K.Bean. Dep. 206, lines 6-10)(Exhibit “18”); Doe v. Marymount Univ., 297 F. Supp. 3d

573, 586-587, 2018 U.S. Dist. LEXlS 43164, *23-28 (E.D. Va. March 14,

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2018)(statements by university employees that accusers generally are telling the truth, if
proven, could evidence gender bias); see also Harris v. St. Joseph’s Univ., Civ. A. No.
13-3937, 2014 U.S. Dist. LEXlS 194438, 2014 WL 12618076, at *2 n.3 (E.D. Pa. Nov.
26, 2014) ("Harris ll") (citation omitted). Bean articulates what the University believes:
accused men do not need notice; they already know what they did

SJU’s bias is apparent, even during the course of this litigation F or example,
when Plaintiff was forced to initiate litigation against SJU to clear his name, his counsel
asked SJU to voluntarily agree to proceed using pseudonyms for both students in order to
protect their privacy. Schimelfenig, SJU’s counsel and corporate secretary, agreed to
offer that protection SJU’s the female student, Roe, but refused to extend that same
courtesy to its male student, Doe.

Even SJU’s Motion for Summary Judgment reveals its inherent gender bias For
example, it represents that Doe “chose” not to produce any witnesses or “suggest further
inquiry” in his hearing with Malloy. SJU Motion for Summary Judgment, pg. 6.131 This
assumes that it was Doe ’s responsibility, rather than Malloy’s or SJU’s to “provide
additional materials or witnesses or suggest further inquiry.” ln other words, SJU has
shifted the burden of proof - which, under Title lX falls to the school - to Doe.132

ln an even more blatant display of gender bias, SJU challenges Doe’s repeated
assertions that nothing happened when he was with Roe by saying that “even at the time
of his deposition he had no explanation for how the bruises appeared on Jane’s neck.”

SJU Motion for Summary Judgrnent, pg. 9. This clearly betrays SJU’s gender biased

 

131 Doe did, in fact, identify at least one witness, Roe’s friend who witnessed Roe kiss Doe goodnight

132 This evinces gender bias, as opposed to anti-Doe bias, because it is the standard SJU apparently applied
to all SMP respondents, universally male SJU repeatedly asserts that it handled Doe’s case as it does any
other SMP claim.

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presumption that it was Doe ’s job to “explain the bruises on Roe’s neck,” First, it was
not. lt was the school ’s responsibility to gather enough evidence to determine whether
Roe’s claims were true, which it did not do. Second, there is no Way Doe could possibly
explain the bruises on Roe’s neck unless he had caused them, which he did not. Third,
Doe did not even know there were bruises on Roe’s neck when he was apparently being
asked to explain them. These ridiculous assertions are particularly outrageous at this
stage of the game, when we know that whatever bruises Roe had on her neck when she
reported this alleged incident were not caused by Doe. Pictures taken twenty odd hours
later show her neck was completely perfect.133 Dr. Sing prepared a report saying that, had
she been “choked” as described, there would certainly have been evidence or trauma
twenty hours later. Exhibit “22”.And the pictures themselves refute Roe’s story. She
claims Doe “choked” her and points to bruises on the front of her neck as proof. Yet a
thin line of bruising extends around the back of Roe’s neck, as if a necklace had been
yanked fi‘om her (Exhibit 15 , Roe 7 at deposition). The pictures when reproduced from
the actual jpeg images are completely inconsistent with her claims against Doe. Roe
herself cannot explain them (JR p322). Yet SJU still insists that Doe - who has no way of
knowing what caused Roe’s bruises - must explain them, while Roe ~ who can explain
them and who failed to tell SJU or Malloy that she had become very intoxicated and
fallen down the stairs the night after her encounter with Doe - need not

SJU even goes so far as to state its own, and Malloy’s gender bias In its Motion,

says that Doe’s responses - to charges he had not been told - were not “response[s] that

 

133 These pictures, by the way, were already taken and were likely sitting on Roe’s phone when she
reported her complaints to Bean and Perry. They were readily available to Malloy during the
“investigation” Had any one of them simply asked if there were any pictures taken over the ensuing
weekend, they would have known from the outset that Roe’s story was not credible But they did not ask.

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caused Malloy to doubt the veracity of what Jane had told her.” Again, SJU’s gender bias
is so pervasive and deeply imbedded that it admits that it believed Roe’s story without
question and expected Doe to give them reason to doubt it. Doe v. Marymount Univ., 297
F. Supp. 3d 573, 586-587, 2018 U.S. Dist. LEXlS 43164, *23-28 (E.D. Va. March 14,
2018)(university’s crediting accuser’s purportedly implausible allegations over the
accounts of plaintiff, if proven, could show gender bias).

The statements and bedrock assumptions in SJU’s Motion align perfectly with
other evidence of gender bias on the part of SJU employees

E. The statements and conduct of Dr. Perry, a significant
decision-maker in Doe’s case, is evidence of gender bias.

The evidence shows that SJU’s disciplinary process is rife with pro-accuser, anti-
male gender bias But even if the entire process was not infected with that bias, bias on
the part of one individual could be sufficient to establish a Title lX claim if that
individual either acted as a significant decision-maker or “exercised enormous influence
over the record and evidence presented to the decision maker.” ln Case Western, for
example, the court allowed a Title lX case to proceed when plaintiff had alleged that one
person -the Title lX Coordinator/investigator - was gender biased The court reasoned
that “these allegations at least give rise to the possibility that Ms. Milliken had a bias
against men in these types of situations, and while she was not the decision maker in this
instance, she exercised enormous influence over the record and evidence presented to the
decision maker.” Doe v. Case Western Reserve Univ., 2017 U.S. Dist. LEXlS 142002,
*20-21, 2017 WL 3840418 (N.D. Ohio September 1, 2017).D0e v. Trs. ofthe Univ. of

Pa., 270 F. Supp. 3d 799, 823-824, 2017 U.S. Dist. LEXlS 148086, *49-51, 2017 WL

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4049033 (E.D. Pa. September 13, 2017) (Inculpatory statements by a representative of
the University are compelling evidence of bias)

Case Western is particularly instructive here ln that case, the Title lX coordinator
had written a doctoral dissertation in which she claimed an epidemic in higher education
regarding the sexual risk taking of college students, in particular women Plaintiff argued
that this statement demonstrated an inherent belief on the part of the Title lX coordinator
that males accused of sexual misconduct are always responsible, a theory she perpetuated
on campus ln this case, Perry made statements to the Hawk demonstrating her belief that
sexual assault is significantly underreported on campus and she hopped to see more
reports in the wake of the $300,000 grant She is also identified as the Project Director on
a $30,000 state grant aimed, in part, at improving SJU’s “response systems regarding
sexual violence.” See SJU 1354. The specific goal of this grant application is to engage
men Perry proposes to use those grant proceeds to engage a speaker who would explain
to the men on campus “how men are socialized toward violence and how they can
eliminate violence against women.” See SJU 1354. This is powerful evidence of gender
bias on Perry’s part -that men are violent and responsible for sexual assault - which
directly influenced Doe’s case.

ln Case Western, Plaintiff averred that the school’s interpretation of the evidence
in the disciplinary proceeding “failed to recognize or address Jane Doe's potential motive
of reporting a false allegation against Plaintiff in order to obtain a Title lX academic
accommodation to permit her to withdraw at the end of the semester from a class she was
failing.” Plaintiff also averred that the Title lX coordinator manipulated the record -

adding accusations that plaintiff objectified Doe and wanted to control her - evidencing a

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presumption that the accused was guilty. Plaintiff also alleges that the school’s
acceptance of the accuser’s allegations at face value - notwithstanding inconsistent
statements and contradictory evidence, shows a presumption that the accused was guilty.
The plaintiff further claimed that the investigator intentionally overlooked any evidence
tending to diminish Jane Doe's credibility and/or exculpate Plaintiff. The court found
these allegations sufficient to survive a motion to dismiss Doe v. Case Western Reserve
Univ., 2017 U.S. Dist. LEXlS 142002, *18-19, 2017 WL 3840418 (N.D. Ohio September
1, 2017).

The same circumstances are presented here. Perry accepted Roe’s claims at face
value, without inquiry or investigation She drafted a complaint on Roe’s behalf in which
she conspicuously omitted evidence that tended to exculpate Doe -the fact that he had
talked Roe out of using cocaine that night134 - and included a suggestion that Doe had
given Roe alcohol without her knowledge, which was not true Perry made no
investigation into Roe’s charges She did not ask to see the alleged bruises or make any
effort to ensure that Roe’s claims were true. lnstead, she immediately forwarded the
slanted complaint she had prepared to the head of Public Safety at SJU, Havira, telling
him, Without qualification or question, that the “inappropriate activity was on our
campus.” Havira, correctly read Perry’s complaint as a conclusion, and prepared a
statement for SJU’s database stating that Doe (who was identified by name) had sexually
assaulted Roe (also identified by name). This was before Malloy’s investigation into
Roe’s complaint - such as it was - had even begun. Several SJU employees were sent

copies of Havira’s conclusory statement, including Perry and Anderson. Neither reached

 

134 lt is clear from her notes that she was aware of this fact

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out to Havira or to one another - neither responded in any way - to clarify that Doe had
not yet been found guilty; he had not yet even been investigated

Perry was also the individual who determined that Roe’s claims fell under the
rubric of “sexual assault” rather than “assault.”

Plaintiff submits that these pieces of evidence, especially taken together show that
Perry had a pro-woman, anti-male bias which played a significant role in Doe’s
disciplinary process, including the decision to initiate it under the SMP.

F. The statements and conduct of Ms. Malloy, a significant
decision-maker in Doe’s case, is evidence of gender bias.

As discussed in great detail throughout this brief, Malloy conducted a scant, self-
contradictoryinvestigation into Roe’s claim against Doe. Her behavior illustrates that she
believed Roe without question, she admits that she never showed him the complaint
against him, and that she never showed him pictures of bruises on Roe’s neck, 133 Malloy
admits that the extent of her training in handling Title lX investigations is the webinars
she’s viewed throughout the years, her reading and her life experience She admits that
she met with Roe and Doe, but did not meet with any other witnesses, gather any
evidence or do anything else to determine who might be telling the truth in a he-said/she-
said situation She clearly presumed that “she” was telling the truth. She admits that she,
herself, would want the know the specific charges against her before having to defend
herself against them, but she does not believe that an accused man is entitled to that right
(Dep. Mal. 267-268). She admits that she never showed Doe Roe’s text messages

Malloy’s behavior, reasoning and decisions in Doe’s case illustrates her pre-existing

 

133 Malloy says she believes she told Doe about the bruises Doe says she never mentioned this fact to him.
This is a significant dispute of material fact

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belief (despite evidence to the contrary) that the accusing woman was truthful and

(despite Doe’s testimony and unsought evidence to the contrary) that the accused man

was guilty. The implacability of that assumption is revealed in her deposition:

Schwabenland:

Malloy:

(EM. Dep. 287).
Schwabenland:
Malloy:

Schwabenland:

Malloy:
(EM. Dep. 288).

Schwabenland:

Malloy:

Schwabenland:

Malloy:

Schwabenland:

Malloy:

(EM. Dep. 288-290)

Schwabenland:

ln your investigation was it relevant or of some importance to
you to know if MS. Roe had a history of self-hurting or hurting
herself? . . .

No.

Was it relevant to you to know what medications she was on?
No.

Do you know anything about if medication she was taking can
cause bruises to her individually at all?

lt is possible l did not do that

Was one of the reasons for you not to inquire of any past
relationship with her boyfriend that she says abused her and
choked her or squeezed her neck the fact that you didn't want to
traumatize her or cause her any problems?

ldon't think so. I've certainly talked to lots of students about
very delicate matters

But you didn't talk to her about any delicate matter involving her
old boyfriend?

Correct.

And did you talk to her about any matter involving whether or
not she was under discipline for any reason? She is now a
freshman at the university.

l did not.

Okay. So my question to you Did you probe with her as to why
she felt he was trying to hurt her?

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Malloy:

(EM. Dep. 292).

Schwabenland:

Malloy:

(EM. Dep. 295).

Schwabenland:

Malloy:

(EM. Dep. 296).

Schwabenland:

Malloy:

Schwabenland:

Malloy:

(EM. Dep. 299).

Schwabenland:

Malloy:

(EM. Dep. 300).

Schwabenland:

Malloy:

Schwabenland:

Malloy:

(EM. Dep. 306).

No.

Let's talk about this just briefly here Once you got the text
messages and knowing that Ms. Roe was on the phone While in
St. Mary’s to her friends, would it have been helpful to talk to
them?

l didn't believe so.

Well, let's get to this ln terms of this case, you didn't feel it
necessary at all to seek to talk to any of her friends?

l did not.

Do you look for corroborating evidence?
lt depends Ican, yes

Do you look for the claimant's actions shortly after the incident,
say, that weekend, to see if she was really traumatized? . . .

ln this case, no.

Do you know who Ms. Roe frrst told about the event?

No.

But, again, wouldn't that be another reason for you to probe into
why she froze all of a sudden or had a flashback about her ex-
boyfriend?

I do not believe so.

And if I were to tell you that Ms. Roe has said that she was raped
multiple times by her ex-boyfriend when she was a teenager that

would have no bearing on whether or not she's overreacting? . . .

l don't know. lmean, that's hypothetical to me, so l don't know.

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Schwabenland: Okay. What sources do you use as, quote, best practice for Title
IX investigations?

Malloy: I don't refer to any documents that talk about best practices
Schwabenland: And why is that?
Malloy: l am not even aware that there is one.

(EM. Dep. 314)

Malloy’s deposition testimony illustrates that no amount of investigation was
necessary to find Doe guilty. In Columbia, the school argued that it had failed to
interview potentially exculpatory witnesses, not out of gender bias, but because they had
not witnessed the actual coercive harassment the accuser claimed to have experienced
The court dismissed this argument, stating that “it is not correct that the potential
witnesses suggested by Plaintiff related exclusively to the events of the night of the
sexual encounter and not to the preceding weeks At least one was allegedly identified as
a friend and potential confidante of Jane Doe's and not as a person who observed the
interaction between John and Jane on the night of the encounter.” Doe v. Columbia Univ.,
831 F.3d 46, 56, 2016 U.S. App. LEXlS 13773, *25-26, ftnt. 10 (2d Cir. N.Y. July 29,
2016). Also, in Columbia, the court states that “[t]he alleged fact that [the Title lX
Coordinator], and the panel and the Dean, chose to accept an unsupported accusatory
version over Plaintiffs, and declined even to explore the testimony of Plaintiffs
witnesses, if true, gives plausible support to the proposition that they were motivated by
bias in discharging their responsibilities to fairly investigate and adjudicate the dispute.”

Doe v. Columbia Univ., 831 F.3d 46, 57, 2016 U.S. App. LEXlS 13773, *27 (2d Cir. N.Y.

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July 29, 2016). Plaintiff submits that Malloy’s handling of Doe’s case is infused with her
own personal bias that Doe must be guilty.136

(b) Sexual Exploitation Case

ln 2016, unidentified student reported that he had seen another male student offer
a female student money ($ l 70) to touch her breast The offer was made in a room full of
the female student’s friends The female student agreed, allowed the boy to touch her
breast - over her clothes - and accepted the $170. SJU charged the male student with
sexual assault and sexual exploitation, while the female student was not charged Malloy
investigated the case and showed a strong pro-woman bias. The boy - who seemed to
have some sort of emotional or intellectual handicap - told Malloy that he had felt
pressured by the other students in the room to follow through on the offer. Malloy
dismissed the boy’s statements out of hand, concluding that, if anyone had felt pressured,
it was the female student This despite the fact that the female student expressly told
Malloy that she did not feel any pressure from other students in the room; they were her

good friends Notably, the female student kept the $170.

 

136 lt is also noteworthy that after her investigation into Roe’s allegations, Malloy gave a presentation on
the #MeToo movement While not a direct cause of gender bias on SJU’s campus, the #MeToo movement
was certainly an element swirling in the background on campus Beginning in October, 2017, the Harvey
Weinstein, Matt Lauer, Lawrence Nassar, and Bill Cosby scandals - to name just a few - were covered
almost daily in the press ln December, 2017, Time magazine named “The Silence Breakers” the person of
the year, and stars like Alyssa Milano, Ashley Judd and Uma Thermon encouraged women to come
forward with their stories The #MeToo movement is referenced directly in this article about SJU’s grant
and the movement was likely on the mind of Malloy, the investigator who conducted Doe’s flawed, biased
investigation her office forwarded her findings to SJU on April 3, 2018; on April 4, 2018, Malloy was the
key speaker at a Philadelphia Bar Association event entitled, “Me'l`oo for Legal Practitioners: A
Chancellor’s Forum on Sexual Harassment,” one in “a series of programs addressing the #MeToo
movement.” See Exhibit “ .” The Third Circuit has recently recognized the influence of the #MeToo
movement in Minarsky v. Susquehanna County, noting that “[t]his appeal comes to us in the midst of
national new regarding a veritable firestorm of allegations of rampant sexual misconduct that has been
closeted for years, not reported by the victims.” See Minarsky v. Susquehanna County, No. 17-2646 (3rd
Cir. July 3, 2018)(reversing and remanding District Court’s dismissal of sexual harassment claim under
Title Vll on grounds that delay in reporting harassment seemed reasonable in light of information
unearthed by #MeToo movement).

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The facts of this case strongly suggest that the young woman involved
manipulated the male in order to get money. At a minimum, if anyone was to have been
charged, both should have been charged The fact that only the male was charged shows
bias on the part of SJU, But Malloy’s own bias is on display as well. Malloy states that
she recognizes the potential that the accused boy could have a claim against someone
(apparently the female who charged him to touch her breast) for sexual exploitation, she
goes out of her Way to advise Community Standards not to pursue such a claim. ln other
words, Malloy decides a case that is not in front of her and comes down squarely on the
side of the uncharged female student See SJU 1429-1434, Exhibit “8 .”

1. SJU’s handling of Doe’s case is evidence of gender bias.

lt is important to note that one-sided manor in which SJU conducted its
“investigation” of Roe’s allegations against Doe is not only evidence of a dubious
outcome, it is itself evidence of gender bias Rolph v. Hobart & William Smith Colls., 271
F. Supp. 3d 386, 402, 2017 U.S. Dist. LEXlS 153838, *37-38, 2017 WL 4174933
(W.D.N.Y. September 20, 2017) (investigator’s failure to review or preserve electronic
evidence or conduct follow-up interviews to resolve inconsistencies between witnesses’
statements, coupled with other allegations, were indicia of bias). Collick v. William
Paterson Univ., 2016 U.S. Dist. LEXlS 160359, *30-35 (D.N.J. November 17, 2016)(“an
allegation that the process was one-sided, irregular, and unsupported by evidence may
give rise to an inference of bias.”)

SJU makes much of the fact that it followed its own procedures, and so cannot be
found to have acted in a gender biased way. The courts have specifically rejected this

argument Rolph v. Hobart & William Smith Colls., 271 F. Supp. 3d 386, 402, 2017 U.S.

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Dist. LEXlS 153838, *37-38, 2017 WL 4174933 (W.D.N.Y. September 20, 2017) (court
rejects school’s contention that complying with its own procedures as to both the accuser
and the accused is sufficient to negate inference of gender bias). Evidence that the school
treated male students as “guilty, until proven innocent," illustrated gender bias Doe v.
Brown Univ., 166 F. Supp. 3d 177, 189-190, 2016 U.S. Dist. LEXlS 21027, *26-28
(D.R.l. February 22, 2016)D0e v. Brown Univ., 166 F. Supp. 3d 177, 189-190, 2016 U.S.
Dist. LEXlS 21027, *26-28 (D.R.l. February 22, 2016)(evidence of bias in the school’s
handling of other sexual misconduct could show a pattern of gender bias)

2. SJU’s handling of other disciplinary cases under the SMP is evidence
of gender bias.

Plaintiff s case against SJU appears to be somewhat unusual in that we have not
one, but two examples of three women charged with acts of sexual misconduct who
received very different treatment than Doe. One was not even subjected to the unfair, pro-
accuser SMP process Two were accorded every possible advantage and benefit of the
doubt available under it. All were found “not responsible.” Additionally, these cases were
handled by the very individuals who handled Doe’s case: Perry and Malloy. They will be
discussed in great detail in the “selective enforcement” section of this brief, but Plaintiff
submits that those cases evidence SJU’s gender bias as well. See Doe v. Case Western
Reserve Univ., 2017 U.S. Dist. LEXlS 142002, *20-21, 2017 WL 3840418 (N.D. Ohio
September l, 201 7)(“if only the male participant is disciplined for participating in the

same acts-the implication of gender bias is clear”).

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These are not “vague, conclusory allegations of gender bias.”137 All of the
foregoing, as well as SJU’s handling of the softball cases and the staff member case, are
strong evidence of gender bias, even if they are illustrative of other forms of bias as well.
As the Second Circuit observed:

lt is worth noting furthermore that the possible motivations mentioned by the

district court as more plausible than sex discrimination including a fear of

negative publicity or of Title lX liability, are not necessarily, as the district court
characterized them, lawful motivations distinct from sex bias A defendant is not
excused from liability for discrimination because the discriminatory motivation
does not result from a discriminatory heart, but rather from a desire to avoid
practical disadvantages that might result from unbiased action A covered
university that adopts, even temporarily, a policy of bias favoring one sex over the
other in a disciplinary dispute, doing so in order to avoid liability or bad publicity,
has practiced sex discrimination notwithstanding that the motive for the
discrimination did not come from ingrained or permanent bias against that
particular sex.

Doe v. Columbia Univ., 831 F.3d 46, 58, 2016 U.S. App. LEXlS 13773, *29-30,
ftnt 11. (2d Cir. N.Y. July 29, 2016).

b. Selective Enforcement

Doe also contends that SJU has violated Title lX under a theory of “selective
enforcement” ln a selective enforcement case, the plaintiff "asserts that, regardless of the
student's guilt or innocence, the severity of the penalty and/or the decision to initiate the
proceeding was affected by the student's gender." Doe v. Trs. of the Univ. of Pa., 270 F.
Supp. 3d 799, 824-825, 2017 U.S. Dist. LEXlS 148086, *51, 2017 WL 4049033 (E.D.
Pa. 2017), quoting Yusufv. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994). To succeed on

such a claim, the male plaintiff must allege "that a female was in circumstances

sufficiently similar to his own and was treated more favorably by the [educational

 

137 Vague, conclusory allegations of gender bias are insufficient to support a Title lX claim. Collick v.
William Paterson Univ., 2016 U.S. Dist. LEXlS 160359 (D.N.J. November 17, 2016).

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institution]," Doe v. Trs. of the Univ. of Pa., 270 F. Supp. 3d at 824, quoting Tafuto v.
NJ. Inst. ofTech., Civ. A. No. 10-4521, 2011 U.S. Dist. LEXlS 81152, 2011 WL
3163240, at *2 (D.N.J. July 26, 2011) and must also allege "'particular circumstances
suggesting that gender bias was a motivating factor behind the inconsistency.'" Id.,
quoting Harris v. St. Joseph ’s Univ., Civ. A. No. 133937, 2014 U.S. Dist. LEXlS 65452,
2014 WL 1910242, at *4 (E.D. Pa. May 13, 2014)(quoting Scott v Worldstarhiphop, Inc.,
Civ. A. No. 10-9538, 2011 U.S. Dist. LEXlS 123273, 2011 WL 5082410, at *4(S.D.N.Y.
Oct. 25 , 2011). ln other words, if a plaintiff can show that "'the [university's] actions
against [the male plaintiff] were motivated by his gender and that a similarly situated
woman would not have been subjected to the same disciplinary proceedings"' he will
have established a “selective enforcement” claim. Id., quoting Tafuto, 2011 U.S. Dist.
LEXlS 81152, 2011 WL 3163240, at *2 (second alteration in original) (quoting Doe v.
Univ. ofthe South, 687 F. Supp. 2d 744, 757 (E.D. Tenn. 2009)).

Selective Enforcement claims are beset by the fact that so few women are ever
charged with sexual misconduct. lndeed, at SJU, a woman has never been found
responsible for violating the SMP. But this case is unusual in that Plaintiff can identify at
least two cases in which women, similarly situated to Doe, were treated more favorably
by SJU because they Were women: the Softball case(s) and the staff member case

l. The Softball Cases

ln 2015, SJU’s women’s’ softball team was sued by two former members for
sexual harassment and ultimately suspended for the balance of the season. The claims
against the women on the softball team were salacious and widely publicized Bowing to
public pressure, SJU instituted sexual misconduct proceedings against two women who

were seniors on the team. Malloy was the investigator. See SJU 1512-1525, Exhibit “8 .”

The women involved were accused of multiple acts of sexual misconduct, but only one is

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directly relevant here. 138 The claimants alleged that the accused had blindfolded them,
then forced them to touch the accused’s’ bare buttocks which had been smeared in
mayonnaise. Malloy found the accuser’s claims to be true. However, without analysis,
she concludes that the behavior “does not constitute indecent assault, sexual assault or
sexual exploitation under the Policy, lt was not indecent, it was not sexual contact, and it
Was not touching in a sexual manner.” SJU 1522.

The women accused in the Softball cases were similarly situated to Doe. They,
like Doe, were accused of non-consensual sexual contact ln pertinent part, SJU’s SMP
defines non-consensual sexual contact as:

any non-consensual sexual contact, including any improper touching of intimate body
parts lt also includes the non-consensual removal of another’s clothing, indecent
contact (i.e. the unwanted touching of intimate body parts including, but not limited to,

genitals, buttocks, groin, or breasts) or causing another to have indecent contact with
those intimate body parts

See SMP lll(d)(l)(a)(ii), Exhibit “6.” The allegations against the Softball players - again,
which Malloy finds to be true - fall solidly within the definition of non-consensual sexual
contact The accusers claim they were forced -without their consent - to touch the
accused’s’ buttocks, which are specifically identified in the SMP as an “intimate body
part.” Yet Malloy finds the women “not responsible.” Contrast that to Doe’s case: was
not alleged to have touched an “intimate body part,” and Malloy conceded as much. The
body part he did touch, he touched with permission Malloy concedes that as well. But

because he is alleged to have touched Roe too firmly, and to have scared her, Malloy

 

138 Some of the other allegations involved in the case were that the accused women forced neshman
students to “hump walls,” give senior a woman a “lap dance” and an “over the pants hand job,” dance to
sexually explicit songs (which the accused students recorded), demonstrate their Coach’s orgasm, put
condoms on bananas, imitate oral sex on a wine bottle (which was also recorded), answer questions about
their sexual identity, discuss sexual positions and pornography and dress as a male rapper, squat on top of
another female freshman and simulate intercourse Malloy found the accused women “not responsible” on
all charges

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found him- a man - responsible for sexual assault, Yet neither of those types of conduct

are prohibited by the SMP.139

Malloy’s analysis, such as it is, seems to rely on the accused women’s intent She
finds that these activities happened during “welcome week,” and that the purpose behind
them was “team bonding, freshmen getting to know each other and the other team
members, and the other team members getting to know the freshmen.”140 Contrast that
with Doe’s case: Malloy concludes that Doe squeezed Roe’s neck, but she concludes that
he had no intent to hurt her. ln other words, she concludes it was an accident When Doe
pointed this fact out to the Appeal Board, Malloy shot back that “the Policy does not
require an intent to hurt the Complainant. The act itself, without consent, violated the
Policy.” See SJU 589, Exhibit “ 8.”

These cases illustrate quite clearly bias on the part of SJU and Malloy. When
women were accused sexual misconduct, SJU was slow to prosecute them, and Malloy
bent over backwards to find them not responsible, contorting the language of the SMP to
exclude conduct which the policy expressly prohibits and graft on a defense which she
alleged it does not have: benign intent When Doe was accused of sexual misconduct she

also contorted the language of the SMP, this time to include conduct which is not

 

139 Doe did not squeeze Roe’s neck. But even if he had, “squeezing” would more properly be considered an
assault and processed under the CS process Doe has been unable to find any SJU prohibition on scaring
people

149 The language Malloy uses also betrays her strong pro-Woman bias She says that the accusers had the
“opportunity” to imitate an orgasm, recharacterizes a lap dance as an “interpretive dance” (SJU 1518),
students “could” imitate oral sex on wine bottle (SJU 1519); there was talk of sexual identity (members are
gay), but “it is an accepting environment and the upperclassmen want the freshmen to feel comfortable”
See SJU 1518 - 1520, Exhibit “8.”

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prohibited by the policy (touching a non-intimate body part too firmly) and to deny him a
defense which she herself found him to have: benign intent

2. The Staff Member Case

SJU employees have testified repeatedly that Doe was charged under the SMP
rather than the CS process because he was kissing Roe when the alleged squeezing
happened lf kissing is involved, SJU employees have stated again and again, the SMP is
implicated - unless a woman is the accused

ln May of 201 8, just three months after Doe was charged with sexual misconduct,
and only weeks after Malloy had advised the Appeal Board that intent was irrelevant:
“[t]he act itself, without consent, violated the Policy,” a female employee of SJU kissed a
male student Without his consent See SJU 1904-1913, Exhibit “8.” This time, however,
Perry decided that the matter should not be handled under the SMP but should instead be
treated as possible violation of the SJU Policy Prohibiting Discrimination, Harassment or
Retaliation (PPDHR).

The facts are these: a third party reported that a female SJU employee had
inappropriately kissed a male student on the lips at an end-of-year luncheon The incident
was witnessed by several students and staff members lt was a one-time event and there
was no allegation that the woman involved had created any sort of hostile environment
Perry “determined, based on the complaint, that the alleged conduct might constitute, if
determined to have occurred, a possible violation of the SJU Policy Prohibiting
Discrimination, Harassment or Retaliation (PPDHR).” See Exhibit “23 .”

SJU’s PPDHR has a process for handling complaints which is substantially

similar to the CS process and expressly provides that that the accused be shown the

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written complaint against her within five days of its receipt, be given an opportunity to
respond to that complaint in writing, as well as the opportunity to see the accuser’s
response thereto. The PPDNR also offers options for resolving complaints, such as the
opportunity to handle the matter informally and to pursue mediation None of these
options are available under the SMP.

However, the PPDHR clearly does not apply to the complaint filed against the
woman in this case lt prohibits “unwelcome conduct of a sexual nature” when “such
conduct creates a hostile environment.” There was no allegation of hostile environment
against the accused woman She was accused of kissing him for approximately 25
seconds without consent That is properly an SMP violation Moreover, both the PPDHR
and the SMP explicitly provide that “if particular conduct . . . would be prohibited by
both the Sexual Misconduct Policy and this Policy, then the Sexual Misconduct Policy
controls.” See PPDNR lll, Exhibit “ ,” SMP, l (C), Exhibit “ 6.”

ln essence, when a woman was accused of non-consensual kissing - the very
conduct which SJU says forced Doe into the SMP process - she was treated differently.
ln a blatant violation of both the PPDNR and the SMP, charges against her were handled
under the more open, fair process afforded by the PPDNR.141 The accused woman was
found “not responsible,” and the PPDHR report was filed away as “Confidential” and
“NOT TO BECOME PART OF THE EMPLOYEES PERSONNEL FlLE.” See SJU

1904-1913, Exhibit “8 ,” emphasis in original.

 

141 It is important to note that by shining the claims against this woman away from the SMP and into the
PPDHR, she not only guaranteed her a more fair process, she predicted the outcome, just as she did with
Doe. The standard under the SMP is consent, which this woman admittedly did not have to kiss the male
student involved The standard under the PPDHR is whether the conduct was (l)“unwelcome” and (2) part
of a pattern

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These are the only two cases involving women accused of conduct prohibited by
the SMP. Each of them shows that accused women, similarly situated to Doe, are subject
to very different disciplinary proceedings The charges brought against them, the
interpretation of the applicable policy language, even the policies under which they were
investigated show a marked bias in favor of accused women This is particularly true
given the other evidence of gender bias exhibited by SJU, Perry and Malloy, each of
whom was personally involved in Doe’s case and handled it quite differently.

At a minimum, Plaintiff contends that these cases questions of disputed fact
material enough to preclude summary judgment.142 When evalauating Doe’s conduct,
she found that since it occurred while they were kissing, it was “sexual”. According to
Perry, kissing is an intimate act (EP P345 L21-P347L10) except it isn’t when a female
inniates (without consent ) a kiss upon a male student When the genders are reversed,
Perry considers the nature of the kiss, its duration, and the intent of the person kissing
the student, ( “it was just a quick peck” ) of the aggressor, person become relevant to
Perry’s determination as to whether the case was investigated under the PPDHR, in
house, with procedural safeguards ( written notice of allegations provided in advance of
interview or hearing, opportunity to repond in writing before investigation begins etc.) or
referred to an outside investigator under the SMP appears to have been directly
influenced by gender bias Perry’s handling of case against the female who admittedly

did not have consent to kiss a male student, stands in stark contrast to her decision to

 

142 Some courts have opined that evidence of bias might constitute a “pro-victim bias” as opposed to an
anti-male/pro-woman bias Doe v. Pa. State Univ., 2018 U.S. Dist. LEXlS 3184, *15, 2018 WL 317934
(M.D. Pa. J an 8, 2018)(finding anti-male as opposed to pro-victim bias on grounds that all disciplined
students were male). These two cases illustrate that the bias exhibited at SJU are not “pro-victim;” they are
anti-male/pro-woman. ln the sonball cases, both the accused and the accusers were women, yet Malloy
does not exhibit a “pro-victim” bias ln the staff member case, the “victim” is a man. Yet again, the school
did not show a “pro-victim” bias; it showed a pro-woman bias.

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place Doe’s case in the SMP. lt is also inconsistent with other SJU officials William
Bordak, director of Community standards, testified that kissing is enough, lf there is any
unwelcome physical contact while kissing, it is enough to trigger a potential SMP
violation ( e.g.a women’s nail braking skin on the shoulder while kissing WB P377L23-
P379L11).

B. Breach of Contract

To state a claim for breach of contract under Pennsylvania law, a complaint must
specifically allege: "'(1) the existence of a contract, including its essential terms, (2) a
breach of a duty imposed by the contract and (3) resultant damages"' Doe v. Trs. of the
Univ. ofPa., 270 F. Supp. 3d 799, 810-811, 2017 U.S. Dist. LEXlS 148086, *14, 2017
WL 4049033 (E.D. Pa. Sept. 13, 2017) (citations omitted). ln the educational setting, “the
relationship between a private educational institution and an enrolled student is
contractual in nature; therefore, a student can bring a cause of action against [an]
institution for breach of contract where the institution ignores or violates portions of the
written contract." Id., citing Swartley v. Hojj$ier, 1999 PA Super 168, 734 A.2d 915, 919
(Pa. Super. Ct. 1999) (citations omitted). The contract between an educational institution
and a student includes any "agreement between the parties concerning disciplinary
procedures, contained within a portion of the student handbook." Id., citing Reardon v.
Allegheny College, 2007 PA Super 160, 926 A.2d 477, 480 (Pa. Super. Ct. 2007) (citation
omitted).

Pennsylvania courts review student/ school contracts "as we would any other
agreement between two private parties." Doe v. Trs. of the Univ. of Pa., at

*15, (citing Murphy v. Duquesne Univ. ofthe Holy Ghost, 565 Pa. 571, 777 A.2d 418,

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428 (Pa. 2001)). Private schools must substantially comply with their own procedures to
avoid breach of contract Boehm v. Univ. of Pa. Sch. of Veterinary Med., 392 Pa. Super.
502, 573 A.2d 575, 579 (Pa. Super. Ct. 1990) (citations omitted).

ln considering a breach of contract, courts look first to interpret the terms of the
contract Doe v. Trs. of the Univ. of Pa., at *15. ln doing so, “[t]he paramount goal . . . is
to determine the intent of the parties." ld., at *15, quoting American Eagle Outfitters v.
Lyle & Scott Ltd., 584 F.3d 575, 587 (3d Cir. 2009) (quotation omitted). "The strongest
objective manifestation of intent is the language of the contract." Baldwin v. Univ. of
Pittsburgh Med. Ctr., 636 F.3d 69, 76 (3d Cir. 2011) (citations omitted). "When the
words of a contract are clear and unambiguous, the intent of the parties must be
ascertained from the language employed in the contract, which shall be given its
commonly accepted and plain meaning." TruServ Corp. v. Morgan's Tool & Supply Co.,
614 Pa. 549, 39 A.3d 253, 260 (Pa. 2012) (citing LJL Transp., Inc. v. PilotAir Freight
Corp., 599 Pa. 546, 962 A.2d 639, 647 (Pa. 2009)). Moreover, "[t]he whole instrument
must be taken together in arriving at contractual intent." Murphy, 777 A.2d at
429 (citation omitted). "The meaning of an unambiguous written instrument presents a
question of law for resolution by the court." Murphy, 777 A.2d at 430 (citing Cmty. Coll.
v. Cmty. Coll., Soc'y ofthe Faculty, 473 Pa. 576, 375 A.2d 1267, 1275 (Pa. 1977)).

ln this case, SJU’s contractual obligations to Doe are set forth in is Student
Handbook, Exhibit “ “ and in its SMP, Exhibit “ .” Plaintiff points to several specific
contractual breaches that fall into five broad categories: SJU failed to adopt policies
complying with Title IX, which would be free of gender bias; it failed to apply and

follow its own definition of “sexual assault;” it failed to provide a fundamentally fair

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investigation lead by a trained investigator; it interpreted the terms of its Appeal Process
in ways which were fundamentally unfair; and it failed to appropriately and fairly
accommodate Doe’s known documented learning difference
1. SJU breached its contractual promise to comply with Title IX by
subjecting Doe to a gender-biased, fundamentally unfair disciplinary
process
SJU made a contractual promise to Doe that it would “uphold Title IX in all
educational programs.” Exhibit “4” pg. 58. lt promised to employ “equal opportunity in
every aspect of its operations.” Exhibit “4”, pg. 46. ln connection with sexual misconduct
investigations, it promised Doe a “prompt, fair and impartial disciplinary process (from
the initial report to the final result).” See SMP l.V(a) Exhibit “4\6”. lt promised that
studentswould not be discriminated against “on the basis of sex/ gender . . . disability . . .
[or] any other status protected by law in the administration of its educations . . . policies
or programs.” Exhibit “ 4,” pg. 46. All of these promises should be read in light of one
another, and in the context of the instrument as a whole, if we are to arrive at the parties’
correct contractual intent. Murphy, 777 A.2d at 429 (citation omitted). SJU’s promise to
“uphold Title lX” informs its promise to employ “equal opportunity” and avoid gender-
based discrimination As each of these contractual duties should be read to gether, they
are discussed together.
Perhaps the most fundamental promise SJU made to Doe ~ at least insofar as
sexual misconduct proceedings are concerned - is that it would comply with Title lX. 143

SJU’s current SMP was designed to comply with the guidance OCR issued in 2011.

When the OCR rescinded that guidance and replaced it with new, gender-neutral

 

143 SJU makes this representation not just to Doe, but to the federal government in its Grant applications
See SJU Grant Application Package, SJU 1089-1174, at 1096.

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guidance in September of 201 7, SJU refused to “uphold Title lX” pursuant to that new
guidance, opting instead to continue to conform its SMP policy and practices to now-
rescinded guidance That violates SJU’s promise to Doe to uphold Title IX.

This decision is particularly significant given the stated reasons behind the OCR’s
rescission of the 2011 DCL: it did so because it had become clear that sexual misconduct
policies premised on the 2011 DCL were gender biased To remedy that, the OCR
recommended specific, easily-implemented guidance about how sexual misconduct
should be handled on university campuses The evidence clearly shows that SJU did
nothing to amend its policies lt did so knowing that the policies it had adopted “do not
afford fundamental faimess,” “are overwhelmingly stacked against the accused and are in
no way required by Title lX law or regulation.” See 2017 DCLExhibit “9”. That decision
not only violates Title lX (an independent cause of action in this litigation), it also
breaches SJU’s contractual commitment to Doe to uphold Title IX.144

Specifically, the evidence shows that, in violation of the 2017 guidance:

(a) SJU hired Malloy, an attorney on retainer for the school, who was biased in
favor of women SJU was Malloy’s only educational institution client She
was aware of the grant and, therefore, the school’s attendant financial interests
in ensuring that more students were “held accountable” for SMP violations
As is laid out in detail in other portions of this brief, Malloy exhibited
personal biased in favor of women and was, at the time she was investigating
Doe, preparing a professional presentation on the #MeToo movement Malloy

was not “free of actual or reasonably perceived conflicts of interest and

 

144 As discussed in greater detail in the Title IX section of this Brief, Plaintiff contends that SJU’s decision
not to follow the OCR 2017 guidance also evinces SJU’s gender bias

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biases.” See 2017 DCL and Q&A. See 2017 Q&A, Question 6 143 Exhibit
“ 1 0”.

(b) SJU allowed its institutional interests to interfere with the impartiality of the
investigation by allowing its own interest in acquiring and maintaining state
and federal grants dictate whether it altered its SMP policy to comply with the
2017 guidance and by improperly labeling Roe’s claim against Doe as “sexual
misconduct” rather than “assault.” See 2017 Q&A, Question 6.Exhibit “10”.
The consequence of that decision was to divert the investigation away from
the CS process - which essentially places the accused and the accuser on
equal footing ~ and force it into the parameters of the SMP - which offers no
meaningful protections to the accused

(c) SJU employed Malloy, who undertook no formal training about how to
investigate and adjudicate SMP claims and who neither sought out, analyzed
nor documented the evidence available to her in Doe’s investigation, as the
investigator in this case See id. 2017 Q&A, Question 6.

(d) SJU allowed Malloy, without supervision or instruction to conduct an
investigation in violation of the new 2017 Guidance, She did not investigate
or synthesize all available evidence and did nothing to seek out exculpatory

evidence, including readily available photos of Roe’s neck, taken twenty

 

145 “One of the most basic components of fairness is an unbiased and neutral fact-finder. Accused students
are entitled to have their cases decided on the merits_on the particular facts of the case, set in the proper
context_and not according to the application of unfair generalizations or stereotypes or because of social
or other pressures to reach a certain result.” Doe v. Brandeis Univ., 2016 U.S. Dist. LEXlS 43499, *110-
lll, 177 F. Supp. 3d 561, 608 (D. Mass. March 31, 2016).

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hours aner she was allegedly choked by Doe, showing that no such incident
had ever taken place See id. 2017 Q&A, Question 6.

(e) Both Roe and the University knew that Roe had accused Doe of “choking”
her, had access to Roe’s complaint and photos of her bruised neck (created at
Perry’s suggestion) and knew - or were readily able to learn - the identities of
Roe’s fiiends, who would have been significant witnesses on the issue of
credibility. Roe and the school had the “opportunity” to know about and
investigate this information Doe was denied that “opportunity.” See id. 2017
Q&A, Question 6. ln failing to provide Doe with the charges and evidence
against him _ both of which were used against him during the investigation
SJU also ignored OCR’s instruction that each party to an SMP investigation
be provided the “same meaningful access to any information that [would be]
used during informal and formal disciplinary meetings and hearings” See
id.2017 Q&A, Question 8.

(f) SJU did not provide Doe with written notice of the allegations against him,
including sufficient details and with sufficient time to prepare a response
before any initial interview. This was done purposefully, pursuant to an
unwritten policy of which Doe was completely unaware See id. 2017 Q&A,
Question 6.

(g) SJU did not provide Doe with the specific section of the code of conduct he
allegedly violated or the precise conduct of which he was accused Rather -

and again this was done pursuant to an unwritten SJU policy - he was told

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only that he had potentially violated the SMP, a fifty some page document
prohibiting six different categories of conduct See id. 2017 Q&A, Question 6.

(h) SJU failed to give Doe any adequate written notice of the charges against him,
so it goes without saying that it did not give him notice “with sufficient time
to prepare for meaningful participation” in the investigation See id. 2017
Q&A, Question 6.

(i) SJU did not ensure that Doe’s investigation resulted in a written report
summarizing the relevant “exculpatory and inculpatory evidence.” This was
likely due to that fact that Malloy neither sought nor considered exculpatory
evidence See id. 2017 Q&A, Question 6.

(i) SJU did not provide Doe with “timely and equal access” to the specific
charges against him, the physical evidence against him or the identity of Roe’s
friends, at least one of whom -the one who saw Roe kiss Doe goodbye -
could have been a significant witness in Doe’s favor, and all of whom were
probative to the question of Roe’s credibility. See id. 2017 Q&A, Question 6.

(k) Doe met with Malloy. Malloy found him responsible Malloy submitted her
findings to Bordak. Bordak decided Doe’s sanctions, then called Doe in for a
meeting to discuss those sanctions Doe did not even know Malloy’s findings
or determination until that meeting. All of these facts are admitted Doe was
certainly not given “the opportunity to respond to the report in writing in
advance of the decision of responsibility.” See id.2017 Q&A, Question 8.

These failures constitute a breach of SJU’s express contractual obligation to

uphold Title lX, and to provide “equal opportunity” to Doe and Roe.

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Plaintiff submits that SJU’s contractual obligations should be read to gether, but
that does not mean that each is not an independent breach of contract Like its promise to
uphold Title lX, SJU’s promise to avoid discrimination “on the basis of sex/gender” is
similarly enforceable as a discrete contractual promise; the breach is established by the
same evidence establishing its Erroneous Outcome case under Title IX. ln Trs. of the
Univ. of Pa., for example, the male plaintiff alleged that the University had breached its
promise to provide "a process that is . . . free of bias or prejudice." The court found that
the plaintiff s allegations of gender bias under Title lX - which it held were sufficient to
plead an Erroneous Outcome case under that statute - were also sufficient to sustain a
breach of this portion of the University’s disciplinary policy. Doe v. Trs. of the Univ. of
Pa., 270 F. Supp. 3d 799, 817-818, 2017 U.S. Dist. LEXlS 148086, *44, 2017 WL
4049033 (E.D. Pa. Sept. 13, 2017); Doe v. Brown Univ., 166 F. Supp. 3d 177, 196, 2016
U.S. Dist. LEXlS 21027, *46 (D.R.l. February 22, 2016)(in stating a plausible claim for
breach of contract and systematic gender bias, court finds plaintiff has also stated a claim
that pleaded conduct violated the covenant of good faith and fair dealing inherent in that
contract).

SJU also promised Doe a “prompt, fair and impartial disciplinary process (from
the initial report to the final result).” See SMP l.V(a). Pennsylvania courts have held that
contractual promises of “faimess” do not, in and of themselves, give rise to an

independent cause of action for breach of contract.146 Rather, such promises must be

 

146 “Under Pennsylvania law, "[e]very contract imposes on each party a duty of good faith and fair dealing
in its performance and its enforcement” Kaplan v.Cablevision of PA, Inc., 448 Pa. Super. 306, 671 A.2d
716, 722 (Pa. Super. Ct. 1996) (quoting Restatement (Second) of Contracts § 205 (1981)). But "this
obligation of good faith is tied specifically to and is not separate from the [express] duties a contract
imposes on the parties." Murphy v. Duquesne Univ. of the Holy Ghost, 565 Pa. 571, 777 A.2d 418, 434 n.ll
(Pa. Super. Ct. 2001).

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considered “in the context of the Disciplinary Procedures as a whole and with reference
to the established understanding of ‘fundamental fairness’ in this Commonwealth.” Trs.
ofthe Univ. ofPa., 270 F. Supp. 3d at 810-811, 2017 U.S. Dist. LEXlS 148086, *18; see
also Boehm v. University of Pennsylvania School of Veterinary Medicine, 392 Pa. Super.
502, 509-511, 573 A.2d 575, 579-580, 1990 Pa. Super. LEXlS 878, *11-14 (Pa. Super.
Ct. April 18, 1990) (Pennsylvania courts may review rules promulgated by private
universities to ensure that they comport with “basic notions of due process and
fundamental faimess”). 147
ln Pennsylvania, "fundamental faimess" carries with it some discrete obligations
on the part of the University. lt entitles a student undergoing university disciplinary
proceedings to a "'statement of the specific charges and grounds which . . . would justify

'" "'an oral or written report on

[the discipline], '" "'the names of the witnesses against him,
the facts to which each witness testifies,"' and an "'0pportunity to present . . . his own
defense against the charges and to produce either oral testimony or written affidavits of
witnesses on his behalf.'" Trs. ofthe Univ. ofPa., 270 F. Supp. 3d at 812-813, 2017 U.S.
Dist. LEXlS 148086, *18 (emphasis added), quoting Boehm, 573 A.2d at 578-

79 (additional citations omitted)).148 ln the Boehm case:

 

147 The Boehm court noted that other courts have followed this approach and have generally held that
“disciplinary acts by private colleges or universities will be upheld so long as the proceedings have been
fundamentally fair, and the school has not deviated substantially from the procedures established by the
school.” Boehm v. University of Pennsylvania School of Veterinary Medicine, 392 Pa. Super. 502, 509-511,
573 A.2d 575, 579-580, 1990 Pa. Super. LEXlS 878, *11-14 (Pa. Super. Ct. April 18, l990)(emphasis
added), citing Clayton v. Trustees of Princeton University, 608 F.Supp. 413 (D.N.J.1985) (student at a
private university subjected to a disciplinary hearing for cheating has a judicially protectable interest in
ensuring that the proceedings against him are fundamentally fair); see also State v. Schmid, 84 N.J. 535,
423 A.2d 615 (1980), appeal dismissed, 455 U.S. 100, 102 S.Ct. 867,~ 70 L.Ed.2d 855 (1982); Napolitano v.
Princeton University Trustees, 186 N.J.Super. 548, 453 A.2d 263 (1982).

148 A university is not obligated to provide accused students with a full hearing, but the adjudicator should
be given "'an opportunity to hear both sides in considerable detail."' Boehm, 573 at 579 (quoting Dixon,

294 F.2d ai 159).

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the accused students were given notice of the charges against them and also of the
evidence against them. They were present at and participated in a hearing which
lasted approximately ten and one-half hours At this hearing they were assisted by
a faculty advisor and Were permitted to cross-examine witnesses who testified
against them and call witnesses to testify on their behalf.
Boehm, 573 A.2d at 582. Given those circumstances the Pa. Superior court examined the
private school’s policies and procedures for evidence of fundamental faimess, and found

it SJU is not similarly situated

2. SJU’s failure to provide Doe with adequate notice of the charges
against him Was fundamentally unfair.

Rather than provide the students with clear information about SJU’s practices
when conducting SMP investigations SJU implemented several unwritten polices, ones
of which the students could not be aware and ones which would ultimately play a huge
part in the integrity of any SMP investigation Specifically, SJU advised its employees
and investigators that accused students should never be given an copy of the specific
charges against them unless and until the investigator deems it necessary. That policy
virtually assured that an accused student would be unprepared to defend himself at his
“hearing” before the investigator. The school also adopted a quiet, unwritten practice of
soliciting statements from SJU employees and the investigator to be provided to the
Appeal Board for its consideration Plaintiff submits that these unwritten practices violate
the school’s express promise to be “fair,” the concepts of “fundamental faimess” which
that express promise implicates, and SJU’s promise to uphold Title IX. The 2017 Q&A
admonishes schools to “adopt and publish grievance procedures that provide for a prompt
and equitable resolution of complaints of . . . sexual misconduct.” 2017 Q&A, Question 4
(Exhibit 10, emphasis added). Certainly the 2017 guidance does not contemplate that an

equitable investigation would be conducted pursuant to unpublished procedures

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SJU’s SMP is apparently silent on the question of whether an accused student is
entitled to notice of the charges against him. Such a policy violates SJU’s own
contractual promise to conduct a “prompt, fair and impartial disciplinary process (from
the initial report to the final result).” See SMP l.V(a) Exhibit “6”.This promise implicates
the “fundamental faimess” embraced by Pennsylvania courts, which expects private

Universities to provide the accused with a "'statement of the specific charges and grounds

ill "|

which . . . would justify [the discipline], "' "'the names of the witnesses against him, an
oral or written report on the facts to which each witness testifies,"' and an " 'opportunity
to present . . . his own defense against the charges and to produce either oral testimony or
written affidavits of witnesses on his behalf.'" See Doe v. Trs. of the Univ. of Pa., at *18.
That lack of fundamental fairness constitutes a breach of SJU’s contract with Doe.

First, SJU did not provide Doe with a “'statement of the specific charges and
grounds which . . . would justify [the discipline].” The “notice” SJU provided to Doe at
the outset of its investigation was that he had potentially violated the SMP, which is over
finy pages long and addresses six different types of conduct That is far from “specific
charges and grounds;” it is so broad as to be meaningless.149 When Doe aske Forte what
the specific charges against him were, she said he had been “rough” with Roe, but that it
was “nothing sexual.” She told him that he would learn the details at the “investigation”

which, unbeknownst to Doe was the hearing at which his guilt would be determined As

it turns out, the investigator did not tell Doe the exact charges against him. He first

 

149 “There is little practical difference between a school failing to inform the accused of the charge against
him or, as here, having informed him of the formal charge, refusing to provide him with the specific factual
conduct alleged to have given rise to the charge At a minimum, it the failure to provide John with notice of
the specific charges against him may have substantially impaired the fairness of the proceeding.” Doe v.
Brandeis Univ., 2016 U.S. Dist. LEXlS 43499, *99, 177 F. Supp. 3d 561, 604 (D. Mass. March 31, 2016).

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learned that he was being accused of choking Roe after he was found guilty.150 This too,
is fundamentally unfair.

Other courts have come to the same conclusion ln Doe v. Univ. of Notre Dame,
for instance, an accused man was notified that his conduct “may be a violation of the
University’s policies related to sexual assault, sexual misconduct, dating and domestic
violence, stalking, and/or conduct that creates a hostile environment." Doe v. Univ. of
Notre Dame, 2017 U.S. Dist. LEXlS 69645, *28-29, 2017 WL 1836939 (N.D. lnd. May
8, 2017). Like SJU, Notre Dame had promised its students a “prompt, fair and impartial
investigation and resolution of disciplinary complaints involving sexual violence, stalking
and dating violence.” The Court concluded that Notre Dame’s “notice” breached that
promise:

This amounts to no notice at all. lt doesn't tell him what he is alleged to have done

wrong nor when the wrongdoing was alleged to have taken place lnstead, it is

merely general language parroting the laundry list of offenses identified on the
cover of the University’s Red Book on sexual harassment This so-called "notice
of charges" could not be further from revealing particular policy violations
implicated, much less specific allegations of John's objectionable conduct
Id. at *28-29; see also Fellheimer v. Middlebury College, 869 F. Supp. 238 (D. Vt.
1994)(failure to advise student of each offense alleged to have been committed was
"fundamentally unfair" and made it "impossible" for Fellheimer to defend himself against

the charge); Doe v. Brandeis Univ., 2016 U.S. Dist. LEXlS 43499, 177 F. Supp. 3d 561,

603-604 (D. Mass. March 31, 2016).

 

130 lt is especially outrageous that Malloy told Doe only that Roe claimed that he “squeezed her neck,”
when in fact she alleged that Doe “choked” her. A “squeeze,” particularly one alleged to have happened in
intimate circumstances is most likely to have been an accident, and accidents are difficult to deny. A
“choke” on the other hand, is something an accused would remember, even an accused With ADHD. Yet
Malloy never used the word “choked” to Doe, then concluded that his denial was too tepid to be believed
Of course, had he ever been made aware in any Way that Roe claimed he “choked” her, he would have
given Malloy the vehement, powerful denial she apparently wanted He would have adamantly denied
choking Roe, because it never happened

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SJU’s failure to provide Doe with meaningful notice of the charges against him
breaches its promise to Doe to conduct a “fair” investigation the “fundamental fairness”
Pennsylvania imposes on private universities’ disciplinary process and its contractual
promise to Doe that it would comply With Title IX.

3. SJU’s failure to give Doe an opportunity to see or know about
evidence and witnesses against him Was fundamentally unfair.

A similar analysis can be applied to SJU’s failure to provide Doe with access to _ or
even notice of - the evidence against him. Roe presented her complaints to Bean then
Perry, pointing to bruises on her neck as evidence Perry told Roe to take pictures of the
bruises (i.e., create the evidence). She provided that evidence to Malloy, who never
showed it to Doe, then concluded that Doe squeezed her neck “to the point where it len
bruises.” During the investigation, Doe told Malloy that Roe’s friend, who’s name and
identity he did not know, had witnessed Roe kiss Doe goodbye. Malloy neither
investigated that fact (although Roe later admitted it in the course of this investigation)
nor did she give the name of that witness to Doe. Again, SJU’s handling of its
investigation against Doe is fundamentally unfair, and breaches its promise to Doe to
conduct a “fair” investigation and to abide by the provisions of Title IX.

4. SJU breached its contract in failing to apply and follow the definition
of “sexual assault” set forth in its SMP.

"When the words of a contract are clear and unambiguous the intent of the parties
must be ascertained from the language employed in the contract, which shall be given its
commonly accepted and plain meaning." TruServ Corp. v. Morgan's Tool & Supply Co.,

614 Pa. 549, 39 A.3d 253, 260 (Pa. 2012) (citing LJL Transp., Inc. v. Pilot Air Freight

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Corp., 599 Pa. 546, 962 A.2d 639, 647 (Pa. 2009)). SJU’s definition of “sexual assault” is

clear and unambiguous
For purposes of this Policy, Sexual Assault also includes: Non-consensual
sexual contact Non-consensual sexual contact means any sexual touching,
with any object, by a person upon another person without consent, or
forcing any person to touch you or the individual in a sexual manner. lt is
defined as engaging in any sexual contact other than intercourse with
another person without that person’s consent and/or cognizance lt includes
any non-consensual sexual contact, including any improper touching of
intimate body parts lt also includes the non-consensual removal of
another’s clothing, indecent contact (i.e. the unwanted touching of intimate

body parts including, but not limited to, genitals buttocks groin or breasts)
or causing another to have indecent contact with those intimate body parts

see Exhibit “6” sMP 111(<1)(1)(6)(11).151

The plain language of this section makes its scope clear: it is intended to prohibit
“non-consensual touching” of “intimate body parts” “without consent.” None of those
things happened here Doe kissed Roe, with consent He touched her neck, with consent
Malloy herself admitted that “a person’s neck/throat area is not an ‘intimate body part.”
See Malloy’s Outcome Letter. A plain reading of the SMP illustrates that, even if Roe’s
allegations had been true ~ which they were not - they would not have amounted to
“Sexual Assault” as that term is defined in SJU’s SMP.

SJU misinterpreted its own definition of “sexual assault” at two critical junctures
in its investigation of Doe. First, Perry determined that Doe had committed “sexual
assault” as soon as Roe reported her claims against him.152 Yet Roe had told Perry that

the kissing, and the attendant touching of her neck, was consensual. She did not complain

 

151 SJU’s SMP also defines “Sexual Assault” as “having intercourse or sexual physical contact with
another individual by the use or threat of force or coercion without consent or where the individual is
incapacitated” See Exhibit 6, SMP D(l)(a). No one is claiming Doe did anything that would fall within
this definition of “Sexual Assault.” Rather, Doe Was found responsible for non-consensual sexual contact
per this definition in the SMP.

132 She actually communicated that to Havira the very day Roe reported it.

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to Perry that there had been non-consensual touching of an intimate body part; she
complained that Doe had “squeezed” her neck and “scared” her. Neither of these are
prohibited by the SMP. lf anything, these allegations could allege an assault, but not a
sexual assault as defined in SJU’s policy. By deeming the the alleged conduct “sexual
assault” rather than “assault,” Perry shunting the allegations against Doe into the SMP.
That decision would, from the outset and by design offer Doe virtually no procedural
protections or ability to defend himself. But it did allow Perry to confirm her belief that
men are “socialized to be violent,” to bring another sexual misconduct claim into her
(admittedly) underutilized office, and to ultimately have some evidence of “progress” to
show the OVW.

Perry handed the investigation off to Malloy, who once again misconstrued the
definition of “sexual assault,” with disastrous effects for Doe.133 Aner a gender-infused,
wholly inadequate “investigation” Malloy specifically found that the “sexual contact”
alleged here was consensual because “[c]onsent to kissing also understandably includes
some contact by [Doe’s] hands on the neck and throat area.” She also concluded, as she

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must, that “a person’s neck/throat area is not an ‘intimate body part Nonetheless
Malloy, a trained and practicing attorney, determined that Doe had committed “sexual

assault” as that term is defined in the SMP.134 ln doing so, Malloy expanded the

definition of “Sexual Assault” to include non-intimate body parts touched while kissing _

 

133 Plaintiff submits that both Perry’s and Malloy’s “misinterpretations” are rooted in gender bias

134 There is no evidence that either Perry or Malloy asked Roe whether she considered the “choking” to be
sexual. This is significant because, when women were accused of SMP violations their opinion about
whether the conduct alleged was “sexual” became relevant When the women sonball players were accused
of sexual assault, Malloy determined that the alleged conduct - which fell directly within the literal
definition of “sexual assault” in the SMP _ was not “sexual” because the intent behind it was “team
bonding.” When a woman staff member was accused of sexual assault for conduct which, again, fell
directly within the literal definition Perry decided that she should not be investigated under the SMP
because, when asked, the male accuser (a student) had said he did not consider the kiss to be sexual.

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which is obviously not addressed in the SMP definition She further expanded the
definition to include the degree of firmness with which the accused is touched - also not
part of the SMP definition.133 lt is unclear whether Malloy considered the fact that Doe
allegedly “scared” Roe to be a sexual assault lf so, obviously, she is mistaken

SJU might have defined “sexual assault” to include “any touching that happens
while kissing.” lt might have imposed a duty on students to obtain consent with regard to
the firmness of consensual touching. But it did not. Perry, then Malloy, graned those
prohibitions onto the SMP. That is a breach of SJU’s contract with Doe.

5. SJU failed to conduct a fundamentally fair investigation lead by an
appropriately trained investigator.

ln its SMP, SJU explicitly promised Doe a “prompt, fair and impartial
disciplinary process (firom the initial report to the final result) conducted by officials who
are annually trained on the issues related to sexual assault . . . ,”136 one that “shall
include interviews with the parties and witnesses and of any relevant documents or other
evidence.” See SMP lV(a); SMP V(b)(l)(Exhbit “6”, emphasis added). The “faimess” of
SJU’s disciplinary process is discussed above But SJU violated this contractual promise
in a second way when it hired Malloy to conduct Doe’s investigation Malloy testified
that she was not “trained” as an investigator. Anything she knew or learned about Title
lX was ad hoc, irregular and not provided on an annual basis Nor did SJU do anything to

ensure that Malloy would be “annually trained on the issues related to sexual assault”

 

133 Nor, as a practical matter, could it be It is ludicrous to think that two students engaged in any form of
sexual contact, to obtain consent from one another for the degree of firmness with which they touch or hold

one another.

136 The term “official” is not defined in the contract, but it is obviously intended to include investigators
All of the SJU employees testified that, once a claim comes in under the SMP, it is handed over to the
investigator, essentially from “initial report” to a determination responsibility

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Perhaps as a consequence of her lack of training, Malloy conducted an
investigation that was so deeply flawed and so utterly incomplete as to violate SJU’s
promise to conduct a “fair and impartial disciplinary process.”137 SJU specifically
guarantees accused students “an investigation of the allegations against the Respondent
[that] . . . shall include interviews with the parties and witnesses and of any relevant
documents or other evidence.” See SMP V(b)(l)(emphasis added). Malloy did not
provide that to Doe.

Malloy did not seek out or interview any witnesses She did not speak with the
woman who witnessed Roe kiss Doe goodnight following his alleged assault She did not
identify or speak with Roe’s friends who were with her both immediately before and
immediately after the alleged assault She did not ask for text messages from around the
time of the alleged assault.138 When she ultimately, and by happenstance, got those text
messages they directly contradicted Roe’s story. She had not texted her friends that she
needed help; she had texted them that she “miss[ed] Francis.” Malloy never circled back
to Roe to explore this obvious inconsistency, and she never shared any of this
information with Doe. Malloy did not interview “Francis.” Malloy never asked Roe what
else she had done that weekend, whether she had taken any medications that might have
increased bruising, whether she had engaged in excessive drinking over that weekend, or
even whether she had been injured in any other way around the time of the alleged

assault139 She did not explore any motive Roe might have had to fabricate or exaggerate

 

137 Plaintiff concedes that Malloy’s investigation was prompt ln fact, he submits it was a rush to judgment
138 Roe testified that Malloy only asked her for the text messages she had exchanged with Doe.

139 We now know that there are pictures of Roe, taken twenty hours aner Doe’ alleged attack, that show no
injury whatsoever to her neck, making it impossible for the bruises to have occurred while Roe was with
Doe. We also know that Roe drunkenly “slipped” down the stairs after those pictures were taken and that
the bruises were first noticed the day after that fall. We also know that Roe knew all of this information

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her story,160 and she showed the same appalling lack of interest in or concern about Roe’s
“flashback.” Malloy never asked Roe if her “flashback” might have impacted her
interpretation of what she claimed to have experienced 161 Malloy did not investigate the
witnesses documents or any of the evidence relevant to this case She interviewed Roe;
she interviewed Doe; she found Doe responsible That does not comport with the promise
that the investigator shall include interviews with the parties and witnesses and of any
relevant documents or other evidence.” See SMP V(b)(l)(emphasis added). The contract
says “shall,” not “may.”

Doe v. Trs. ofthe Univ. ofPa., 270 F. Supp. 3d 799, 817-818, 2017 U.S. Dist.
LEXlS 148086, *32-36, 2017 WL 4049033 (E.D. Pa. Sept. 13, 2017) is instructive
regarding the University’s obligation to interview witnesses and seek out documentation
and evidence There, the University had promised that it would provide “a thorough and
fair investigation” which was to include “interviews of the complainant and respondent,
interviews of witnesses and review of documentation physical evidence, and other
relevant evidence.” Trs. of the Univ. of Pa., at *34. Unlike in this case, Penn had actually
interviewed witness other than the accused and the accuser, and it had reviewed
documentation and evidence Yet plaintiff complained that the investigator failed to:

(l) interview the accused thoroughly about affirmative consent;
(2) explore any motive the accuser might have to fabricate or exaggerate her

story;

 

when she met with Bean Perry and Malloy and did not share it with any of them. To be fair, they did not
ask.

160 We now know that Roe had an extensive disciplinary history involving allegations of bullying, alcohol
and drug abuse and academic probation

161 Both Roe and Doe testified that, at some point while they were kissing, Roe pulled back. Both Roe and
Doe testified that the minute Roe stopped kissing Doe, he stopped kissing her and moved away from her.
We know that because of testimony taken in the course of this litigation not because Malloy inquired about
it.

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(3) inquire about “lighthearted” messages the accuser exchanged with friends or
looked into any other communications that might have shed light on the
accuser’s state of mind;

(4) inquire into other witnesses’ memories of the night of the alleged assault;

(5) obtain and review video recordings of the plaintiff and his accuser that night;

(6) frrft(;rview the individual who accompanied the accuser to the campus
Women’s Center and Police Department

Id., at * 36.

The court concluded that these allegations if proven could establish a breach of
the University’s promise to conduct a “thorough” investigation that “include[d]
interviews of the complainant and respondent interviews of witnesses and review of
documentation physical evidence, and any other relevant evidence.” Doe v. Trs. of the
Univ. ofPa., 270 F. Supp. 3d 799, 817-818, 2017 U.S. Dist. LEXlS 148086, *32-36,
2017 WL 4049033 (E.D. Pa. Sept. 13, 2017). “Put simply, a fair determination of the
facts requires a fair process not tilted to favor a particular outcome, and a fair and neutral
fact-finder, not predisposed to reach a particular conclusion.” Doe v. Brandeis Univ., 177
F. Supp. 3d 561, 573, 2016 U.S. Dist. LEXlS 43499, *15 (D. Mass. March 31,
2016)(sexual misconduct “investigation” which proceeded under substantially the same
policies as those adopted by SJU violated accused student’s right to "basic faimess").

Malloy’s inept and incomplete “investigation” of the charges against Doe also
violates SJU’s contractual promise to uphold Title IX. The 2017 Q&A places the “burden
. . . on the school - not on the parties - to gather sufficient evidence to reach a fair,
impartial determination as to whether sexual misconduct has occurred . . . .” See 2017

Q&A, Question 6. Malloy, and SJU, was obliged to seek out the appropriate witnesses

and evidence She did not do so.

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6. SJU interpreted and applies the provisions of its SMP appeal process
in a fundamentally unfair way,

SJU promised Doe that, in responding to an appeal of the investigator’s decision
“the non-appellant shall be provided an opportunity to inspect and respond to the appeal
request submitted by the appellant.” SMP V(8)(d). Aner that, “the appellant shall be
provided an opportunity to inspect the other party’s response No additional responses are
accepted as appeal documentation at that point from either party.” SJP V(8)(d). SJU
breached its promise to Doe by providing his appeal letter to two University employees
and the investigator for review and comment to be presented to the Appeal Board. This
was one of SJU’s unwritten policies, apparently designed to ensure that it had a secret
second bite at the apple in securing convictions of accused students Students have no
way of knowing about this policy. On the contrary, the contract explicitly tells them that
“no additional responses are accepted as appeal documentation at that point from either
party.” Like the rest of the contract, this promise should be read in the context of SJU’s
assurance of a “prompt, fair and impartial disciplinary process” which upheld Title IX.
Significantly, the 2017 Q&A Title lX specifically instructs universities that they “ensure
that institutional interests do not interfere with the impartiality of the investigation.” See
2017 Q&A, Question 6.

A reasonable reading of the SMP would lead a student appealing from an
unwarranted finding of guilt that he knew all of the documents on which the Appeal
Board would base its decision SJU’s self-serving interpretation of this provision that

SJU, but not the parties may solicit and submit whatever material it deems necessary to

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uphold the investigator’s decision is fundamentally unfair and, once again, violates the
school’s promises to conduct a “fair” investigation that upholds Title lX. 162
Taken as a whole, SJU’s SMP, both as written and as practiced, systematically
stripped accused students of their ability to defend themselves against charges of sexual
misconduct. Sadly, this len the innocent student _ one who truly had no idea what the
claim against him might be - most vulnerable The Brandeis court spoke eloquently to
this issue in finding an SMP disciplinary process virtually identical to the one SJU
adopted to be “fundamentally unfair:”
Brandeis appears to have substantially impaired, if not eliminated, an accused
student's right to a fair and impartial process And it is not enough simply to say that
such changes are appropriate because victims of sexual assault have not always
achieved justice in the past Whether someone is a "victim" is a conclusion to be
reached at the end of a fair process not an assumption to be made at the beginning.
Each case must be decided on its own merits according to its own facts lf a college
student is to be marked for life as a sexual predator, it is reasonable to require that he

be provided a fair opportunity to defend himself and an impartial arbiter to make that
decision

Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 573, 2016 U.S. Dist. LEXlS 43499, *15 (D.
Mass. March 31, 2016)

6. SJU failed to appropriately accommodate Doe’s known learning
difference

SJU promised that students would not be discriminated against “on the basis of

sex/ gender . . . disability . . . [or] any other status protected by law in the administration

 

192 SJU also offers students found “responsible” only a very limited right to appeal, which other courts
have found to be fundamentally unfair, especially in the context of the “single investigator” model. See Doe
v. Brandeis Univ., 2016 U.S. Dist. LEXlS 43499, *107-108, 177 F. Supp. 3d 561, 607 (D. Mass. March 31,
2016)(Handbook permitted appeal on only four grounds: naud, "denial of rights under this process"
"procedural error," or "the claim of new evidence not previously available, which would have materially
affected the decision." Conspicuously absent from was ability to appeal on grounds that the investigator’s
decision was not supported by the evidence, or that it was otherwise unfair, unwise, or simply wrong. The
Special Examiner, for all practical purposes had the first and only say in determining student’s guilt).

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of its educations . . . policies or programs.” Exhibit “ ,” pg. 46. SJU went to great pains to
ensure that Roe was comfortable, informed, and fully able to participate in the
disciplinary process Yet SJU did absolutely nothing to ensure that Doe, a student with a
known learning difference who was registered with the school’s OSDS and entitled to
accommodations was in fact, accommodated lt improperly shined the burden to Doe,
reeling from the allegations uninformed about the charges against him and uninitiated in
the SMP, to anticipate what accommodations he might need in this opaque process and
seek them out, ln fact, when Doe did seek out accommodations Bordak, who testified
that, as a rule, he never spoke with the OSDS about students’ accommodation contacted
the OSDS to ensure that Doe was not afforded a note taker, an accommodation to which
he was otherwise entitled Plaintiff submits that this conduct operated to discriminate
against Doe on the basis of his ADHD, a disability, and thereby violated the terms of
SJU’s agreement with Doe.
C. The Facts Support Plaintiff’ s Claim for Violation of the Unfair Trade
Practices and Consumer Protection Law

SJU asks this Court to dismiss Plaintiff’s Unfair Trade Practices and Consumer
Protection (“UTPCPL”) claim on the grounds that it arises solely from Doe’s breach of
contract claim. 73 Pa.C.S. §201-1, et seq. Both the nature of the claims Doe has made in
this case and the applicable caselaw - which SJU does not identify - show that the
University is incorrect

As a general matter, the UTCPCL prohibits "unfair or deceptive acts or practices
in the conduct of any trade or commerce." 73 Pa. Stat. Ann. § 201-3. lt creates a private

right of action for "[a]ny person who purchases or leases goods or services primarily for

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personal, family or household purposes and thereby suffers any ascertainable loss of
money or property" as a result of the seller's deceptive or unlawful actions Harris v. St.
Joseph's Univ., 2014 U.S. Dist. LEXlS 65452, *22, 2014 WL 1910242 (E.D. Pa. May 12,
2014), quoting Wise v. Am. Gen. Life Ins. Co., 2005 U.S. Dist. LEXlS 4540, 2005 WL
670697, *7 (E.D. Pa. 2005) (quoting 73 P.S. § 201-9.2(a)). "To state a claim under the
UTPCPL, a plaintiff must show: (1) deceptive conduct; (2) an ascertainable loss; (3)
justifiable reliance on the defendant's wrongful conduct or misrepresentations and (4)
that such reliance caused an injury." ld., at *24, 2014 WL 1910242 (E.D. Pa. May 12,
2014), quoting Pellegrino v. State Farm Fire and Cas. Co., 2013 U.S. Dist. LEXlS
105511, 2013 WL 3878591, *8 (E.D. Pa. 2013)(citing Caroselli, Sr. v. Allstate Prop. &
Cas. Ins. Co., 2010 U.S. Dist. LEXlS 83515, 2010 WL 3239356, *7 (E.D. Pa. 2010)).
The Pennsylvania Supreme Court has set forth the following test to determine if a claim

is barred by the gist of the action doctrine:

lf the facts of a particular claim establish that the duty breached is one created by
the parties by the terms of their contract_i.e., a specific promise to do something
that a party would not ordinarily have been obligated to do but for the existence of
the contract_then the claim is to be viewed as one for breach of contract lf`,
however, the facts establish that the claim involves the defendant's violation of a
broader social duty owed to all individuals which is imposed by the law of torts
and, hence, exists regardless of the contract, then it must be regarded as a tort
Id. at 68 (intemal citations omitted).
ln this case, Plaintiff has alleged six counts against SJU, only one of which
sounds in contract The balance of Plaintiff’ s claims includes the violation of Title lX,
Negligent lnfliction of Emotional Distress lntentional lnfliction of Emotional Distress

Defamation and, of course, violation of UTPCPL. SJU had a duty independent of its

contract with Doe to avoid defaming him and inflicting emotional distress on him, either

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intentionally or negligently. SJU’s duty to comply with Title lX does not arise from its
contract with Doe;103 the statute is enforceable through an implied right of action
regardless of the terms of Doe’s contract with SJU. Doe v. Columbia Univ., 831 F.3d 46,
53 (2d Cir. 2016) (citing Yusufv. Vassar Coll., 35 F.3d 709, 714-15 (2d Cir. 1994)).

And Doe’s Title lX, intentional and negligent infliction of emotional distress and
defamation claims are backed by substantial evidence SJU’s interactions with Doe,
especially when seen in the context of its failure to follow Title lX guidance, its financial
incentive to induce more men to be charged with and found responsible for sexual
misconduct, the statements made and attitudes expressed by its employees and the
disparate treatment it accords to men and women accused of sexual misconduct all evince
gender bias. SJU has labeled Doe a sexual predator, through its statements and the mark
of “sexual assault” on his record SJU’s handling of Roe’s allegations against Doe - its
failure to investigate the charges before instituting them, its refusal to advise Doe of what
they are, its failure to ensure that any witnesses were spoken to or any exculpatory
evidence sought, and its failure to show Doe any evidence, just to name a few - are
outrageous and have been horribly damaging to Doe, his reputation and his future The
facts of this case show that SJU violated duties it owed to Doe independent of their
contract, making the gist of the action doctrine inapplicable

For the same reasons neither is Doe’s UTPCPL claim barred by the economic
loss doctrine The economic loss doctrine bars a plaintiff from recovering tort damages
for economic losses stemming solely from a breach of contract Dixon v. Northwestern

Mut., 146 A.3d 780, 788-790, 2016 Pa. Super. LEXlS 471, *23, 2016 PA Super 186 (Pa.

 

163 Although SJU represented to Doe that it would comply with Title lX, it did not

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Super. Ct. August 25, 2016). The doctrine prohibits claims if: (1) they arise solely from a
contract between the parties (2) the duties allegedly breached were created by and
grounded in the contract; (3) the liability stems from a contract; or (4) the tort claim
essentially duplicates a breach of contract claim or the success of a tort claim relies on the
terms of a contract Id., citing McGuckin v. Allstate Fire & Cas. Ins. Co., 118 F. Supp. 3d
716, 720 (E.D. Pa. 2015) (quoting Pesotine v. Liberty Mut. Grp., Inc., Civ. A. No. 14-
784, 2014 U.S. Dist. LEXlS 118178, 2014 WL 4215535, at *4 (M.D. Pa. Aug. 25,
2014).164

Doe’s claims against SJU do not arise “solely” from their contract, the duties SJU
breached are rooted in federal and tort law in addition to claims for breach of contract,
SJU’s liability does not stem solely from the contract and the success of Plaintiffs Title
lX and tort claims do not rely on the terms of a contract See, e.g., Harris v. St. Joseph's
Univ., 2014 U.S. Dist. LEXlS 65452, *22-24, 2014 WL 1910242 (E.D. Pa. May 12,
2014)(a11egations that defendant, SJU, had not adequately trained sexual misconduct
investigators as promised, did not provide a fair and impartial sexual misconduct hearing
as promised, did not provide notice and fair process of allegations as promised, and
misrepresented its compliance with Title lX sufficient to state UTPCPL claim).

ln order to state a claim for defamation under Pennsylvania law, a plaintiff must

establish: (1) the defamatory character of the communication (2) its publication by the

 

194 As a matter of law, Pennsylvania courts have specifically held that the economic loss doctrine does not
apply to claims arising under the UTPCPL. Knight v. Springfield Hyundai, 2013 PA Super 309, 81 A.3d
940 (Pa. Super. Ct. 2013); Dixon v. Northwestern Mut., 146 A.3d 780, 788-790, 2016 Pa. Super. LEXlS
471, *23, 2016 PA Super 186 (Pa. Super. Ct. August 25, 2016). For a discussion of a federal court’s right to
follow Pennsylvania law as opposed to Third Circuit predictions about that law, see Lovelace v.
Nationwide Mut. lns. Co., 2018 U.S. Dist. LEXlS 135113, *5-11, 2018 WL 3818911 (E.D. Pa. August 10,
2018)

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defendant; (3) its application to the plaintiff; (4) the understanding by the recipient of the
defamatory meaning; (5) the understanding by the recipient that the statement refers to
the plaintiff; (6) special harm resulting to the plaintiff from its publication; and (7) abuse
of a constitutionally privileged occasion Harris v. St. Joseph's Univ., 2014 U.S. Dist.
LEXlS 65452, *24, 2014 WL 1910242 (E.D. Pa. 2014) (“Harris l”); 42 Pa. C.S. §
8343(a). "A publication is defamatory if it tends to blacken a person's reputation or
expose him to public hatred, contempt or ridicule or injure him in his business or
profession." Id. at *25 (quoting Dunlap v. Phila. Newspapers, Inc., 301 Pa. Super. 475,
448 A.2d 6, 10 (Pa. Super. 1982)) (citation and internal quotation marks omitted). "ln
order to be actionable, the words must be untrue, unjustifiable, and injurious to the
reputation of another." Id. at *25 (quoting Joseph v. Scranton Times L.P., 2008 PA Super
217, 959 A.2d 322, 334 (Pa. Super. 2008)). "ln general, publication of defamatory matter
is its communication intentionally or by a negligent act to one other than the person
defamed." ld., at *26, citing Agriss v. Roadway Exp., Inc., 334 Pa. Super. 295, 483 A.2d
456, 463 (Pa. Super. 1984). SJU argues as it argued in in Harris I, that Doe’s
Defamation claim fails because (1) there has been no publication of the defamatory
remarks and (2) the communications about Doe having been found responsible for sexual
assault are true. Judge Restrepo found both arguments unpersuasive

SJU cannot deny that their defamatory statements against Doe were published
Perry communicated to Havira - and then Havira communicated to several SJU
employees including Anderson - that Doe had sexually assaulted Roe before the
investigation into Roe’s allegations had even taken place ( Dep. M. Havira p84-87

Exhibit 24. SJU informed multiple employees that Doe committed sexual assault and a

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notation to that effect has been placed on his record ln this case, as in Harris I, SJU
argues that it “took pains” to keep the matter confidential, only sharing the allegations of
sexual misconduct with its own employees Judge Restrepo appropriately dismissed this
argument on the grounds that “publication of defamatory matter is its communication
intentionally or by a negligent act to one other than the person defamed." Agriss v.
Roadway Exp., Inc., 334 Pa. Super. 295, 483 A.2d 456, 463 (Pa. Super. l984)(emphasis
added).

Next SJU argues as it argued in Harris I, that its representations about Doe are
true; that SJU only represented that Doe had been alleged to have committed sexual
assault, and that allegation had, in fact, been made Yet the evidence in this case directly
contradicts SJU’s argument Perry informed Havira that Doe had committed sexual
assault and that “the inappropriate activity happened on our campus.” Havira
subsequently published a statement saying that the activity had occurred See SJU 168-
168, 172-173, Exhibit “ “. Both of these communications are defamatory. Further, SJU
has now placed a notation on Doe’s record - a notation which the University promises
will stay there for seven years following Doe’s graduation from SJU - stating that he has
committed sexual assault.165

The evidence establishes SJU made, and continues to make, defamatory

comments about Doe. Once the plaintiff has established the elements of defamation the

burden shifts to the defendant to prove that the defamatory communication was true, or

 

195 ln Harris l, SJU argued that the plaintiff had not suffered “special harrn” as a result of the defamation
Judge Restrepo dismissed this argument as well on the grounds that statements claiming that an individual
had committed sexual assault are slander per se. Id. at *27.

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that it was privileged or that was a matter of public concern 42 Pa. C.S. § 8343(b).
Plaintiff submits that the evidence shows that he did not sexually assault Roe, and to the
extent SJU still insists that he did, that presents genuine issues of material fact sufficient
to defeat a motion for summary judgment
IV. CONCLUSION

For the reasons set forth above, plaintiff respectfully request this Court enter the
attached Proposed Order denying defendant Saint Joseph University’s Motion for
Summary Judgment

Respectfully submitted,

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